       Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 1 of 223 PageID 5097
AO 133       (Rev. 12/09) Bill of Costs


                                                 UNITED STATES DISTRICT COURT
                                                                                             for the
                                                                        Middle District
                                                                    __________ DistrictofofFlorida
                                                                                            __________

                                Kenite Webb,                                                     )
                                                                                                 )
                                          v.                                                     )         Case No.: 8:19-cv-03045-TPB-TGW
              City of Venice, a Florida Municipality                                             )
                                                                                                 )

                                                                                 BILL OF COSTS
Judgment having been entered in the above entitled action on                                         02/22/2022                  against          City of Venice                         ,
                                                                                                            Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           $               400.00

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        2,329.80

Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .                                                                4,449.00

Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 5,216.72

Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  665.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       315.00

Docket fees under 28 U.S.C. 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 . . . . .
Other costs (please itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    297,536.29

                                                                                                                                               TOTAL            $         310,911.81

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                        Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
         ✔
         ’          Electronic service                                    ’         First class mail, postage prepaid
         ’          Other:
             s/ Attorney:              Jacqulyn Mack-Majka
                          Name of Attorney: Jacqulyn MAck-Majka
For:                                                          Kenite A. Webb                                                                         Date:          03/08/2022
                                                             Name of Claiming Party

                                                                                   Taxation of Costs
Costs are taxed in the amount of                                                                                                                         and included in the judgment.

                                                                                  By:
                           Clerk of Court                                                                       Deputy Clerk                                             Date
    Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 2 of 223 PageID 5098
AO 133 (Rev. 12/09) Bill of Costs


                                     UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                     ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                        Total Cost
           NAME , CITY AND STATE OF RESIDENCE                                   Total               Total                Total         Each Witness
                                                                     Days       Cost      Days      Cost      Miles      Cost

 Thomas Mattmuller, Venice, Fl
                                                                         1     115.00                                                        $115.00


 Edward LaVallee
                                                                         1     115.00                                                        $115.00


 Jessica Chappa
                                                                         2     115.00                                                        $115.00


 Alan Bullock
                                                                         1     115.00                                                        $115.00


 Keith Quick
                                                                         1     115.00                                                        $115.00


 Aleksandr Gregoire
                                                                         1     90.00                                                          $90.00


                                                                                                                    TOTAL                    $665.00


                                                                      NOTICE

  Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
  “Sec. 1924. Verification of bill of costs.”
      “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
  his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
  that the services for which fees have been charged were actually and necessarily performed.”

  See also Section 1920 of Title 28, which reads in part as follows:
      “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE 54(d)(1)
  Costs Other than Attorneys’ Fees.
      Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney's fees — should be allowed to the
  prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
  may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

  RULE 6
  (d) Additional Time After Certain Kinds of Service.

      When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
  added after the period would otherwise expire under Rule 6(a).
  RULE 58(e)
  Cost or Fee Awards:
       Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
  timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
  effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.




        Print                        Save As...                                                                                         Reset
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 3 of 223 PageID 5099




             IN THE UNITED STATES DISTRICT COURT FOR THE
                     MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  Kenite Webb,

          Plaintiff(s),

  v.                                        Case No.: 19-cv-03045-TPB-TGW

  City of Venice,

      Defendant(s).
  __________________________________________/


         ATTORNEYS FEE AFFIDAVIT OF JACQULYN MACK-MAJKA


  STATE OF FLORIDA
  COUNTY OF CHARLOTTE


          BEFORE ME on this date personally appeared JACQULYN MACK-MAJKA,

  who, after being duly sworn, deposes and says that the following facts are true

  based on her own personal knowledge:

       1. I am over the age of twenty- one a resident of Sarasota County Florida and

          competent to state the matters contained herein, and such matters

          contained herein, and such matters are known to me and of my personal

          knowledge.

       2. I am a shareholder and employed by the law firm of Mack Law Firm

          Chartered, located at 2022 Placida Road Englewood Florida 34224-5204.

          Mack Law Firm Chartered, is located within the Charlotte County portion of



                          Exhibits to Plaintiff's First Amended Bill of Costs 000001
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 4 of 223 PageID 5100




        Englewood which is split between Sarasota County (Twelfth Judicial circuit)

        and Charlotte County (Twentieth Judicial Circuit). Mack Law Firm

        Chartered practices primarily in those two circuits.

     3. I have been a licensed attorney in good standing with the State of Florida

        (1998) and admitted to practice in the United States Court of Appeals for the

        Eleventh Circuit (2003); the United States District Court for the Middle

        District of Florida (2001); the United States District Court for the Southern

        District of Florida (2012); and the United States Bankruptcy Courts in the

        Middle and Southern Districts. Additional background is attached hereto as

        Exhibit A.

     4. Kerry E. Mack, obtained her Juris Doctorate from the University of Miami

        (FL) School of Law (1981) and has been a licensed attorney in good standing

        with the State of Florida since 1982. Ms. Mack has been admitted to practice

        in this Court and the United States District Court for the Southern District

        of Florida since 1982. She has also been admitted to the State of Illinois

        (1982) and the State of Wisconsin (1981), the United States District Court

        for the Western District of Wisconsin (1981) and the Eleventh Circuit Court

        of Appeal. Ms. Mack has extensive experience as lead, or sole, counsel in

        civil and criminal litigation with the Plaintiff’s law firm and is the Firm’s

        original shareholder. A substantial portion of Ms. Mack’s time is spent

        representing consumers in various rights litigation and representing

        defendants charged with criminal traffic offenses.


                     Exhibits to Plaintiff's First Amended Bill of Costs 000002
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 5 of 223 PageID 5101




     5. Jacqueline M. Skubik, Esq. (retired) went to Rutgers University (1982) and

        J.D. Rutgers School of Law (1985). Ms. Skubik was admitted to the New

        Jersey Bar (1985) the New York Bar (1986), US District Courts of N.J. (1985)

        Eastern District of NY (1986); and the United States District Court for the

        Southern District of NY (1987). Ms. Skubik’ s legal career began with Village

        Justice 1987-2003 along with private practice 1995- 2011. Ms. Skubik

        worked with the U.S. Attorney’s Office E.D.N.Y. Central Islip, Civil Division

        2011-2015 prior to retirement as a practicing attorney. Jacky has been a

        paralegal with the Mack Law Firm since 2020.         Jacky is the paralegal

        assigned to the Webb case.

     6. Heather Hooper went to Florida International University and obtained her

        Bachelor of Fine Arts, with a minor in Art History. Heather has been a

        paralegal with the Mack Law Firm since 2001.

     7. Timothy McGuire went to the University of Florida and worked with the

        Mack Law Firm from 2004 until his untimely demise in February 2020.

     8. In May, 2018, my firm was retained by Kenite Webb to represent him in

        administrative proceeding which led to the present action. Mr. Webb agreed

        to pay Mack Law Firm Chartered attorney’s fees and costs. A copy of the

        contract is attached at BATES 10. In prosecuting this action, we, agreed to a

        standard Florida Bar approved contingency fee agreement to help Mr. Webb

        afford the litigation. Mr. Webb agreed to pay the litigation costs as they

        arose. In the event Mr. Webb prevailed in court and the court awarded fees


                   Exhibits to Plaintiff's First Amended Bill of Costs 000003
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 6 of 223 PageID 5102




        in an hourly amount above those numbers, the Firm was entitled to that

        extra amount. This structure was designed to allow Mr. Webb to afford to

        make his case. In effect, the Firm bore a substantial risk as did Officer Webb

        whose unrebutted testimony evidenced the tenuous relationship between

        Plaintiff and City of Venice due to his opposition to the City’s racially

        discriminatory employment practices.

     9. The firm initially represented Plaintiff in anticipation of an administrative

        hearing. In addition to familiarizing ourselves with the case by reviewing the

        investigative reports, sworn statements and all related documents, we

        interviewed witnesses. While the initial complaints were being filed in 2018,

        counsel was involved in writing letters, counseling plaintiff and reviewing

        and preparing various materials concerning proposed or actual discipline or

        investigations that occurred during the relevant time period for which the

        jury returned its verdict.   Some of these documents were placed into

        evidence. In addition document and other discovery was conducted, and

        some of it was used in these proceedings. The fruitlessness of attempting to

        proceed with further administrative proceedings became apparent in

        approximately May 2018 when Plaintiff’s demand for a grievance against

        two of his harassers was ignored and it was determined at that time to begin

        administrative proceedings. The total time we spent in the administrative

        proceedings is attached at BATES       from inception through December 4,

        2019.


                   Exhibits to Plaintiff's First Amended Bill of Costs 000004
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 7 of 223 PageID 5103




     10. In December 2019 we filed the claims in this case in the District Court. Five

        depositions were taken. Over 14,000 pages of documents were exchanged

        over 11,000 of which were produced by the Defendant. Plaintiff marked 182

        exhibits and introduced 16 into evidence.          Defendant marked and

        introduced 4 into evidence.

     11. The City of Venice filed an extensive motion for summary judgment

        challenging every claim filed. Detailed factual allegations and legal

        memoranda with significant attachments were filed by both sides twice due

        to numbering errors in the Defendant’s original motion. The Court granted

        the City’s motion for summary judgment on a limited basis and allowed the

        Hostile Work Environment federal and state claims to proceed.

     12. The City also filed a lengthy pre-trial Motion in Limine to which Plaintiff

        filed a comprehensive response. The Court partially granted the Motion in

        Limine.

     13. The Court also ordered a Bench Memo as to the City’s direct and indirect

        liability for the hostile work environment.

     14. The case proceeded to trial over five days and the jury returned a verdict in

        favor of Plaintiff and awarded damages in the amount of $50,000.00 caused

        by the hostile work environment Plaintiff was subjected to because he is

        African American.

     15. Included as an exhibit at BATES       are Mack Law Firm’s Timekeeper

        Reports (firm-wide and individual employee); it includes pre - suit and post


                    Exhibits to Plaintiff's First Amended Bill of Costs 000005
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 8 of 223 PageID 5104




        filing attorney and paralegal time. This case began on December 16, 2019

        with the Complaint filing in District Court matter breaking down all the

        hours devoted by attorneys Kerry E. Mack (“KEM”), Jacqulyn Mack-Majka

        (“JMM”), law clerk/paralegal Jacqueline Skubik (“JS”), paralegal Heather

        Hooper (“HH”), former associate W. Carrington Lewis, Esquire (“CL”) and

        deceased paralegal Tim McGuire (“Bailiff”).

     16. AS reflected in the Timekeeper Reports, the total hours devoted to work on

        the various issues in both the administrative and District Court proceedings

        were 1,264.24 firm –wide. Jacqulyn Mack-Majka worked 341.79 hours;

        Kerry E. Mack worked 98.20 hours; Jacky Skubik worked 831.79 hours.

        These hours were reasonable and necessary.

     17. Our firm’s hourly rate schedule is as follows: Kerry E. Mack charges $450.00

        per hour for these services, for undersigned it is $400.00, and for our

        paralegals it is $150.00. Each of these hourly rates are the usual and

        customary rates for trial lawyers with our firm’s experience and their

        paralegals in this community for this type of case. It is also the hourly rate

        agreed as reasonable by Plaintiff Kenite Webb.

     6. Total cost for the District court case is reflected on this Amended Bill of

        Costs. These costs are recoverable either as traditional costs or as reasonable

        attorney’s fees. The dates align with the Timekeeper Report dates as

        relevant. They were reasonable and necessary. Our firm uses Trialworks




                   Exhibits to Plaintiff's First Amended Bill of Costs 000006
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 9 of 223 PageID 5105




        Case Management system for case and time management and QuickBooks

        for invoicing and vendor payment.

     7. This action was particularly significant in that it vindicated a municipal

        employee, here a police officer, right to engage in protected activity without

        retaliation. That concept is embodied in Title VII. In addition Title VII case

        are never easy and the plaintiffs often lose. This case was complicated due to

        the ongoing harassment Plaintiff suffered because he remains employed by

        the City of Venice police Department that was ignored by the responsible

        management officials. Plaintiff appropriately prevailed in this case.

     8. For the reasons discussed in Plaintiff’s motion for fees, I believe that an

        hourly rate of $400 per hour is reasonable for myself and that $450.00 per

        hours is reasonable for my senior partner Kerry e. Mack. I also believe that

        an hourly rate of $150.00 per hour is more than reasonable for Jacqueline

        “Jacky” Skubik’s services in this case.



        Under penalties of perjury, I declare that I have read the foregoing

     Attorney’s Fee Affidavit of Jacqulyn Mack-Majka and the statement above is

     accurate and correct.




                   Exhibits to Plaintiff's First Amended Bill of Costs 000007
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 10 of 223 PageID 5106




                   Exhibits to Plaintiff's First Amended Bill of Costs 000008
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 11 of 223 PageID 5107




                                        /s/ Jacqulyn Mack-Majka
                                        Jacqulyn Mack-Majka, Esquire
                                        Florida Bar No.: 0134902
                                        MACK LAW FIRM CHARTERED
                                        Primary: eservice1@macklawfirm.org
                                        Secondary: eservice2@macklawfirm.org
                                        2022 Placida Road
                                        Englewood, Florida 34224-5204
                                        (941) 475-7966
                                        (941) 475-0729 fax
                                        Attorney for Plaintiff Webb

                           CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the foregoing has
   been furnished by e-mail to all counsel of record via the PACER E-Filing Portal on
   Tuesday, March 8, 2022.

                                        /s/ Jacqulyn Mack-Majka
                                        Jacqulyn Mack-Majka, Esquire




                    Exhibits to Plaintiff's First Amended Bill of Costs 000009
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 12 of 223 PageID 5108




                   Exhibits to Plaintiff's First Amended Bill of Costs 000010
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 13 of 223 PageID 5109




                   Exhibits to Plaintiff's First Amended Bill of Costs 000011
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 14 of 223 PageID 5110




                   Exhibits to Plaintiff's First Amended Bill of Costs 000012
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 15 of 223 PageID 5111




                   Exhibits to Plaintiff's First Amended Bill of Costs 000013
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 16 of 223 PageID 5112




                   Exhibits to Plaintiff's First Amended Bill of Costs 000014
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 17 of 223 PageID 5113




                   Exhibits to Plaintiff's First Amended Bill of Costs 000015
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 18 of 223 PageID 5114




                   Exhibits to Plaintiff's First Amended Bill of Costs 000016
                                Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 19 of 223 PageID 5115
TimeKeeper Manager Report
                   Case Name                                                            Hourly                                                              Hours Billable         Billed
     Date     Time Explanation                                   User                     Rate       Hours Amount Task Code                 Activity Code   Worked Time Billed      Date
 5/10/2018   8:05 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00            5    $2,000.00 Fee/J. Mack                            5
                                                                 Majka
                        prepare for and attend VPD IA interrogation with KW in Venice


 5/10/2018   8:05 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00           2.5   $1,000.00 Fee/J. Mack                           2.5
                                                                 Majka
                        Client meeting regarding Hoy IA and background


 5/21/2018   4:03 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         2.65    $1,060.00 Fee/J. Mack                            3
                                                                 Majka
                        MEet with Kenite at MLF review Hoy interrogation, Call hoy twice, discuss conversation with Hoy and steps forward


  6/5/2018   9:36 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00           0.5    $200.00 Fee/J. Mack                            0.5
                                                                 Majka
                        phone conference with KW re updates to Hoy IA


 6/19/2018   3:37 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         2.15     $860.00 Fee/J. Mack                            2.5
                                                                 Majka
                        meet with KW re continuing harrassement at work and prepare complaints to Chief and LaVallee


 6/19/2018   9:36 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         2.75    $1,100.00 Fee/J. Mack                            4
                                                                 Majka
                        In office meeting with KW re VPD and IA/SR cases. Discussed ongoing harassment and prepare for grievance process.


 7/11/2018   9:39 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         2.75    $1,100.00 Fee/J. Mack                            3
                                                                 Majka
                        meet in office with client reVPD IA /SR ongoing harrassment.


 7/31/2018   4:00 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00            2     $800.00 Fee/J. Mack                             2
                                                                 Majka
                        prep with KW & CL for 8/6/18 meeting at VPD


 8/16/2018   7:52 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         0.75     $300.00 Fee/J. Mack                           0.75
                                                                 Majka
                        Discussion with Carrington Lewis regarding the upcoming meeting with the Chief and FOP reps and prepareation for same.



                                                                                           Exhibits to Plaintiff's First Amended Bill of Costs 000017
Monday, March 7, 2022                                                                             TrialWorks                                                                     Page 1 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 20 of 223 PageID 5116
                    Case Name                                                            Hourly                                                           Hours Billable         Billed
     Date      Time Explanation                                   User                     Rate       Hours Amount Task Code              Activity Code   Worked Time Billed      Date
 10/9/2018    8:06 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00            2.5   $1,000.00 Fee/J. Mack                       2.5
                                                                  Majka
                        Client meeting to explain upcoming Inquiry process


10/15/2018    7:58 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00            4.5   $1,800.00 Fee/J. Mack                       4.5
                                                                  Majka
                        travel to/from Englewood/Tampa to attend EEOC Inquiry with client.


10/15/2018    8:00 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00            1.5    $600.00 Fee/J. Mack                        1.5
                                                                  Majka
                        Review draft charge, discuss with KW and respond to EEO investigator Scott Kelley


10/31/2018    8:01 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00            0.5    $200.00 Fee/J. Mack                        0.5
                                                                  Majka
                        REvised draft Charge rec'd from client, reviewed and sent to Kelley


  2/7/2019    9:21 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         2.75     $1,100.00 Fee/J. Mack                      2.75
                                                                  Majka
                        REview COV position statement, research claims, discuss with client


 2/14/2019    8:08 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         1.25      $500.00 Fee/J. Mack                       1.25
                                                                  Majka
                        client meeting re Ch 119 records re Creasy and comprison difference in treatment.


 2/21/2019   10:35 AM Webb, Kenite vs. EEOC - VPD 19              Tim McGuire            $150.00            0.2     $30.00 Paralegal                          0.2

                        Ch 119 Req to VPD 2/21/19 Officer Creasy Recs


  3/7/2019    9:53 AM Webb, Kenite vs. EEOC - VPD 19              Tim McGuire            $150.00         0.15       $22.50 Paralegal                         0.15

                        Ch 119 Pub Recs Req - Creasy Records (2)


 3/11/2019    9:22 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         1.25      $500.00 Fee/J. Mack                       1.25
                                                                  Majka
                        Review Ch 119 response from COV re Officer Bill Long


 3/14/2019    8:10 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         0.25      $100.00 Fee/J. Mack                       0.25
                                                                  Majka
                        Obain short extension from EEOC




                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000018
Monday, March 7, 2022                                                                              TrialWorks                                                                  Page 2 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 21 of 223 PageID 5117
                    Case Name                                                              Hourly                                                                         Hours Billable         Billed
     Date      Time Explanation                                    User                      Rate      Hours Amount Task Code                       Activity Code         Worked Time Billed      Date
 3/18/2019    8:12 PM Webb, Kenite vs. EEOC - VPD 19               Heather Hooper         $150.00          0.75      $112.50 Paralegal                                          0.75

                        Dowload and save Offficer long Ch 119 response and email to client


 3/18/2019    8:13 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.75      $300.00 Fee/J. Mack                                        0.75
                                                                   Majka
                        Review Creasy personnel and disciplinary file from Ch 119 response.


 3/25/2019    8:15 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            4.5   $1,800.00 Fee/J. Mack                                         4.5
                                                                   Majka
                        resarch and prearpe response to City of Venice Position Statement


 4/25/2019   12:09 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.15       $60.00 Fee/J. Mack                                        0.15
                                                                   Majka
                        email client to check EEOc portal


  6/4/2019    8:02 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          1.25      $500.00 Fee/J. Mack                                        1.25
                                                                   Majka
                        REview add'l Ch 119 response from City re Creasy and defendant Waters and send to Kelley at EEOC


 9/13/2019    8:03 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          2.25      $900.00 Fee/J. Mack                                        2.25
                                                                   Majka
                        REview Right to Sue letter from EEOC, research and review statutory administrative timelines for filing lawsuit and hold conference call with client.


11/19/2019    8:16 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.75      $300.00 Fee/J. Mack                                        0.75
                                                                   Majka
                        Telconfernce ith Dan Tucci ACFSME local rep COV


 12/4/2019    1:28 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          2.34      $936.00 Fee/J. Mack                                        2.34
                                                                   Majka
                        research & prepare draft complaint


12/11/2019    8:18 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          5.75    $2,300.00 Fee/J. Mack                                        5.75
                                                                   Majka
                        Research/Prep/Finalize Complaint and exhibits; file on PACER


12/12/2019   11:15 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $450.00          0.25      $112.50 Fee/J. Mack                                        0.25
                                                                   Majka
                        Preparation of Summons



                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000019
Monday, March 7, 2022                                                                               TrialWorks                                                                                 Page 3 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 22 of 223 PageID 5118
                    Case Name                                                             Hourly                                                          Hours Billable         Billed
     Date      Time Explanation                                    User                     Rate       Hours Amount Task Code             Activity Code   Worked Time Billed      Date
12/12/2019   11:20 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.25    $100.00 Fee/J. Mack                       6.35
                                                                   Majka
                        Preparation of Summons


12/13/2019    1:43 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack          $450.00          0.05     $22.50 Fee/K.Mack                        0.05

                        Review of Summons - 9254.docx.


12/30/2019    9:23 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00           0.3    $120.00 Fee/J. Mack                       0.25
                                                                   Majka
                        Email to MArk LEvitt about his issues raised


  2/4/2020    3:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          1.75    $700.00 Fee/J. Mack                       1.75
                                                                   Majka
                        attend in person case MGt meeting with Levitt at WaWA, Jacaranda Blvd., Venice.


 2/10/2020    9:27 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.75    $300.00 Fee/J. Mack                       0.75
                                                                   Majka
                        email and follow up discussion with client about Interesteed Persons Certificate


 2/11/2020    5:36 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00           3.3   $1,320.00 Fee/J. Mack                       3.3
                                                                   Majka
                        research and prepare amended complaint including client meetings


 2/11/2020    5:37 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.25    $100.00 Fee/J. Mack                       0.25
                                                                   Majka
                        Review of Webb-filed complaint-9403.pdf.


 2/12/2020   11:55 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00           0.5    $200.00 Fee/J. Mack                        0.5
                                                                   Majka
                        preapre email to OC re review of draft CMR and position on motion to amend.


 2/28/2020    2:21 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            1     $400.00 Fee/J. Mack                         1
                                                                   Majka
                        review Rule 26 disclosure
                        and certificate of intereested parties

  3/6/2020   11:14 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            9    $3,600.00 Fee/J. Mack                        9
                                                                   Majka
                        research and prepae FAC Motion to Amend and Plaintiff's Initial Disclosures.



                                                                                             Exhibits to Plaintiff's First Amended Bill of Costs 000020
Monday, March 7, 2022                                                                               TrialWorks                                                                 Page 4 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 23 of 223 PageID 5119
                    Case Name                                                             Hourly                                                                     Hours Billable                   Billed
     Date      Time Explanation                                   User                      Rate      Hours Amount Task Code                    Activity Code        Worked Time Billed                Date
  3/9/2020    6:46 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         0.15      $60.00 Fee/J. Mack                                      0.15
                                                                  Majka
                        prepare email to client along with the FAC and Rule 26


 3/16/2020    4:22 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         0.15      $60.00 Fee/J. Mack                                      0.15
                                                                  Majka
                        review email from mediator confirming same sendto client with advice


 3/24/2020    4:00 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00            2     $800.00 Fee/J. Mack                                         2
                                                                  Majka
                        phone conference with KW re: upcoming deadline for disclosures.


  4/1/2020   12:56 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00          1.5     $600.00 Fee/J. Mack                                       1.5
                                                                  Majka
                        Review of VPD Records - Bill Long-8570.pdf.


  4/1/2020   12:56 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         1.43     $572.00 Fee/J. Mack                                      2.43
                                                                  Majka
                        research and prepare letter to chief Mattmuller re IA 2020-001


 4/27/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik           $150.00            7   $1,050.00 Paralegal                                           8

                        Remote work on all-encompassing time line of events relative to case. In office to continue same. Review Creasy’s responsive records from KW’s public record request.


 4/27/2020    9:02 AM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00            7   $2,800.00 Fee/J. Mack                                         7
                                                                  Majka
                        April 28, 2020: Remote work on all-encompassing time line of events relative to case. In office to continue same. Review Creasy’s responsive records from KW’s public record request


 4/28/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik           $150.00            8   $1,200.00 Paralegal                                           8

                        Remote work on all-encompassing time line of events relative to case. In office to continue same. continue review of documents produced in response to public record request from
                        Venice. Commence draft discovery requests for defendant

 4/30/2020    9:00 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik           $150.00            8   $1,200.00 Paralegal                                           8

                         Continue work on Webb v Venice in office. Research Archives, Venice Library, Keywords: Caucasian, African American, segregation, blacks, race, racial. Continue compilation of list
                        of questions to discuss with KW; continue timeline of events; continue draft P’s Demand for Document Production.

  5/4/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik           $150.00            8   $1,200.00 Paralegal                                           8

                        review docs re: IAI 2020-001 against KW, w/ recent developments re discipline imposed; review Notice of hearing; review SOP 170; SOP 109; SOP 107. attend conference with JMM.
                        KW and Ruth Terry; review VPD docs re; IA 2020-001 Notice of Predetermination Hearing and Statement of Charges; attached investigation documents.



                                                                                           Exhibits to Plaintiff's First Amended Bill of Costs 000021
Monday, March 7, 2022                                                                              TrialWorks                                                                                      Page 5 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 24 of 223 PageID 5120
                    Case Name                                                              Hourly                                                                         Hours Billable                Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                      Activity Code         Worked Time Billed             Date
  5/6/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.5   $1,125.00 Paralegal                                             8

                        Westlaw search for City of Venice/discrimination cases; review Hodgetts v City of Venice 794 F. Supp 2d 1265 (2011), legal research on hostile work environment, retaliation,
                        comparitors, pretext; criteria for acts to be included in litigation regarding ongoing discriminatory conduct, or separate distinct acts requiring new administrative filings and
                        commencement of new action; termination from employment generally requires commencement of a new action. Review Creasy Motel 8 records. View Gregoire video cam; Karl
                        Stebbins v City of Venice (wrongful death, wife suicidal and taken into custody by Crepeau. 2006 WL 10-47864 (M.D.Fla.); Serianni v Venice; review EEOC Enforcement Guidance on
                        Retaliation.

 5/11/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $100.00             8       $800.00 Paralegal                                           8

                        Legal research: US v City of Jacksonville 3:12-cv-451 (not reported June 2015); EEOC website; search “Discrimination + municipality” for cases with precidential value; commence
                        EEOC email subscription; review Ethics, Moments in Gvmt.; review cases against city of Venice (ADA) Hodgetts, Continue timeline with training denials; continue interrogatories to
                        defendant with training prerequisites

 5/11/2020    3:37 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00         7.15    $1,072.50 Paralegal                                         7.15

                        Legal research US v City of Jacksonville 3:12-cv-451 not reported June 2015; EEOC website; search discrim + municipality for cases; commence EEOC mail


 5/18/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00           2.5   $1,125.00 Fee/K.Mack                                          2.5

                        conf w John Majka regarding witness testimony and observations


 5/18/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19                                       $100.00           5.5       $550.00 Paralegal                                           8

                        Review office emails; continue draft of response to Defendant’s First Set of Interrogatories
                        attend Conf. John Majka Re players/witnesses/initial disclosure list in the case.

 5/18/2020    3:48 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00         6.95    $1,042.50 Paralegal                                         6.95

                        Review office emails on KW case; continue draft of response to Defendant's First Set of Interrogatories; conf. John Majka re KW; witnesses; initial disclosure list


 5/20/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                             8

                        Review Defendant’s motion to dismiss count I of Amended Complaint. Review Answer to Amended Complaint and Affirmative Defenses. Conf with JMM; tele Kenite Webb; continue
                        preparation of draft response to Defendant’s Request for Interrogatories

 5/21/2020    9:28 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.8   $1,170.00 Paralegal                                         7.75

                        drafted response to Def RTP; drafted Pltf demand fro RTPm continue review of case file pre-dateing employment.


 5/22/2020   10:30 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             7   $1,050.00 Paralegal                                             7

                        continued prepration of draft responses to D ROGS, RFAs, RTP; draft P's ROGS, RTP and RFA to D; review pattern Jury Intructions 11th circuit for Title Vii and Retaliation; review
                        EEOC v Jacksonville Firefighters

 5/27/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                             8

                        5-27-20: review VPD Incident reports: weapons violation against Maxim and Syrisko by Montanez; Citizen Complaint against Montanez by Porter and Aldama.
                        Continue response to Defendant’s Interrogatories

                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000022
Monday, March 7, 2022                                                                                TrialWorks                                                                                      Page 6 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 25 of 223 PageID 5121
                    Case Name                                                              Hourly                                                                         Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                      Activity Code         Worked Time Billed                 Date
  6/1/2020    3:51 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                           8.5

                        continue response to Defendant's Interrogatories, Demand to Produce, Request for Admissions, send emails to client for review and comment


  6/2/2020    9:45 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           2.5   $1,000.00 Fee/J. Mack                                           3
                                                                   Majka
                        prep and attend ZOOM confernce with KW re finishing up ROGS and RTP and RFA, inform him of results of informal Pre-D hrg and demanding a Formal Hearing


  6/2/2020   10:36 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00         0.75      $300.00 Fee/J. Mack                                        0.75
                                                                   Majka
                        prepare Motion for EOT to respond to MTD


  6/3/2020    5:08 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                           7.1

                        Draft Interrogatories to Defendant ; Draft P's Response to D's Interrogatories; review historic documents relating to race in COV from archives: a history of African Americans in Law
                        Enforcement; African American as protected class; research cases on retaliation; hostile work env.; review Rodriguez v Citu of Clarmont, MDFl.8-cv-204; discovery demands add
                        rquests for retirement under heart and lung bill; African American as protected class; add requests for retirement/ app. under heart/lung; retaliation; hostile work env., civil rights,
                        Rodrigo Morales; MD Fla Rodriguez v City of Clarmont 5:08 CV 204

  6/8/2020    3:55 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                             8

                        continue revisions to outstanding discovery responses including demand to produce, admissions, rogs; email drafts to client


  6/8/2020    5:41 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00         2.34      $936.00 Fee/J. Mack                                        2.34
                                                                   Majka
                        prepare response to MTD FAC with reated research


  6/9/2020    3:42 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00         0.15       $60.00 Fee/J. Mack                                        0.15
                                                                   Majka
                        emal to OC request 2d EOT


 6/10/2020    3:58 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                             8

                        conference with client re updates including R Terry incident on hospital car break-in; review outstanding discovery requests and responses to date; assess Montanez as comparitor for
                        crash while reading computer May 21, 2020; case No 20-000797, report can't be located. no discipline; car fixed, revisions; review Fernandez v Trees Acquisition, Inc. 11th Cir;
                        discussion of issues for Tucci (ASMI union rep for COV) to cover in tele conf re KW case and status in COV of emp. discrim cases he handles/involved in; discussion re 2 letters sent
                        my DOJ to COV for other violations in 2009, 2010; inability to locate discipline for city employees involved in noose incident; Union rep Tucci ASME info on black public works emp.
                        target of noose Alton King; discussion re Williamson violations; PIP violations; discrepency re punishment of 4 days recommented by chief but its more than 1 yr for prior so shouldn't
                        count. disparate treatment possible; requirement that all complaints be investigated, but Quick failed to investigate KW complaint; reports rejected for 2 months as harassment;
                        someone cleared out mailbox and lost reports; Quick said he's getting written up again re girl who said she was being followed; set up? B.Long baby momma is Jamie Hoy's
                        supervisor? Bill fo rights not followed. Discovery on sources for pay for SRO: is it split between school Bd and City; discussion re Eleftherios ins. complaint; KW's family disturbed at
                        home by banging on door when KW not there, car not there; re exposure to COVID his child was extremely upset thinking Daddy was in trouble, why are they looking for him? banging
                        on door aggressively, upsetting family; Silva sent home because he was sneezed on. KW w heart problems not Covid 19; not awarded DOT acknowledgement for click it or ticket
                        highest performer because they're dissing KW; black public works guy getting dissed; MM comment re banana: "throw it away" discussions on EEOC posters in workplace; videos of
                        Hoy's signature never producted in IA, Bill fo Rights not followed, pay sources for SRO? . Tucci ASME rep; Noose incident; discipline; skinny blk guy in truck hit line: blk guy at water
                        treatment, cops all over him;

                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000023
Monday, March 7, 2022                                                                                TrialWorks                                                                                          Page 7 of 36
                                Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 26 of 223 PageID 5122
                    Case Name                                                           Hourly                                                                       Hours Billable                   Billed
     Date      Time Explanation                                  User                     Rate       Hours Amount Task Code                     Activity Code        Worked Time Billed                Date
 6/12/2020    1:58 PM Webb, Kenite vs. EEOC - VPD 19             Jacqulyn Mack-         $400.00         0.15       $60.00 Fee/J. Mack                                     0.15
                                                                 Majka
                        E-Mail OC re discovery extension due to medical issues


 6/15/2020    4:00 PM Webb, Kenite vs. EEOC - VPD 19             Jacky Skubik           $150.00           7.6   $1,140.00 Paralegal                                         7.6

                        email draft MTD response re Ct 1; Prepare issues for Tucci teleconference on discriminaiton in COV; Webb; other employees with claims past and pending. Continue response to
                        Defendant's Interrogatories and Demand to produce; stebbins v COV: suicide case alleging deliberate indifference: Troy Crepeau 8:04-cv-1988 (2006); Springman v COV, false arrest
                        10-15102 not reported. 1983 action against Crepeau SJ granted; Hodgetts v COV involving disabled employee claims under ADA; KB v COV: victim of sex abuse i.d. not redacted
                        1983 claims against City Clerk Rushing; Leisenring Kuchar: BLM signs come down, who only BLM? because I said so; other COV cases found in research inc Stebbins v COV suicide
                        case, Troy Crepeau 2006; Springman v COV false arrest; Hodgetts v COV, disabled employee ADA violations; 1983 action against Cty Clerk Rushing, not redacted KB v COV 2019
                        WL 707065. Leisenrign Kuchar said take down black lives matter meeting signs; KW asked why only those? polictical signs up too, Because I said so; email from JMM re Buxton v
                        Plant City; Holloman v Harland - Policy Maker, city as discriminator no Monell issue.

 6/15/2020    6:40 PM Webb, Kenite vs. EEOC - VPD 19             Jacqulyn Mack-         $400.00         2.54    $1,016.00 Fee/J. Mack                                     2.54
                                                                 Majka
                        research and prep for response to MTD 1983 claim


 6/17/2020    9:02 AM Webb, Kenite vs. EEOC - VPD 19             Jacky Skubik           $150.00             8   $1,200.00 Paralegal                                          8

                        Review P's draft Responset o Def. MTD 1983 claim; provide comments and legal research; suggestions sent to JMM; Teleconf w Dan Tucci, AFSCME; re discriminaiotn cases and
                        EEOC w COV; update and comments to JMM; conduct legal research for emp. discrim; hostile work env., disparate treatment; comparitors;

 6/22/2020    4:07 PM Webb, Kenite vs. EEOC - VPD 19             Jacky Skubik           $150.00           9.5   $1,425.00 Paralegal                                         9.5

                        T/C w client re discussion with union rep Dan Tucci re COV discrimination based complaints. Continue response to Defendant’s Interrogatories, Demand to Produce, Request for
                        Admissions, with client input (via T/C). discuss black employees, Whittaker, Cox looked black; ; issue of COV receipt of federal funding; Lavallee city workers at his house? Client
                        counseling sessions; costs; records; tax returns, HIPPA releasse for records; lost organiers w personal notes of events; emails w union rep; msg from RT w Nolan pix; Remote work
                        including draft email to DOJ attorney regarding expansion of discrimination claims beyond Police Dpt.; Ordinance # 204 and City Attorney opinion as to status despite never having
                        been repealed; Lisa Jennay therapist : request for records of treatment, and update contact info.; HIPPA release; email JMM status on Jennay; email client for documents responsive
                        to defendant's discovery requests; email union rep regarding IA's and Hoy Affidavit; email KMM with comments for final response to Def. 1st. Request for Admission;email JMM draft P
                        Response to RFA for her review; review JMM email to Marc and Mark; issue of federal funding received by COV tied to compliance with fed anti-discrim mandates;
                        Task Code: Paralegal
                        Billable Hours: 9.50

 6/22/2020   10:38 AM Webb, Kenite vs. EEOC - VPD 19             Jacqulyn Mack-         $400.00           1.2     $480.00 Fee/J. Mack                                     1.25
                                                                 Majka
                        review RFA answers and serve on OC


 6/23/2020    4:08 PM Webb, Kenite vs. EEOC - VPD 19             Jacky Skubik           $150.00           9.5   $1,425.00 Paralegal                                         9.5

                        Work remotely to review final Plaintiff’s response to Defendant’s Request for Admissions. Continue Response to Defendant’s Document Production Demands; email w client ; issue of
                        Dan Whitaker w VPD; news re Perishio investigation; emails re schedule w JMM/ Mark and Marc
                        Task Code: Paralegal
                        Billable Hours: 9.50




                                                                                           Exhibits to Plaintiff's First Amended Bill of Costs 000024
Monday, March 7, 2022                                                                             TrialWorks                                                                                       Page 8 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 27 of 223 PageID 5123
                    Case Name                                                              Hourly                                                                          Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                 Date
 6/24/2020    4:09 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           2.5   $1,000.00 Fee/J. Mack                                          2.5
                                                                   Majka
                        Tele conference with Mark Levitt, attorney for COV re: dates in Preliminary Conf. Order; initial disclosures; insurance agreement; Covid-19 extension, July 16 evidentiary hearing;
                        continue preparation of document production; tele w Kenite re docs needed for responses; emails w/ outstanding tasks including outstanding interrogatories for review and
                        supplementation; Whittaker contact next week; Matrix Consulting 124 pg. report; Travis Miller VP lead investigator commissioned by City Counsel after Marty Black took office because
                        police complained when to spoke to them after taking office about problems morale, etc.; not following through w/ complaints and investigations of officers; not following consistent
                        polices so KW problems have long history without being corrected; COV policy of deliberate indifference confirmed in Matrix study; obtaining treatment records from Lisa Jennay;
                        School resourse position and email from Babette 3-21-18; MM invite to schedule meeting to discuss position SRO and selection; draft email to Louis Whitsett, EEOC re KW status;
                        email KW w P's Response to 1st Rogs for comment; JMM email; client's timeline.
                        Task Code: Paralegal
                        Billable Hours: 2.50

 6/24/2020    3:24 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.75     $300.00 Fee/J. Mack                                        0.75
                                                                   Majka
                        phone conference with AUSA Whitsett of USDOJ re COV and follow up email to him with attachments.


 6/24/2020    5:26 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.15       $60.00 Fee/J. Mack                                       0.15
                                                                   Majka
                        email client re discovery resposne


 6/26/2020   10:22 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.05        $7.50 Paralegal                                         0.05

                        email KW re mayor on police activity in COV; race concerns expressed on recent incident of BLM protest


 6/26/2020    2:10 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.25     $100.00 Fee/J. Mack                                        0.25
                                                                   Majka
                        email Levitt re issuance of SUB DT for Formal hearing on 7-16-20


 6/29/2020    4:11 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           6.8   $1,020.00 Paralegal                                            6.8

                        Continue preparation of document production response; interrogatories; incl. Whittaker; taxes, Steve Young; IA's, damages; photos fo banana in trunk. Email client w outstanidng items
                        to complete re discovery;
                        Task Code: Paralegal
                        Billable Hours: 6.80

 6/30/2020    9:50 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          1.75     $700.00 Fee/J. Mack                                        1.75
                                                                   Majka
                        phone conference with KW to prep for upcoming Formal evidentary hearing


  7/1/2020    4:12 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          7.29   $1,093.50 Paralegal                                          7.29

                        Conference with client to review outstanding discovery. Review recordings and documents with client; Document Production and Interrogatories. New material from client. Gregoire
                        allegations of racial profiling and retaliation against Adams for starting inquiry; Ben Adams; Julie Williams; other claims of hostile work environment; COV historical context of ongoing
                        racial hostility;
                        Task Code: Paralegal
                        Billable Hours: 7.29

                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000025
Monday, March 7, 2022                                                                                TrialWorks                                                                                           Page 9 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 28 of 223 PageID 5124
                    Case Name                                                               Hourly                                                                           Hours Billable                     Billed
     Date      Time Explanation                                     User                      Rate       Hours Amount Task Code                        Activity Code         Worked Time Billed                  Date
  7/2/2020    4:13 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            5.5     $825.00 Paralegal                                             5.5

                        Continue preparation of response to Def. 1st Set of Interrogatories, review client’s additional documents, review emails from client; inquire to EEOC re tele conf. email JMM with draft;
                        email re conflict bcs Levitt gets msg from City Mgr. responding to your concerns of retaliation; time off for medical apts.; email draft Plaintiff's response to 1st Interrogatories from Def.
                        Task Code: Paralegal
                        Billable Hours: 5.50

  7/3/2020   11:30 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00              8   $1,200.00 Paralegal                                               8

                        Re Document Production, develop suggested category of documents to be produced; pdf's of case items incl. EEOC binder, COV docs; PD org charg, Webb personnel files, etc.
                        Investigations and Discipline: IAI, SR, SI Jamie Hoy docs Sanford Docs ;Comparitors’ info./ Disparate treatment Creasy Montanez Long Other people’s complaints/problems
                        with VPD Perisho memo
                         Audio recordings (Not sure how these are going to be marked)Damages Tax returns, medicals,
                        email JMM

  7/6/2020    1:18 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          7.22    $1,083.00 Paralegal                                           7.22

                        Continue preparation of document production response and P responsonse to Def. 1st Set of interrogatories; email KW, JMM for review and comment; JMM email pay disparity for KW
                        re TTD after heart attack and catheter; use of sick time to see comp Drs for KW but others use work time to attend appoiontments; email Geoff Vichlere re comp time, 1st responders;
                        emails reL KW hearing, subpoenas; Email interrogatores to KW updated for comments and finalization; email re KW formal evidentiary hearing 7-16-2020; email P's response to Def.
                        1st Rogs;
                        Task Code: Paralegal
                        Billable Hours: 7.22

  7/6/2020    7:33 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00          0.25      $100.00 Fee/J. Mack                                         0.25
                                                                    Majka
                        email client need rx and psych records nad bills, cardiac procedures in 2017 and related Rx.


  7/6/2020   10:44 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00            2.5   $1,000.00 Fee/J. Mack                                           2.5
                                                                    Majka
                        REview all BATES stamped documents to be produced to COV re RTP response and draft of response.


  7/8/2020    4:19 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00              8   $1,200.00 Paralegal                                               8

                        Continue preparation of response to document production and interrogatories from client comments for additions, email additional findings to JMM for designations of activities engaged
                        in by Perisho, Leisenring; Mattmuller, Gregoire; Hill saying KW would never be 1st Af. Am Chief in COV: Adams comment dating white woman; hostile work env. instances; with review
                        of production folders, review of client’s documents; responses to document demands. emails w Geoff Bichler, JMM re wkrs comp for heart; Webb email out time JMM:
                        Task Code: Paralegal
                        Billable Hours: 8.00

  7/8/2020    5:27 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00          4.76    $1,904.00 Fee/J. Mack                                         4.76
                                                                    Majka
                        finalize review of ROG and RFP responses and document.


  7/9/2020    2:39 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.17       $25.50 Paralegal                                           0.17

                        emails re final interrotory responses served JMM; perdiem w fees and travel; record retention requirements for LEO agency an medical examiner's office; emails re HH for Leisenrign
                        summons; tax collector for hearing;

                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000026
Monday, March 7, 2022                                                                                 TrialWorks                                                                                            Page 10 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 29 of 223 PageID 5125
                   Case Name                                                             Hourly                                                                       Hours Billable                   Billed
     Date     Time Explanation                                    User                     Rate        Hours Amount Task Code                    Activity Code        Worked Time Billed                Date
  7/9/2020   4:54 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00         1.75     $700.00 Fee/J. Mack                                      4.67
                                                                  Majka
                        continued review and edit of draft of response to RFP -upload responsive documents to dropbox, email to/from OC re same


 7/15/2020   4:20 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00            8   $1,200.00 Paralegal                                            8

                        Continue preparation of index to document production. Tele Dan Whittaker, prepare notes of conversation. Work on Interrogatories and Document production requests to Defendant;
                        docs provided in IA 2020: SOP protocols; MTC Ct.1: 42 USC 1983: discriminatory custom claim; deliberate indifference includes tacitly authorizing discrimination by sutom, policy or
                        practice; Lavallee failed to investigate, prevent acknowledge, discipline Mattmuller: inadequate police training: Hardy v Hayneville: Short v Immokalee Water & Sewer Dst. .
                        Task Code: Paralegal
                        Billable Hours: 8.00

 7/16/2020   9:24 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            8   $3,200.00 Fee/J. Mack                                          8
                                                                  Majka
                        prepare for and attend Formal Evidentiary HEAring at CIty Hall for Snford IA


 7/18/2020   4:02 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          1.5     $600.00 Fee/J. Mack                                        1.5
                                                                  Majka
                        review order on MTD and discuss with client


 7/20/2020   4:21 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00         0.05        $7.50 Paralegal                                       0.05

                        Continue preparation of Plaintiff’s Interrogatories and Document Production requests to Defendant. MTD Ct 1; 42 USC 1983: Discrim. Custom Claim; custom or usage w force & effect
                        of law; deliberate indifference tacitly authoirzing discrim; failure of Lavallee to investigate, prevent acknowledge discipline... short v immokalee Water & Sewer Dst.
                        Task Code: Paralegal
                        Billable Hours: 8.00

 7/22/2020   3:22 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00         7.82   $1,173.00 Paralegal                                        7.82

                        Complete draft of Plaintiff’s Document Production requests to Defendant. Email to JMM, for review and editing comments; review Def MTD 1st Am. Complaint; case law for 1981; 1983
                        actions; complete draft of P Doc Prod requests to date
                        Task Code: Paralegal
                        Billable Hours: 7.82

 7/24/2020   3:19 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            1     $400.00 Fee/J. Mack                                          1
                                                                  Majka
                        review and email final discovery resonses to Defendant


 7/27/2020   4:24 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00            8   $1,200.00 Paralegal                                            8

                        Continue preparation of Plaintiff’s Request for Admissions to Defendant.
                        Task Code: Paralegal
                        Billable Hours: 8.00




                                                                                            Exhibits to Plaintiff's First Amended Bill of Costs 000027
Monday, March 7, 2022                                                                              TrialWorks                                                                                      Page 11 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 30 of 223 PageID 5126
                    Case Name                                                              Hourly                                                                          Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                 Date
 7/29/2020    4:25 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.5    $1,125.00 Paralegal                                           7.5

                        Prepare JMM to attend zoom conference with Middle District Judge Thomas Barber on Plaintiff’s Motion to Dismiss Count 1 of First Amended Complaint; continue preparation of
                        Plaintiff’s First Request for Admissions and Document Production; tele conference with client; Verdict/settlement search for racial discrimination cases to update.
                        Task Code: Paralegal
                        Billable Hours: 7.50

 7/29/2020   10:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             2         $800.00 Fee/J. Mack                                        2
                                                                   Majka
                        prep and attend MTD hearing with Judge TB via ZOOM


 7/30/2020    4:43 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          6.05         $907.50 Paralegal                                       6.05

                        Draft and Email to JMM draft of Plaintiff's 1st Request For Production from Def.


  8/3/2020    4:25 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          7.86    $1,179.00 Paralegal                                          7.86

                        continue prep of draft Interrogatories to Defendant. Review files and summaries for any missed requests. Prepare email to JMM. Email KW re damages; and demand for settlement;
                        discuss with JMM re possible position w COV outside VPD;JMM email re Ceus v Tampa Title VII firefighter; 11th Cir; Johnson v Mimi Dde: blk officer retaliation So. Dist. proof of racial
                        discrim: model discovery handbook for Title VII; JS to JMM draft rogs to D.
                        Task Code: Paralegal
                        Billable Hours: 7.86

  8/5/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           7.5    $3,000.00 Fee/J. Mack                                           8
                                                                   Majka
                        Review COV’s response to public record request and summarize pertinent documents; revise interrogatories; discussion with JS; review summary of damage awards/settlements in
                        discrimination cases; emails re public record requests; drop box for COV response;

  8/7/2020    1:06 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          5.75    $2,300.00 Fee/J. Mack                                        5.75
                                                                   Majka
                        meet with client to finalize RFA and later on a phonce conf with client re: trailing requests.


 8/10/2020    5:14 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8    $1,200.00 Associate                                             8

                        research damages for categories for recovery and information for calculation of damages; review information received in response to Art 119 request for records from COV, review
                        client emails, update additional discovery requests to cover information in public record request. Review Creasy’s responsive records from KW’s public record request; email JMM KW
                        re Leisenring and Quick

 8/12/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $100.00          5.75         $575.00 Fee/J. Mack                                        8
                                                                   Majka
                        Continue review of documents received pursuant to Public Doc Rqst, including Webb’s training file, redacted personnel file , disciplinary file, review history of outside investigations
                        conducted of COV departments including VPD by Avery and Associates; and Matrix Consulting; create index to records produced by COV

 8/17/2020    5:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8    $1,200.00 Paralegal                                             8

                        Final review COV response to public record request for Montanez. Commence preparation of draft findings of fact and conclusions of law for Formal Evidentiary Hearing re IA 2020-
                        001(Sanford) . Review transcript of July 16, 2020 hearing. PUblic records request for Hissl Cty Sheriff and Fla Highway Patrol for Montanez.

                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000028
Monday, March 7, 2022                                                                                TrialWorks                                                                                          Page 12 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 31 of 223 PageID 5127
                    Case Name                                                              Hourly                                                                          Hours Billable                     Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                        Activity Code        Worked Time Billed                  Date
 8/17/2020    3:46 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.75      $300.00 Fee/J. Mack                                        0.75
                                                                   Majka
                        review Montanez file from 119 request


 8/19/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8    $1,200.00 Paralegal                                             8

                        Continue preparation of draft findings of fact and conclusions of law regarding the July 16, 2020 Appeal Hearing in IA 2020-001. Review Respondent’s exhibits. review order denying
                        defendant's Motion to dismiss.

 8/24/2020    4:27 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8    $1,200.00 Paralegal                                             8

                        Review respondent’s evidence for suspension hearing; continue preparation of final draft of findings of fact and conclusions of law for evidentiary hearing officer with citations to record;
                        request KW personnel records from Sarasota County Sheriff; emails JMM, MNL, MS re: dep schedules; service of P's discovery requests to D, rogs; doc prod, request for admissions.
                        Task Code: Paralegal
                        Billable Hours: 8.00

 8/26/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8    $1,200.00 Paralegal                                             8

                        Contact mediator’s office Deborah Brown and request availability for late Nov. Prepare draft Order; follow up on request for insurance info: Laurel Romero, JD Western World Ins.
                        Group; investigate and summarize status of outstanding public records requests; review local rules re: mediation; review insurance agreement for COV; review City of Venice proposed
                        Findings of Fact and Conclusions of Law to Hearing Officer; privilege log for withheld items in litigation; organize tasks to be completed: mediation summary; deps we need; mediation
                        dates late Nov., circulate suggestions; discussion with client re: Covid 19 leave granted Halpin, Dinka and Sgt. White, but not KW.

 8/31/2020   11:42 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          7.25    $1,087.50 Paralegal                                             8

                        Review SRQ records for KW from FOIA request; review Middle District of Fl Mediation Rules; begin draft mediation summary: factual allegations; scheduling emails for deps


  9/2/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8    $1,200.00 Paralegal                                             8

                        Continue preparation of Mediation Summary for KW; prepare damages/paralegal time summary for damages; tele Deborah Brown re Court Ordered Mediation dates; tele Tracy Suarez
                        re dates; t/c Kenite Webb re status, dates, etc. update trialworks

  9/9/2020    9:32 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            7.5   $1,125.00 Paralegal                                             8

                        continue scheduling tasks for depositions of Mattmuller, Lavallee and Bullock, Chappa; and mediation, email Defense counsel with dates for Webb dep.; Continue preparation of
                        Mediation report- Plaintiff's position, integrate interrogatores into mediation report; index to document production; review SOPs and Venice Procedures and Rules for applicable
                        standards; email KW re dates; status of discrim claim by other Venice employee; to do: request Williamson and Al King records from COV; Need treatment records from Calderon;
                        Lakewood Cardiovascular; Steven Class MD Heart specialist; add documetns on post-filing incidents to discovery.

  9/9/2020    4:29 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.25      $100.00 Fee/J. Mack                                         0.1
                                                                   Majka
                        Preparation of Client - court date time/ phone conf with KW re depos and disciplinary proceedings


 9/10/2020    4:48 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.15       $60.00 Fee/J. Mack                                        0.15
                                                                   Majka
                        review emails re reschedule mediation and respond to OC with request to confirm date.



                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000029
Monday, March 7, 2022                                                                                TrialWorks                                                                                           Page 13 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 32 of 223 PageID 5128
                   Case Name                                                               Hourly                                                                          Hours Billable                    Billed
     Date     Time Explanation                                     User                      Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                 Date
 9/14/2020   8:59 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          8.15    $1,222.50 Paralegal                                             8

                        Review findings of fact in appeal hearing of IA 2020-001 by Albert Galloway, Hearing officer. Review emails regarding future recourse. Review emails regarding scheduling of Webb
                        deposition and mediation. Continue preparation of Mediation Summary.

 9/15/2020   1:33 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00          0.15       $60.00 Fee/J. Mack                                       0.15
                                                                   Majka
                        review email from mediator Brown and respond with COVID 19 Order


 9/16/2020   9:02 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00           2.5    $1,000.00 Fee/J. Mack                                         2.5
                                                                   Majka
                        continue preparation of Mediatioin summary; incorporate information from responses to Interrogatories; review deposition arrangements; pursue client's medical records and
                        outstanding items including possible settlement position.

 9/16/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          7.75    $1,162.50 Paralegal                                             8

                        Review emails re: Webb v COV mediation: scheduling and format; Court's scheduling Order and Covid-19 extension; review USA v COV, 8:20-cv-02161- (discrimination action filed on
                        behalf of COV Public Works employee James Williamson) filed 9-15-2020; review Williamson Settlement agreement, research media reports of settlement by DOJ. draft and send
                        email client regarding Williamson including copy of Settlement Agreement by Venice with DOJ; email strategy to JMM; continue preparation of Mediation summary for KW, discuss
                        filing "notice of related case"

 9/21/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          7.75    $1,162.50 Paralegal                                             8

                        Review emails regarding depositions; review Notice of Related Case filed 9-18-20; continue preparation of Mediation summary draft including summarizing items giving rise to action
                        and chronology. Review The Scoop articles regarding settlement of James Williamson case against Venice and criticism for failing to add sum into Venice budget comments leaving
                        Commissioners in the dark about pendency of suit and looming settlement and "other one in the wings".

 9/23/2020   9:03 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00             6     $900.00 Paralegal                                              8

                        continue legal research re Rule 407: Subsequent Remedial Measures for preclusive effect on admitting at trial evidence of settlement terms of discrimination case brought by James
                        Wiliamson - marked as related case. Issue of admisibility of proof of settlement of another action and its settlement terms to establish lack of protocol and procedures for
                        discrimination claims to establish element of ongoing policy and practice of deliberate indifference to racial discrimination and failure to prevent and properly train employees allowing
                        practice of discrimination to continue; review reporting, investigation, prevention and education of discrimination claims; review emails w client re: demand; filing Notice of Related case
                        for Williamson action; continue preparation of mediation summary. Review FOP/COV Agreement for terms relating to process and procedures of grievence, complaints and
                        investigation process for racial discrimination, hostile work environment, disparate treatment based on race.

 9/24/2020   4:30 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           2.5     $375.00 Paralegal                                            2.5

                        Tele conference with Mark Levitt, attorney for COV re: dates in Preliminary Conf. Order; Covid-19 extension, July 16 evidentiary hearing; continue preparation of document production;
                        tele w Kenite re docs needed for responses; emails w/ outstanding tasks including outstanding interrogatories for review and supplementation; Whittaker contact next week; obtaining
                        treatment records from Lisa Jennay
                        Task Code: Paralegal
                        Billable Hours: 2.50

 9/24/2020   9:51 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00          2.75    $1,100.00 Fee/J. Mack                                           3
                                                                   Majka
                        KW at office to prep for upcoming deposition on 10/8/20


                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000030
Monday, March 7, 2022                                                                                TrialWorks                                                                                          Page 14 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 33 of 223 PageID 5129
                   Case Name                                                                Hourly                                                                          Hours Billable                     Billed
     Date     Time Explanation                                     User                       Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                  Date
 9/28/2020   9:11 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00           6.5     $975.00 Paralegal                                              8

                        Tele call with client regarding possible settlement position; discuss categories of damages; possibility that settlement contain component creating new employment position at COV for
                        KW - suggested EEOC compliance officer; oversight; compensatory damages; health issues; stress; continuing w/ IA against him; research damages, caps, discuss unavailability of
                        punitive damages against governmental entity; prepare memo to file re client discussion; review Drop Box documents; organize file; review recent emails;

 9/30/2020   5:04 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00             6     $900.00 Paralegal                                              8

                        Continue preparation of draft Mediation summary; pick up with emails re: scheduling Plaintiffs depositions; review case settlement research for comparative purposes. discussion w/
                        JMM re client's settlement position; email client for follow up on position. Continue attempt to organize files.

 10/5/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00           6.5     $975.00 Paralegal                                              8

                        Prepare for client's deposition; prepare email to client w/ enc. to review prior to dep; discussion w JMM re damages, discuss recent event at Splash wherein KW accused by boyfriend
                        of hitting on white store employee while arrest of motorist who parked at Splash; complaint made including violence against KW; investigation; compile draft outline for deps w
                        proposed exhibits/ review case materials and organize for dep outlines. Update and revise draft email to Whitsett. review/send emails to client re meeting.

 10/7/2020   5:30 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00           8.5   $1,275.00 Paralegal                                            8.5

                        Conf. JMM re damage cap. under statute, review statute and case law regarding damage limitations. Conference with client in preparation of deposition. Review file documents (FAC,
                        P's Response to Interrogatories, EEOC charge) with client. Review damage awards and developments for comparison purposes and further discuss client's settlement positions in
                        anticipation of mediation conference.

 10/8/2020   9:53 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-           $400.00             8   $3,200.00 Fee/J. Mack                                            8
                                                                   Majka
                        prep for travel to/from and attend Kenite deposition at City Hall on Island Venice


10/12/2020   5:00 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00             7   $1,050.00 Paralegal                                              8

                        Prepare draft outline for Tom Mattmuller's deposition and incorporate references to Drop Box docs: check Sunbiz for entities TM is affiliated with, review Scty of State docs filed for
                        entity named "Do The Right Thing of Sarasota, Inc." which TM was a Director of; review accreditation history for Venice and loss of accreditation; review TM's profile on Venice
                        Website, conuct internet search of TM; review Commission for Florida Law Enforcement Accreditation, Inc.; review TM comments on COV PD accreditation and goals of attaining
                        status.

10/14/2020   5:03 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00             1     $150.00 Paralegal                                              8

                        email defense counsel to confirm defendant's depositions; discussion with JMM re status; review Jax email ; review Bostock v Clayton County Georgia, USSCt. June 15, 2020; discuss
                        contacting Dr. McAllister, send email regarding records and tele conf.

10/19/2020   5:00 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00           7.2   $1,080.00 Paralegal                                              8

                        Email client re HIPPA form; review emails requesting form re Dr. McAllister's office; continue preparation of deposition outline for Mattmuller; review Plaintiff's record production for
                        cross reference in Dep. outline, confirm court reporter for upcoming dep. discussion w/ JMM

10/21/2020   5:12 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           0.25       $37.50 Paralegal                                          0.25

                        emails to/from client re IA, Chappa, reports re Splash. client zone changed, mental health declaration to Chappa; complaint Frangione received.




                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000031
Monday, March 7, 2022                                                                                 TrialWorks                                                                                           Page 15 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 34 of 223 PageID 5130
                    Case Name                                                               Hourly                                                                         Hours Billable                     Billed
     Date      Time Explanation                                    User                       Rate       Hours Amount Task Code                       Activity Code        Worked Time Billed                  Date
10/25/2020    9:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00                4     $600.00 Paralegal                                           4

                        Re: Kenite Webb: Review Defendant’s document production pgs 1-2022; compile summary with reference to doc. Prod. Email to JMM


10/26/2020    8:22 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00               10    $1,500.00 Paralegal                                         10

                        Webb: Continue review of Defendant’s document production and summary w/ references. Compile outline for Lavallee deposition on Thursday; continue Matmuller deposition outline,
                        email Webb regarding outstanding HIPPA authorizations for defendant. Discussion with JMM. Email Webb outline for MM deposition. @remote: Continue review of defendant’s
                        document production, summarize and analyze.

10/27/2020    2:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00                2     $300.00 Paralegal                                           2

                         Remote: continue review, analysis and summary of defendant’s document production. Review client email. Prepare attachment of interests to public record request; Email JMM
                        summary, review & reply to client email regarding medical procedure w Erick Calderon, for heart monitor inplant.

10/28/2020    9:24 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           6.05       $907.50 Paralegal                                           8

                        Webb: REview email from JMM. Review nad send email to DOJ senior attorney Louis Whitsett re status of Webb litiagation in light of Williamson's case disposition. Import all case
                        related emails to Trialworks. Continue preparation of Plaintiff’s mediation summary including update of incidents, comparitors, Williamson settlement and ongoing instances of
                        disparate treatment and retaliation as well as health ramifications and economic damages.

10/28/2020    9:54 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00                9    $3,600.00 Fee/J. Mack                                        9
                                                                   Majka
                        prepar for, travel to/from City Hal, Venice Island for deposition of City Manager Lavallee


 11/2/2020   10:06 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00               6.5    $975.00 Paralegal                                         6.5

                        Preparation for Mattmuller dep: prepare exhibits, tele w client re depositions and Splash incident follow up regarding directive to make complaint and inaction by VPD to ensure safety
                        of officer in light of threat to his life and racial slur, conf. w JMM, prepare emails re: dep questions client suggested, review Lavalle dep. Highlights with JMM, to do: obtain Mattmuller
                        performance evaluations, IT director personnel file, Chris St. Luz (sp?);
                        Time: 6.5

 11/3/2020   10:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00                9    $3,600.00 Fee/J. Mack                                        9
                                                                   Majka
                        prepare for, travel to/from City Hall Island of Venice for Chief Mattmuller Deposition


 11/4/2020    5:03 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00                8    $1,200.00 Paralegal                                       8.25

                        Webb: confirm COV employee name, Christ St. Luz? As Christopher St. Luce, Director of Information Technology (941) 882-7425; prepare deposition outline for City Manager Lavallee,
                        review COV emails for his deposition, review training record summaries from Schuler; tele w client re Matmuller deposition; review medical records Sheri Sanders & Steven Class; conf.
                        w JMM re Mattmuller dep. ; discuss status of Splash incident and threats. to do: supplement doc prod w/ medicals; authorizations for counselors; complain to D's attys re missing doc
                        prod and document dump unacceptable without index to what is being responded to; check mediation requrirements for brief and rules.




                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000032
Monday, March 7, 2022                                                                                TrialWorks                                                                                           Page 16 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 35 of 223 PageID 5131
                    Case Name                                                              Hourly                                                                          Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                 Date
 11/9/2020    5:01 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.5    $1,125.00 Paralegal                                             8

                        Review emails from JMM, Levitt, Tracy Suarez, Re: Dep Notice for Alan Bullock, Rule 30(b)(6) deposition of party representative to bind corporation; review guidelines and draft scope
                        of inquiry for corp. representative of City of Venice as requested by defense counsel. Prepare corrections to record request for Mattmuller performance evaluations and email archives
                        for City Manager; review 2020 FOP contract w COV. fowarded by officer VPD. Reminder to client re: authorizations from def for medical records. Review defendant’s subpoenaes to
                        Webb's healthcare providers. Review case Liles v Weitzman re: discovery production; review article Taking a Rule 30(b)(6) Deposition. Tele Deborah Brown, mediator re: schedule
                        and party's confidential position statement, due date.

11/11/2020    5:05 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.5    $1,125.00 Paralegal                                             8

                        clarify public record request to City of Venice for Lavallee emails and Matmuller personnel and disciplinary files in response to COV email indicating size of prospective production.
                        Continue preparation of draft Scope of Inquiry for City of Venice representative depositions to be provided to defendant; Review F R. C P 30 (b)(6); draft dep. notice for Bullock.
                        Review Document Production for Bullock documents to use in deposition. Continue preparation of Bullock dep. Outline and review of defendant's document production for documents
                        involving Bullock and emails.

11/12/2020    6:05 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.75      $300.00 Fee/J. Mack                                        0.75
                                                                   Majka
                        research & draft scope for B6 depo send to OC


11/16/2020    9:57 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             7    $2,800.00 Fee/J. Mack                                           7
                                                                   Majka
                        prepare for, travel to/from City Hall Island of Venice HR Director Alan Bullock deposition #1


11/16/2020    5:18 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           3.5      $525.00 Paralegal                                            35

                        Review KW treatment notes of Bennett McAllister, MD. Review docs for Bullock deposition and discussion with JMM re status of Personnel Director Bullock at dep today is still
                        uncertain. Review Resolution No. 2020-42, City of Venice regarding discrimination and harassment and requirements for reporting instances. Review City meeting adopting resolution
                        by 7-0 vote. Organize files

11/18/2020   12:15 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.55        $82.50 Paralegal                                         0.55

                        review email from JMM, reporting agency re transcript. Research costs to litigant under Title VII in light of invoice for Lavallee transcript received. Send email to JMM with findings that
                        costs are avail to successful litigant without regard to financial status of litigant.

11/18/2020   10:02 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             6    $2,400.00 Fee/J. Mack                                           6
                                                                   Majka
                        meet with client prepare for medication and attend via Zoom with Deborah Brown.


11/18/2020    4:58 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             7    $1,050.00 Paralegal                                             8

                        Re: mediation; prepare with summary and update of issues for p and damages; confirm client position re possible settlement; discussion w JMM re demand/scope of acceptable
                        disposition; attend Mediation session w Deborah Brown, JMM, client; possible workers comp component of global settlement; discussion w client re options if separated from VPD;
                        career options beyond this case.

11/23/2020    4:25 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          3.02      $453.00 Paralegal                                          3.02

                        prepare Motion on consent for extension of time of remaining tasks in scheduling order. Review local rules, Covid-19 Order, Pretrial Scheduling Order. Review emails re: continuation
                        of mediation and motion on consent.; review defendant's revisions; file same
                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000033
Monday, March 7, 2022                                                                                TrialWorks                                                                                          Page 17 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 36 of 223 PageID 5132
                   Case Name                                                                Hourly                                                                        Hours Billable                    Billed
     Date     Time Explanation                                     User                       Rate       Hours Amount Task Code                     Activity Code         Worked Time Billed                 Date
11/25/2020   4:35 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00         0.25      $37.50 Paralegal                                         0.25

                        T/C Webb re mediation issues and damages


11/30/2020   5:00 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00         4.55     $682.50 Paralegal                                             8

                        Review additional document production from defendant including personnel files of Bullock, Gregoire, Henderson, Hill, Joyce, Long Terry, Wentworth, Rose, (pgs 6022 – 7954) and
                        summarize notes. Review Lisa Jennay treatment notes for 12-2017 to 8-2018; prepare summary

 12/2/2020   5:12 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00         5.05     $757.50 Paralegal                                             8

                        Continue review and analysis of defendant's 2d document production, including personnel folders for other employees and plaintiff. Summarize findings. Def. additional document
                        production Bates 11279-11411 : Webb Personnel from Tracy Suarez; emails to/from JMM re limiting scobe of Public Request R001006-110920 re: Lavallee: including key search terms
                        suggested to limit return.

 12/7/2020   3:50 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00           3      $450.00 Paralegal                                             3

                        Review additional medical record from Sarasota Memorial returned pursuant to authorization; prepare summary of medical records received and confirm all authorizations have been
                        processed by providers treating KW. Review Lavallee deposition transcript. Summarize highlights of dep. for potential SJ motion. review emails from Lori Seltzer re 40,812 emails
                        returned in response to R001006-110920 and specific key terms sought to narrow results. discussion w JMM re resolution of volume of return and costs.

 12/9/2020   3:52 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00           2      $300.00 Paralegal                                             2

                        continue review and notations for Lavallee deposition transcript.


12/10/2020   4:10 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00          0.3      $45.00 Paralegal                                           0.3

                        Tele Lori Selzer re 119 Records Request for KW: including Hostile Work Env. ; email JMM re outcome of discussion and how to proceed with est. 40,000+ emails due to Outlook
                        redundency on outgoing msgs to entire emp. staff., etc. ; email JMM w status, and suggestions; Q of review of volume of return; fees to successful litigant; review statute for "inspection
                        " by remote electronic means in lieu of copying and paying for copies. Venice says no way to preliminarily review records without paying; JMM email to KW for input

12/14/2020   4:24 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00           3      $450.00 Paralegal                                             3

                        Discussion with JMM regarding production of Plaintiff's medical records; prepare Plaintiff's First Supplemental Document Production and Bates stamp treatment notes of McAllister and
                        Jannay. Served by JMM; sent to mediator Deborah Brown

12/15/2020   4:20 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-           $400.00           2      $800.00 Fee/J. Mack                                           2
                                                                   Majka
                        continued mediation with Deborah Brown. Unsuccessful disposition


12/16/2020   3:35 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00         5.25     $787.50 Paralegal                                             8

                        review medical records for client charges. Assess designation of Dr. McAllister as expert witness in addition to treating physician. Research damages, expert witness designation,
                        treating physician testimony, Rule 26 disclosure and Fed. R. Ev. 702; 703. Prepare memo to file. Email Jacqulyn and client.




                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000034
Monday, March 7, 2022                                                                                 TrialWorks                                                                                        Page 18 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 37 of 223 PageID 5133
                    Case Name                                                              Hourly                                                                        Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                     Activity Code         Worked Time Billed                 Date
12/21/2020    3:57 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          1.95       $292.50 Paralegal                                       1.95

                        Review notes and emails and Compile a list of pertinent events which occurred since the filing of KW's federal action for inclusion as ongoing actionable events at trial herein including
                        Sanford 48 hr suspension; Hostile Work Environment by Gregoire for embellished emails to Chappa about tardiness for FOP detail Dec. 26, 2019 and reaction to case filing by Morales
                        "Subpoena for you..." ; Gregoire alleging KW didn't keep patrol vehicle clean ; IA 2020-006; threats against KW made but never reported until months later; Jax email 11-2-2010 re hate
                        crime against Webb ignored; sick time for Dr. appointments charged to KW but no one else; reduced perf. evals: "1" because Sanford sustained IA; seven 3's ; Williamson settlement
                        with DOJ; flyer in KW mailbox announcing Northport PD is hiring 12-29-19; post Covid exposure KW not given time off while white officers Dinin and Sgt. White were given admin
                        leave; failure to maintain Webb's training records causing him to repeat training in 2020; Paul Joyce not written up for drawing service revolver at Poppy's restaurant when he
                        responded to complaint of disturbance despite mandatory write up for LOR if gun is pulled; Gregoire ordered Joyce to do it but didn't write up Jpyce when he didn't. KW reported to us
                        11-2-2020; resolution 2020-42, Oct. 25, 2020 amending PPR 1.23 policy against harassment and discrim. and email to Jax regarding production and updating of discovery with
                        documents relating to same

12/21/2020    4:28 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.05        $20.00 Fee/J. Mack                                     0.05
                                                                   Majka
                        Review of Notice of Taking Deposition - 1474.docx.


12/23/2020    3:37 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             4      $1,600.00 Fee/J. Mack                                       4
                                                                   Majka
                        Tele conference w. client about updating damages, recent incidents, EEOC, remote work, banana/cheese thrown at the car.; Chappa covid exposure last Friday and email for tele work
                        home assignment which KW never got; Use of FMLA time instead of work time; Never got raise to $70K; filling Rx . Discussed medical issues as it relates to damages.
                        Mayor received threats via text or email and once reported, it was investigated immediately but KW’s threat was disregarded and no action was taken on his behalf.
                        update case status, review records for updating; outstanding depositions and status. review outstanding items for case to do.

12/28/2020    4:33 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.5        $75.00 Paralegal                                        0.5

                        review emails from last week regarding filing charges on Splash and telecommuting.


  1/4/2021    4:16 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          1.75       $262.50 Paralegal                                       1.75

                        prepare Notice of Corportate Deposition for City of Venice by Alan Bullock. review scope of inquiry from November and emails regarding scheduling of deposition, emails from and to
                        JMM.

  1/6/2021   11:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.05         $7.50 Paralegal                                       0.05

                        Serve Notice of Deposition on defendant for Bullock's corporate rep. dep. on 1-19-21.


 1/18/2021    3:44 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          3.22       $483.00 Paralegal                                       3.22

                        review Webb: emails to/from Lori Seltzer, KW, JMM re status and volume for recent record request. Prepare deposition exhibits for corporate rep dep. Email Mark Sugerman for
                        confirmation of Bullock dep 1-19-21.

 1/19/2021   10:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             9      $3,600.00 Fee/J. Mack                                       9
                                                                   Majka
                        prepare for, travel to/from City Hall Island of Venice for Alan Bulock deposition #2 (30B6)




                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000035
Monday, March 7, 2022                                                                                TrialWorks                                                                                        Page 19 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 38 of 223 PageID 5134
                   Case Name                                                               Hourly                                                                          Hours Billable                     Billed
     Date     Time Explanation                                     User                      Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                  Date
 1/22/2021   9:45 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           0.5       $75.00 Paralegal                                           0.5

                        review information on Covid orders. tele w Chambers on trial status due to restrictions via Covid 19; Order regarding juty trial suspensions, email from Ct. resetting trial date and final
                        PTC.

 1/29/2021   3:30 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00           1.5      $600.00 Fee/J. Mack                                         1.5
                                                                   Majka
                        KW to meet with JMM and KEM via Zoom case strategy session.


  2/3/2021   1:32 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          4.55      $682.50 Paralegal                                          4.55

                        Webb MSJ: attempt to continue downloading documents from Def's Motion for Summary Judgment. Review Judge’s individual rules regarding consultation between parties to narrow
                        issues on Summary Judgment. Draft email for Mark Levitt regarding procedures not followed. Draft email to client w MJS. Draft notes on issues to respond to in reply to motion for
                        SJ.

  2/4/2021   1:46 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.35       $52.50 Paralegal                                          0.35

                        review 16 emails JMM/Marl Levitt; HH; review sample stmt of disputed facts;


  2/6/2021   1:36 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00             2      $300.00 Paralegal                                             2

                        work remotely Webb MSJ: Review MSJ disputed facts, summarize findings, draft response to Defendant’s undisputed facts


  2/7/2021   1:50 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.75      $112.50 Paralegal                                          0.75

                        summarize P's responses to Defendant's undisputed facts in opposition to D Motion SJ. sketch out legal argument; prima facie case of discrimination; complaints ignored, hostile work
                        environment; adverse emp action inherent in graduated punishment because for KW 1 more false move and he's out.

  2/8/2021   1:57 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           0.5       $75.00 Paralegal                                           0.5

                        review communications regarding Public Records Request R001006-110920 13K emails; keywords used as requested; review exhibits for bullock dep transcript emailed from reporters
                        w dep transcript; brief review of Bullock dep for motion sj opp.

  2/8/2021   1:03 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00           0.5      $200.00 Fee/J. Mack                                         0.5
                                                                   Majka
                        phone conference with Mark Levitt


 2/10/2021   3:38 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.35       $52.50 Paralegal                                          0.35

                        Email re costs for COV FOIR; email from Lori Stelzer, going back to Dec. request and fees to be charged, status.


 2/11/2021   3:33 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          1.85      $277.50 Paralegal                                          1.85

                        Webb MSJ: attempt to continue downloading documents from Motion. Review Judge’s individual rules regarding consultation between parties to narrow issues on Summary
                        Judgment. Draft email for Mark Levitt regarding procedures not followed. Draft email to client w MJS. Review Def. MSJ. Note issues to respond to.




                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000036
Monday, March 7, 2022                                                                                TrialWorks                                                                                          Page 20 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 39 of 223 PageID 5135
                    Case Name                                                                Hourly                                                                     Hours Billable                 Billed
     Date      Time Explanation                                     User                       Rate       Hours Amount Task Code                        Activity Code   Worked Time Billed              Date
 2/12/2021    2:03 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           4.05      $607.50 Paralegal                                   4.05

                        continue preparation of comments to d's stmt. of 52 undisputed facts (plus subsections) with draft responses; send to JMM for review and comment;


 2/17/2021    3:28 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           0.22       $33.00 Paralegal                                   0.22

                        conf w JMM re defendant’s statement of undisputed material facts and responses;


 2/22/2021    1:42 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            1.5      $225.00 Paralegal                                    1.5

                        Webb: Draft Response to Defendant’s Statement of Undisputed Facts.


 2/24/2021    5:00 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           3.65      $547.50 Paralegal                                   3.65

                        review defendant's Motion for Summary Judgment including statement of undisputed material facts. review cases saved in Westlaw on legal issues and continue research on summary
                        judgment in Title VII cases and FCRA. Review Judge's Individual Rules on motions for summary judgment and statement of facts. Commence draft of Plaintiff's statement of disputed
                        facts.

  3/1/2021    9:22 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            6.9   $1,035.00 Paralegal                                       0

                        prepare certification for Lisa Jennay treatment records. Continue response to MSJ: legal research; review Defendant's cited cases. Continue Plaintiff's Statement of Disputed Facts
                        with citations to the record.

  3/2/2021    9:50 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           6.25      $937.50 Paralegal                                      0

                        Continue preparation of response in opposition to Defendant's Motion for Summary Judgment including Plaintiff's statement of Disputed Facts. Review deposition notes and Matmuller
                        transcript. Provide status email to client.

  3/8/2021   10:57 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            6.1      $915.00 Paralegal                                    6.1

                        continue preparation of Plaintiff's opposition to Motion for Summary Judgment. Review exhibits and continue statement of disputed facts.


 3/10/2021    9:09 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           6.75   $1,012.50 Paralegal                                       0

                        Review email from defense counsel and refiled unopposed Motion for Extension of Time to Respond to Defendant's Motion for Summary Judgment. Continue preparation of Response
                        to Defendant's undisputed facts.

 3/14/2021    9:36 AM Webb, Kenite vs. EEOC - VPD 19                Kerry E. Mack           $450.00              2      $900.00 Fee/K.Mack                                     2

                        Review Plaintiff’s Response to Defendant’s First Set of Interrogatories to Plaintiff; Initial Disclosures by Plaintiff and Defendant


 3/15/2021    4:23 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            0.5       $75.00 Paralegal                                    0.5

                        continue preparation of Disputed Facts in opposition to MSJ


 3/22/2021   12:21 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           8.95   $1,342.50 Paralegal                                    8.95

                        continue preparation of Plaintiff's Statement of Disputed Facts; review Defendant's exhibits.

                                                                                                Exhibits to Plaintiff's First Amended Bill of Costs 000037
Monday, March 7, 2022                                                                                 TrialWorks                                                                                   Page 21 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 40 of 223 PageID 5136
                    Case Name                                                              Hourly                                                                         Hours Billable                     Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                       Activity Code        Worked Time Billed                  Date
 3/22/2021    4:53 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.5   $1,125.00 Paralegal                                            7.5

                        continue preparation of opp to MSJ. tele conf w client re: events and instances of recent times and additional opposition facts for motion. pinpoint citations to record including Bullock
                        and Lavalle transcripts.

 3/22/2021    7:26 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.3       $45.00 Paralegal                                           0.3

                        prepare draft Affidavit in Opposition for Kenite Webb regarding Chappa's allegations


 3/23/2021    6:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             6     $900.00 Paralegal                                             6

                        Complete 1st draft of Webb Affidavit and send to client and lead counsel for reveiw and comment. Continue preparation osf disputed facts. continue review of record.


 3/24/2021    9:04 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             0        $0.00 Paralegal                                            0

                        Continue preparation of Memo of Law in Opposition to MSJ


 3/25/2021    5:04 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.15       $22.50 Paralegal                                         0.15

                        review email from client; reply


 3/26/2021    3:13 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          5.66     $849.00 Paralegal                                          5.66

                        Fri in office. T/C Webb, continue stmt of facts. MOL, Affidavit in Opp. Problems with accessing record/pinpoint citations.


 3/26/2021   10:26 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.05        $7.50 Paralegal                                         0.05

                        T/C with Webb regarding Affidavit. Continue preparation of Mem of Law in Opposition.


 3/29/2021    4:45 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          7.75   $1,162.50 Paralegal                                          7.75

                        emails w client, 2d MET for response to MSJ; draft content; obtain consent of adversary to application, draft email to adversary, continue preparation of MOL in Opp to MSJ


 3/31/2021    8:53 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.05        $7.50 Paralegal                                         0.05

                        continue preparation of opposition motion papers. Conduct legal research. Pinpoint citations and record on motion.


 3/31/2021    5:52 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                             8

                        Revisions to Statement of Facts, MOL, Citations to record,


  4/2/2021    5:11 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00          0.25     $112.50 Fee/K.Mack                                         0.25

                        Preparation of HIPPA




                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000038
Monday, March 7, 2022                                                                                TrialWorks                                                                                          Page 22 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 41 of 223 PageID 5137
                    Case Name                                                              Hourly                                                                         Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                      Activity Code         Worked Time Billed                 Date
  4/5/2021    4:02 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          7.65    $1,147.50 Paralegal                                          7.65

                        Webb,: continue opp to MSJ; draft email requesting 3rd Extension of time to respond to MSJ. Prepare draft proposed Motion to Court for 3d extension of time. Review Majka Affid.,
                        review Webb Affid, continue record compilation, continue preparation of opposition to def motion for summary judgment

  4/7/2021    1:07 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          1.75      $262.50 Paralegal                                          0.75

                        Webb motion; provide exhibit electroncially 3.07 (c0; Jamie Hoy video; youTube; favoritism in grooming employees for advancement on subjective assessment: Browning Per. Eval; D's
                        26-33; supervisor suggests Field Training Officer; "very bright future"; prepare citations from document production to add to motion opp: including categories in record to references to
                        biracial child, black suspects book, sick time for wkrs comp, damages, insubordination, rice crash report, complaints of hostile work environment ignored, motel 6 incident, banana in
                        trunk, summary of allegations in EEOC position stmt; smily face for Bill Long with bullet through the head; splash incident; rock jetty w n+word; adverse employment actions, Chappa
                        issues, custom, policy and practice; bad blood w Bill Long, "n=gger", being arrested for being black: racial profiling at COV; SRO 62-13: 5-8; Compliance w EEOC; SRO Mattmuller
                        deposition citations to include on issues including . 51-10; training; Hoy Gregoire, going to sue us too? comment, Hostile Work Emvironment KW email to MM; COV gene pool,
                        Smolenski; Matrix; Avery & Association; Mattmuller with EEOC; swoen statement not necessary to take complaint ; missing report; harassment SOR; Motel 6 burglary; comparitors;
                        mgmt being final arbitors; black suspects book, appeal of Ord. 204; add PPR to stmt of facts;

 4/12/2021    3:05 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.75      $112.50 Paralegal                                          0.75

                        Webb,: review final filings, email from Marc Sugarman re font, etc. Tele w Judge’s Clerk regarding issue with citations to Exhibits being thrown off due to the volume of exhibits. Draft
                        emails to JMM and Mark Sugerman. Review filings.

 4/14/2021    9:07 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00            0.6      $90.00 Paralegal                                           0.6

                        Review filed motin opposition papers


 4/19/2021    5:10 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00            4.7     $705.00 Paralegal                                           5.6

                        Index P's Motion Exhibits in accordance with #'s filing on Docket in preparation for amended motion papers reflecting pinpoint citations. Decipher problem with citations in legal papers
                        not matching filed documents' docket entry numbers. Emails to/from Lori Stelzer regarding last public record request, check status of payment request, review COV time frame to
                        respond to public record requests adn email JMM; confirm authority to proceed with project with JMM.

 4/21/2021    4:04 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          4.22      $633.00 Paralegal                                          4.22

                        revise Motion for Summary Judgment Oppostion papers to correct citations to the record as filed due to ECF jumping docket entry numbers because of file size limitations throwing off
                        the citations.

 4/24/2021   10:06 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00              4     $600.00 Paralegal                                             4

                        Continue amendment t MSJ opposition papers to include updated citations to the record as filed on ECF. Amend Statement of disputed facts.


 4/25/2021    8:24 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00            4.2     $630.00 Paralegal                                           4.2

                        Continue preparation of citations to the record in Amended Stmt of facts and MOL in opp to MSJ.


 4/26/2021    9:25 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00         10.05    $1,507.50 Paralegal                                          0.05

                        Continue preparation of final drafts of Plaintiff's Opposition to Def. Motion for Summary Judgment. Review and add pinpoint citations using amended index. Revise Stmt of disputed
                        facts. Hostile work envoronment Gregoire; motel 6 undue force; smiley fact bullett to head, criminal mischief;



                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000039
Monday, March 7, 2022                                                                               TrialWorks                                                                                          Page 23 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 42 of 223 PageID 5138
                    Case Name                                                               Hourly                                                                            Hours Billable                     Billed
     Date      Time Explanation                                     User                      Rate        Hours Amount Task Code                       Activity Code          Worked Time Billed                  Date
 4/28/2021    4:39 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          6.75    $1,012.50 Paralegal                                           6.75

                        Review final amended Oposition to defendant's amended motion for summary judgment and statement of disputed facts. Review court docket sheet. Organize files for Motions,
                        Discovery; Notes; Depositions; Court Docket Entries; draft "to do" list, discussion with JMM for upcoming tasks.

  5/3/2021   11:05 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.15        $22.50 Paralegal                                          0.15

                        draft, review and mail Lisa Jannay ltr w certification and sase


  5/5/2021    9:11 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00          3.05    $1,220.00 Fee/J. Mack                                         3.05
                                                                    Majka
                        T/C w client re not given time to complete THI reports. First day back, light duty. He's not given admin. time to complete THI reports and wants to make a complaint against Chappa
                        and Quick. Short is now on the squad and in the station, Chappa gave him time off the road to complete his THI reports. Chappa told him not to log in. They are paid separately for
                        THI and report prep time. KW is denied time to do his. His reports came out in Feb and he still hasn't finished them because not given time. Also he asked for training class for
                        advanced THI. July class is booked and he asked for June class. He's waiting to see what Chappa says. Discussion regarding Chappa changing KW's time sheet and reworking
                        what was already done. Discuss with JMM and prepare draft email to Mattmuller, Chappa and legal counsel.

  5/5/2021    1:15 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            3.3     $495.00 Paralegal                                             3.3

                        T/C with Webb regarding THI reports: not being given time to prepare his required reports but Short was given time today to work on his THI reports by Chappa. Short was reassigned
                        to Webb's squad. Chappa denied KW request because of staffing issues but Short is pulled from working the road to do his reports. THI came out in Feb and Webb hasn't finished his
                        reqports. also asked for Advanced THI training . Denied 2 times. Also, Chappa reworked the wording on his time sheets. Draft email to MM Chappa and legal counsel, send to JMM.
                        Discussion w JMM; emails JMM/KW

 5/19/2021    9:59 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            0.3       $45.00 Paralegal                                            0.3

                        Tele call with Kenite re status. Prepare email with Plaintiff's motion opposition and Defendant's further support.


 5/19/2021    4:21 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          1.27      $190.50 Paralegal                                           1.27

                        E-Mail client with initial opposition papers and amended opposition to defendant's motion for summary judgment. Tele w client w comments/ explanations; review docket for trial date,
                        and pretrial hearing. email Jax.

 5/19/2021    4:59 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.75      $112.50 Paralegal                                           0.75

                        Local Rule 3.06: draft tasks for Pretrial Conf. Email Jaq. check July Trial term; calculate due date for joint pretrial stmt. draft email to adversary w dates for compliance with pretrial
                        tasks. review local rules for requirements for parties' joint pretrial statement.

 5/24/2021    1:02 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            3.8     $570.00 Paralegal                                             3.8

                        Review Defendant's Draft Pretrial Joint Statement. Draft Plaintiff's version of Joint Pretrial Statement. Review samples. Review Local Rule requirements. Review discovery items,
                        review motion for summary judgment. email Jacqulyn

 5/25/2021    2:05 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00              1     $400.00 Fee/J. Mack                                             1
                                                                    Majka
                        prepare for and attend Pre Trial conference meeting with Mark Sugerman via Zoom




                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000040
Monday, March 7, 2022                                                                                 TrialWorks                                                                                            Page 24 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 43 of 223 PageID 5139
                    Case Name                                                              Hourly                                                                        Hours Billable                   Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                     Activity Code         Worked Time Billed                Date
 5/26/2021   11:54 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           5.1      $765.00 Paralegal                                        5.1

                        Review COV 119 production from 5-24-21 and compile notes/summary. Prepare draft summary of anticipated testimony for trial witnesses for JPT Stmt and make chart of witnesses,
                        issues and documents for trial prep.

  6/2/2021    9:31 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           6.4      $960.00 Paralegal                                        0.1

                        Review emails w defense counsel re Joint Pretrial Statement; review defendant's draft ; review adjournment of Pretrial conference from 6-9-21 to 7-21-21; trial reset for 7-26-21 term;
                        calendar dates; email client with updates; continue witnesses and exhibits; provide plaintiff's comments to defendant's draft, email Jacq.

  6/7/2021    9:48 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          1.75      $262.50 Paralegal                                       1.75

                        draft Request for Judicial Notice of USA v Venice (Williamson) with attachments; review Fed R Evid 201; review new medical records from Webb's April 2021 Sarasota Memorial
                        Hospital records;

  6/7/2021    2:32 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.1       $15.00 Paralegal                                        0.1

                        Review hospital records from Sarasota Memorial regarding infected heart device and admission April 1-6, 2021; scan, bates stamp


  6/7/2021    2:37 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.6       $90.00 Paralegal                                        0.6

                        Review of Medical Records Request - 10913.docx.


  6/9/2021   11:49 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.35       $52.50 Paralegal                                       0.35

                        draft email to Karen Downs re Dr. McAllister on KW; authorization provided; foward email sent earlier to Dr. re: trial;


  6/9/2021    9:03 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           0.5      $200.00 Fee/J. Mack                                       0.5
                                                                   Majka
                        Review of notice of service of expert ROGS - 4282.docx.


  6/9/2021    9:12 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           5.2      $780.00 Paralegal                                        5.2

                        Follow up email to JMM on response to confirm status of latest public records request from Lori Stelzer. Review medical records; emails to Dr. McAllister; tele w office manager Karen;
                        compose email to Karen. review discovery for medical records exchanged. V/M Lisa Jennay; draft Plaintiff's Second Supplemental Response to defendant's first request for production
                        of documents; review Sarasota memorial Hospital records; organize and label files

 6/14/2021   10:38 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.27      $108.00 Fee/J. Mack                                     0.27
                                                                   Majka
                        T/C Lisa Jannay re KW; trial prep; witness; records.


 6/16/2021    1:40 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.2       $30.00 Paralegal                                        0.2

                        review eservice email with new trial dates in KW v COV.


 6/21/2021   10:41 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.15       $22.50 Paralegal                                       0.15

                        email KW re: Lisa Jannay and expenses. preapproval for quick tele conf. requested
                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000041
Monday, March 7, 2022                                                                                TrialWorks                                                                                       Page 25 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 44 of 223 PageID 5140
                    Case Name                                                             Hourly                                                                         Hours Billable                  Billed
     Date      Time Explanation                                   User                      Rate        Hours Amount Task Code                      Activity Code        Worked Time Billed               Date
 6/21/2021   10:45 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          0.09       $13.50 Paralegal                                         0.09

                        Email client re Lisa Lannay expenses for conference re trial and treatment


 6/21/2021   11:33 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00           0.3       $45.00 Paralegal                                          0.3

                        t/c KW; re COV training video buffering; Hooters claim brought by black female terminated on basis of haristyle being blond; audience reaction is laughter and making light of
                        discriminaiton; client characterizes segment as inappropriate and laughable; s/w Chappa about audio problems, who confirmed it was by all viewers, email to JMM w summary

 7/12/2021    2:28 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          0.09       $13.50 Paralegal                                         0.09

                        email KW re training video info 2021


 7/14/2021    3:31 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          0.25       $37.50 Paralegal                                         0.25

                        Email to KW re training segment;


 7/16/2021    9:37 AM Webb, Kenite vs. EEOC - VPD 19              Kerry E. Mack           $450.00             1     $450.00 Fee/K.Mack                                            1

                        Review Plaintiff’s First Request for Admissions and Defendant’s Reply


 7/19/2021    9:27 AM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00           0.5       $75.00 Paralegal                                          0.5

                        watch training segment by COV for 2021 training on emp. discrim. review JMM email to Louis Whitsett re harassment training segment taught by Mark Levitt


 7/20/2021    9:38 AM Webb, Kenite vs. EEOC - VPD 19              Kerry E. Mack           $450.00           2.5    $1,125.00 Fee/K.Mack                                         2.5

                        Trial Preparation: Review Motion and Response re: Def. Motion for Summary Judgment


 7/21/2021    1:44 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00           1.7     $255.00 Paralegal                                           1.7

                        email to JMM; memo on ethical issues against COV for poorly performing training segment on employment discrimination; implications for violation of settlement terms of Williamson;
                        buffering, and content at issue. Mark involvment is potentially vio of ethics; outside counsel and discrim counselor; advocate in KW case

 7/21/2021    9:39 AM Webb, Kenite vs. EEOC - VPD 19              Kerry E. Mack           $450.00             1     $450.00 Fee/K.Mack                                            1

                        Conference w KW Trial Prep; timeline review. Testimony review


 7/26/2021    3:47 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          1.85     $277.50 Paralegal                                          1.85

                        Continue draft email to Mark Levitt regarding ethical considerations involving dual representation of insurer and insured; witness advocate rule, etc. Review ethics rules,


 8/23/2021   11:18 AM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          0.45       $67.50 Paralegal                                         0.25

                        Client exposed to COVID 19 during response to Marchman Act call on 8/21/21; report on condition, what was done. COV Return to Work plan, Phase 6 from Aug. 17, 2021; discuss w
                        JMM



                                                                                             Exhibits to Plaintiff's First Amended Bill of Costs 000042
Monday, March 7, 2022                                                                                TrialWorks                                                                                       Page 26 of 36
                                  Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 45 of 223 PageID 5141
                    Case Name                                                               Hourly                                                                          Hours Billable                     Billed
     Date      Time Explanation                                        User                   Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                  Date
  9/9/2021    2:16 PM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik         $150.00          0.05        $7.50 Paralegal                                          0.05

                        email re conference scheduling


  9/9/2021    2:00 PM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00             1     $400.00 Fee/J. Mack                                            1
                                                                       Majka
                        Mark Sugarman to call JMM re trial deadlines for lists etc.


  9/9/2021   11:06 PM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00           4.6   $1,840.00 Fee/J. Mack                                          4.6
                                                                       Majka
                        prepare initial exhibibt list


 9/20/2021    9:03 AM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik         $150.00          0.15       $22.50 Paralegal                                          0.15

                        review email JMM 11th Cir prior notice that conduct is unconstitutional Hope v Pelzer; 2002


 9/22/2021    5:07 PM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik         $150.00          6.63     $994.50 Paralegal                                           6.63

                        send email w JS start of trial witness list in Webb w adddresses ; review prior list from JMM 9-2-21; review email from JMM re: Bullock note on Gregoire's promotion to Sgt." top
                        candidate by a clear margin" Def.6334; JS email re joint pretrial statement; get started on JPTS, review, drafting

 9/28/2021    6:15 PM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00          6.45   $2,580.00 Fee/J. Mack                                         6.45
                                                                       Majka
                        TRial prep, JPS prep, exhibit list revisions


 9/29/2021    4:05 PM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik         $150.00          0.75     $112.50 Paralegal                                           0.75

                        review draft joint jury instructions and verdict form; and voir dire from defendants; review HH subpoenaes; .


 9/29/2021    5:13 PM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik         $150.00          2.22     $333.00 Paralegal                                           2.22

                        emails by and between P and D re: final joint pretrial statement; justification for Plaitniff's modifications; request for admissions as basis for inserts; D's proposed changes 1-9 5:09
                        pm.; prepare preliminary outline of Motion In Limine and send to JMM.

 9/29/2021    5:59 PM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik         $150.00          7.37   $1,105.50 Paralegal                                           7.37

                        work on Webb's Motion in Limine; zoom w KW; Faith Brown re Bill Long; Kruger ; SR 2021-006; reports KW wrote for others no a problem but if his name is on it, they aren't good
                        enough;joint pretrial statement; legal research on federal rule for hybrid treating physician/expert witness and requirments for trial : not Daubert witness requiring formal report and prior
                        testimony and disclosure as expert under FRCivPRo.

 10/4/2021    4:02 PM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik         $150.00           3.2     $480.00 Paralegal                                            3.2

                        Review and prepare revisions to draft joint verdict form with comments; review case law for elements of proof for claims; send email to JMM w draft




                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000043
Monday, March 7, 2022                                                                                 TrialWorks                                                                                           Page 27 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 46 of 223 PageID 5142
                    Case Name                                                                Hourly                                                                            Hours Billable                     Billed
     Date      Time Explanation                                        User                    Rate       Hours Amount Task Code                         Activity Code         Worked Time Billed                  Date
 10/4/2021    4:51 PM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik          $150.00          4.66      $699.00 Paralegal                                            4.66

                        prepare second draft updated/revised joint jury instructions; review previous version; conduct legal research on components of remaining charges after SJ. notations include citations
                        and reason for modifications; email to JMM for review and comment

 10/4/2021    9:40 AM Webb, Kenite vs. EEOC - VPD 19                   Kerry E. Mack         $450.00              1     $450.00 Fee/K.Mack                                              1

                        Conference w K/W Trial Prep


 10/4/2021    9:41 AM Webb, Kenite vs. EEOC - VPD 19                   Kerry E. Mack         $450.00            2.5   $1,125.00 Fee/K.Mack                                            2.5

                        Trial Preparation: Review Motion and Response re: Def. Motion for Summary Judgment; Order of Court


 10/6/2021    5:45 PM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik          $150.00          7.59    $1,138.50 Paralegal                                            7.59

                        Prepare update and additions to Plaintiff's trial exhibits: locate missing exhibits from HH draft; add to file of trial exhibits; cross reference location in files; review P and D's document
                        production and record for exhibits; review non- documentary evidence files ( body cam footage; audio recordsing in File 11)

 10/6/2021   10:44 AM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-        $400.00            0.5     $200.00 Fee/J. Mack                                           0.5
                                                                       Majka
                        instruct staff to pre trial prep outstanding


10/11/2021    4:35 PM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik          $150.00          7.55    $1,132.50 Paralegal                                            7.55

                        Trial Preparation. draft Plaintiff's Pretrial Memo of Law outline; Jury Trial instructions: review model instructions and defendant's draft; comparison and revisions, and notes from
                        witness and exhibit lists. prepare drafter's notes on proposed revisions; conduct legal research on hostile work environment

10/11/2021    4:17 PM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik          $150.00          6.82    $1,023.00 Paralegal                                            6.82

                        Review email from JMM; review Court's decision and draft pretrial memorandum of law on issues of Defendant's Liability for Hostile Work Environment; vicarious liability, direct liability,
                        facts to support allegations, issue of Webb availing himself of anti-harassment policies and appliable complaint procedures;

10/11/2021    5:31 PM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-        $400.00          1.25      $500.00 Fee/J. Mack                                          1.25
                                                                       Majka
                        instruct staff as to revision to exhibit list and ensure understanding


10/13/2021    4:30 PM Webb, Kenite vs. EEOC - VPD 19                   Kerry E. Mack         $450.00              1     $450.00 Fee/K.Mack                                              1

                        prep and attend phone conference with Dr. McAllister


10/13/2021   10:44 AM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik          $150.00            6.5     $975.00 Paralegal                                             6.5

                        Revisions to Plaintiff's Exhibit list and drafting comments for atty review; review defendants' witness list, proposed jury instructions, voir dire, review submissions, conf. KEM, JMM,


10/18/2021   10:41 AM Webb, Kenite vs. EEOC - VPD 19                   Jacky Skubik          $150.00            1.9     $285.00 Paralegal                                             1.9

                        Review final amended witness and exhibit lists. Review Affidavit of service of trial subpoena on Jamie Hoy. review case emails and update time records

                                                                                                 Exhibits to Plaintiff's First Amended Bill of Costs 000044
Monday, March 7, 2022                                                                                  TrialWorks                                                                                             Page 28 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 47 of 223 PageID 5143
                    Case Name                                                              Hourly                                                                        Hours Billable                    Billed
     Date      Time Explanation                                     User                     Rate      Hours Amount Task Code                       Activity Code        Worked Time Billed                 Date
10/18/2021   12:54 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-        $400.00          2.25      $900.00 Fee/J. Mack                                       2.25
                                                                    Majka
                        Notes Added re pretrial -confidential trial prep


10/20/2021    3:39 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik          $150.00          7.05    $1,057.50 Paralegal                                         7.05

                        Locate missing exhibits for final trial exhibit books; compile witness list with contact information and update TrialWorks entries for witnesses; discussion w JMM; HH; review videos in
                        Binder 11;

 11/3/2021    9:32 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik          $150.00           0.2       $30.00 Paralegal                                          0.2

                        Tele call w/ KW re accusation that KW won't be there long after trial. + Courtney Zach new hire (1 yr ago) complaing about VPD and atmosphere, and told KW about people talking
                        behind his back about him not . Thorpe, hands Leisenring paper while KW speaking with him and is interrupting, KW says "I guess your conversation is more important. "

11/15/2021   12:24 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik          $150.00          0.05        $7.50 Paralegal                                         0.05

                        Review of subpoena duces tecum for trial - 1626 - 1626.docx. Gregoire


11/15/2021    5:00 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik          $150.00          0.25       $37.50 Paralegal                                         0.25

                        email Owen Youngblood, JMM re Smolenski non-served subpoena. Update subpoena and email to Sox for service.


11/17/2021    4:14 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik          $150.00           6.8    $1,020.00 Paralegal                                          6.8

                        Organize/prepare for trial. Breakdown tasks to do. review court decision for what's in and what's out; and organize accordingly. outlines.


11/18/2021    9:42 AM Webb, Kenite vs. EEOC - VPD 19                Kerry E. Mack         $450.00             4    $1,800.00 Fee/K.Mack                                           4

                        Travel to and from Englewood/Tampa for final PreTrial Conference


11/18/2021    9:45 AM Webb, Kenite vs. EEOC - VPD 19                Kerry E. Mack         $450.00             2      $900.00 Fee/K.Mack                                           2

                        Attend and participate in PreTrial Conference with adversary and Judge T.Barber


11/22/2021    2:10 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik          $150.00          0.15       $22.50 Paralegal                                         0.15

                        Email witness list: draft w addresses to JMM.


11/22/2021   10:48 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik          $150.00           6.3      $945.00 Paralegal                                          6.3

                        Discussion with KM. HH. T/C Amy Vicente re schedule. Review of Client - court date time - 11481.docx. draft updated trial schedule letter to witnesses. continue trial outline for
                        witnesses. Discussion with KEM.

11/22/2021   11:47 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-        $400.00          0.75      $300.00 Fee/J. Mack                                       0.75
                                                                    Majka
                        Docket added.
                        May 4, 2020: IAI 2020-001 against KW, w/ recent developments re discipline imposed; Notice of hearing; review SOP 170; SOP 109; SOP 107. Conference with JMM. KW and Ruth;

                                                                                             Exhibits to Plaintiff's First Amended Bill of Costs 000045
                        review VPD docs re; 2020-001 Notice of Predetermination Hearing and Statement of Charges; attached investigation documents.


Monday, March 7, 2022                                                                               TrialWorks                                                                                         Page 29 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 48 of 223 PageID 5144
                    Case Name                                                              Hourly                                                                          Hours Billable                     Billed
     Date      Time Explanation                                    User                      Rate        Hours Amount Task Code                       Activity Code        Worked Time Billed                  Date
11/22/2021   12:47 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.15       $22.50 Fee/paralegal                                      0.15

                        E-Mail Amy Vicente w update trial date ltr and court minutes


11/22/2021    1:34 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.15       $22.50 Paralegal                                          0.15

                        E-Mail Smolenski


11/22/2021    1:52 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.45       $67.50 Paralegal                                          0.05

                        E-Mail from 7-23-21; review issue of training video for 2021 being buffered during play in VPD; complaint to Chappa, officers laughing at example of black Hooters lady beinf fired for
                        blond dyed hair as example of race discrimination; Levitt appearing in video; discussion w/ JMM; chapp reports she was not hampered in comprehension of content and her email to
                        complainers. Offer to have people come and watch video again.

11/24/2021   10:18 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.05        $7.50 Paralegal                                          0.05

                        continue preparation of trial witness examination outlines


11/29/2021    9:47 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.65       $97.50 Paralegal                                          0.65

                        T/C w/ client re case status. discussion with JMM.


 12/6/2021   12:54 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           4.1      $615.00 Paralegal                                           4.1

                        Compare exhibit lists and identify duplictous exhibits listed by both parties. Edit Plaintiff's exhibit list in conformity with Judge's order to pare down exhibits. Cross reference lists to
                        show duplications by cross referencing each party's corresponding exhibit. Prepare draft mark up of Defendant's and Plaintiff's exhibit lists showing duplications of exhibits, discussion
                        w JMM, KEM. Email to JMM and KEM

12/20/2021    1:20 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.4       $60.00 Paralegal                                           0.4

                        Draft motion for KW to bring cell phone to court; review Defendant' s Motion


  1/3/2022    8:58 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.15       $22.50 Paralegal                                          0.15

                        Review of Client - court date time - 11479.docx. Check correspondence to subpoenaed witnesses confirming January trial date.


  1/5/2022    4:00 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             1      $450.00 Fee/K.Mack                                            1

                        Discuss exhibits with JMM and JS in prepartion for teleconf with OC and attend


  1/5/2022    4:10 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          1.75      $700.00 Fee/J. Mack                                        1.75
                                                                   Majka
                        prepare for and attend tele conf with KEM, Mark L and MArc S re trial exhibits




                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000046
Monday, March 7, 2022                                                                                TrialWorks                                                                                           Page 30 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 49 of 223 PageID 5145
                    Case Name                                                               Hourly                                                                          Hours Billable           Billed
     Date      Time Explanation                                     User                      Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed        Date
  1/5/2022    6:05 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00            8.1   $1,215.00 Paralegal                                            8.1

                        Review of MLF Letterhead - 11630.docx. continue correspondence to trial witnesses advising of new court date for trial; email to COV witnesses w new court date; draft subpoenas for
                        additional witnesses Jack Chappa, Creasy, Long, Leinsering. email Marc and Mark re business record certification for McAllister and Jennay. Tele conf. 4:00 with Defense counsel.
                        Revise witness list. Additional supboenas for Morales and Browning, email to process server.

  1/5/2022   11:54 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00           0.15       $60.00 Fee/J. Mack                                       0.15
                                                                    Majka
                        E-Mail client followup on pre trial tasks


 1/10/2022    9:59 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00           7.55   $1,132.50 Paralegal                                          7.55

                        E-Mail / tele w McAllister office; prepare fax, review file. prepare trial witnesss summary with records. review 2d Am. Exhibit list.


 1/12/2022   10:49 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00            3.5     $525.00 Paralegal                                            3.5

                        meet with KEM and JMM for preparation to attend in person final pre trial conference in Tampa. Review timelines, pleadings, RFA , ROGS and deposition desginations with KEM.


 1/12/2022    7:47 PM Webb, Kenite vs. EEOC - VPD 19                Kerry E. Mack          $450.00           2.75   $1,237.50 Fee/K.Mack                                         2.75

                        Review witness and exhibit list, exhibit books, prepare with JMM and JS for final pretrial in morning


 1/12/2022    7:48 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00           2.75   $1,100.00 Fee/J. Mack                                        2.75
                                                                    Majka
                        meet KEM prepare for Final PTC tommorrow. review of Lists, returns of service, speak with witnesses.


 1/13/2022    7:45 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00              6   $2,400.00 Fee/J. Mack                                            6
                                                                    Majka
                        roundtrip travel to Tampa from Englwood to atttend Final PTC


 1/13/2022    7:46 PM Webb, Kenite vs. EEOC - VPD 19                Kerry E. Mack          $450.00              6   $2,700.00 Fee/K.Mack                                             6

                        roundtrip to/from Englewood /Tampa attend Final Pre-Trial Conference


 1/17/2022    5:57 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00              8   $1,200.00 Paralegal                                              8

                        Review recorded conversations w jamie Hoy + Jessica chappa. REview discovery materials and sort by witness for trial. create and populate folders and cross reference exhibits.


 1/19/2022    5:35 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00            5.6     $840.00 Paralegal                                            5.6

                        Continue trial preparation including trial witness' direct examination outlines and trial exhibits; summaries of points needed to establish elements of claim;




                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000047
Monday, March 7, 2022                                                                                TrialWorks                                                                                  Page 31 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 50 of 223 PageID 5146
                    Case Name                                                              Hourly                                                                          Hours Billable                     Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                  Date
 1/24/2022    5:03 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          7.69    $3,076.00 Fee/J. Mack                                        7.69
                                                                   Majka
                        continue trial preparation including witness summaries for KEM, review incidents with client plaintiff's trial evidence, Kuchar and Brett at Jetty saw graffitti, review conversation and
                        events w/ client; confirm pix sent to Chappa on her phone for support for trial exhibit coming in; closed out event w/ CAD note cant find it; discuss Leisnring fight in training KW declined
                        to fight Gregoire because of animosity but all supervisors were there to watch

 1/24/2022   11:15 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.15       $22.50 Paralegal                                          0.05

                        discussion with JMM ; email McAllister business records with certification to Marc and Mark,


 1/25/2022   10:25 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $450.00           1.5      $675.00 Fee/J. Mack                                         1.5
                                                                   Majka
                        attend final pre trial conference in person in Tampa


 1/25/2022   10:21 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             1      $450.00 Fee/K.Mack                                            1

                        prepare for and attend PreTRial conference with Court via phone informed trial delayed one week.


 1/25/2022    4:05 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00           1.5      $675.00 Fee/K.Mack                                          1.5

                        conference call with Dr. McAllister


 1/26/2022   10:20 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00           2.5    $1,125.00 Fee/K.Mack                                          2.5

                        trial prep one on one with KW; review incidents and documents, testimony


 1/26/2022    9:58 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.1       $15.00 Paralegal                                           0.1

                        Review emails regarding scheduling and trial tasks. Prepare correspondence for trial witnesses for new court date., draft supplemental response to request to produce with photos.


 1/26/2022   10:33 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.15       $22.50 Paralegal                                          0.15

                        E-Mail to JMM and KEM with summaries for todays trial prep


 1/26/2022   10:56 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          9.65    $1,447.50 Paralegal                                          9.65

                        E-Mail Vicente, and city employees; snail mail Jannay as trial witnesses with new trial date and instructions. emails; prepare Plaintiff's third supplemental response to request for
                        production; revise trial exhibit list; continue trial preparation

 1/27/2022   10:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           1.5      $600.00 Fee/J. Mack                                         1.5
                                                                   Majka
                        attend in person final pretrial conference n Tampa


 1/27/2022   10:22 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             4    $1,600.00 Fee/J. Mack                                           4
                                                                   Majka
                        travel time from Englewood to TAmpa to attend FInal Final PTC in person.
                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000048
Monday, March 7, 2022                                                                                TrialWorks                                                                                          Page 32 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 51 of 223 PageID 5147
                    Case Name                                                               Hourly                                                                      Hours Billable                   Billed
     Date      Time Explanation                                    User                       Rate        Hours Amount Task Code                  Activity Code         Worked Time Billed                Date
 1/27/2022   10:23 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00              4   $1,800.00 Fee/K.Mack                                        4

                        travel tie Englewood to Tampa for last final pre-trial conference in person.


 1/28/2022   10:18 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            5.5   $2,475.00 Fee/K.Mack                                       5.5

                        Review case summaries, summaries of doc production in excess of 11,400 pages; timeline of case events and witness outlines.


 1/28/2022    9:58 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            7.5   $1,125.00 Fee/paralegal                                    7.5

                        assist with exhbit book preparation


 1/29/2022   11:30 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00              1     $400.00 Fee/J. Mack                                       1
                                                                   Majka
                        prepare for and attend phone conference with OC re witnesss lineup trial prep etc


 1/31/2022    9:06 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           6.75   $1,012.50 Paralegal                                      6.75

                        review email from KEM; review Ct's PTO 1-28-21; prepare Webb's Rule 1006 Fed. R. Ev summary of Personnel File. Revise draft final witness list; revise draft final exhibit list; review
                        status of trial books. Conf w KEM re witnesses. Tele Witness Vicente

  2/1/2022    5:15 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           3.75   $1,500.00 Fee/J. Mack                                    3.75
                                                                   Majka
                        prepare and serve deposition desigations for Matttmuller, 30(b)(6) and Lavallee transcripts


  2/2/2022   10:28 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.25      $37.50 Paralegal                                      0.25

                        possible list of events to include in subsequent EEOC filing.


  2/2/2022    1:05 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.42   $1,113.00 Paralegal                                      7.42

                        Trial preparation. REview transcript designations for Mattmuller, Lavallee and Bullock and comment regarding scope. summary for JMM. Review motion to strike plaintiff's
                        designations. client discussion. witness summaries; trial exhibits;

  2/5/2022   12:52 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00            6.5   $2,600.00 Fee/J. Mack                                    0.05
                                                                   Majka
                        final trial prep, including confirmating staff assembled correct file documents and reviewing each exhibit folder.


  2/6/2022    9:47 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00              2     $900.00 Fee/K.Mack                                        2

                        Review deposition transcript of City Manager Edward Lavallee


  2/6/2022    4:13 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00            1.5     $600.00 Fee/J. Mack                                      1.5
                                                                   Majka
                        Travel to St. Pete night before trial

                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000049
Monday, March 7, 2022                                                                                  TrialWorks                                                                                    Page 33 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 52 of 223 PageID 5148
                   Case Name                                                               Hourly                                                                    Hours Billable       Billed
     Date     Time Explanation                                     User                      Rate       Hours Amount Task Code                       Activity Code   Worked Time Billed    Date
  2/6/2022   4:13 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00           1.5     $600.00 Fee/J. Mack                                 1.5
                                                                   Majka
                        travel to St. Pete day before trial


  2/6/2022   7:26 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00          3.75   $1,500.00 Fee/J. Mack                                3.75
                                                                   Majka
                        review all depositions and pleadings, order, bench memo exhibit books for trial prep


  2/7/2022   9:29 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00          10.5   $4,200.00 Fee/J. Mack                                10.5
                                                                   Majka
                        attend jury trial, travel to/from St. Petersburg to Tampa FEderal Courthouse.


  2/7/2022   7:15 PM Webb, Kenite vs. EEOC - VPD 19                Kerry E. Mack           $450.00           8.5   $3,825.00 Fee/K.Mack                                  8.5

                        travel to/from St. Pete to Tampa attend trial day#2


  2/8/2022   9:30 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00          10.5   $4,200.00 Fee/J. Mack                                10.5
                                                                   Majka
                        review Monday's notes, prepare for day 2, travel to/from St.Petersburg to Tampa.


  2/8/2022   9:31 AM Webb, Kenite vs. EEOC - VPD 19                Kerry E. Mack           $450.00          10.5   $4,725.00 Fee/K.Mack                                 10.5

                        review days 1 notes, prepare for day 2, travel to/from St. Petersburg to Federal Court Tampa


  2/9/2022   9:32 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00          10.5   $4,200.00 Fee/J. Mack                                10.5
                                                                   Majka
                        review notes days 1-2, prepare for day 3, travel to/from St. Petersburg to Tampa.


  2/9/2022   7:18 PM Webb, Kenite vs. EEOC - VPD 19                Kerry E. Mack           $450.00          10.5   $4,725.00 Fee/K.Mack                                 10.5

                        travel to/from St. Pete /Tampa attend trial day 3
                        /pre-trial prep

 2/10/2022   4:29 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-          $400.00             4   $1,600.00 Fee/K.Mack                                   4
                                                                   Majka
                        prep for day four (early a.m.) prepare for DV motion and closing


 2/10/2022   7:31 PM Webb, Kenite vs. EEOC - VPD 19                Kerry E. Mack           $450.00          10.5   $4,725.00 Fee/K.Mack                                 10.5

                        prepare and attend day four of trial, prepare closing argument & review jury instructions and verdict; travel to/from St. pete /Tampa




                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000050
Monday, March 7, 2022                                                                                TrialWorks                                                                       Page 34 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 53 of 223 PageID 5149
                    Case Name                                                               Hourly                                                                      Hours Billable                    Billed
     Date      Time Explanation                                     User                      Rate       Hours Amount Task Code                        Activity Code    Worked Time Billed                 Date
 2/11/2022    7:28 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00            8.5   $3,400.00 Fee/J. Mack                                      8.5
                                                                    Majka
                        attend trial day 5 await jury verdict


 2/11/2022    7:32 PM Webb, Kenite vs. EEOC - VPD 19                Kerry E. Mack          $450.00            8.5   $3,825.00 Fee/K.Mack                                       8.5

                        travel to/from St.Pete/Tampa await jury verdict discuss implications with client advise to be very aware at work post trial.


 2/16/2022   11:36 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00            6.3   $2,520.00 Fee/J. Mack                                      6.3
                                                                    Majka
                        Legal Research on award of attorney fees and costs to prevailing party in employment action under Title VII; Review rule 54, FRCP, Judgment and Costs, Summary of time records
                        spent on KW case. discussion w JMM re award of legal fees; prepare summary ; pull form AO 133 Bill of Costs, review Rule 54 F.R. Civ Pro. ; Review Adjusted Laffey Matrix for rates;
                        Review Fitzpatrick Matrix in cases from DC Cir. for rates; research 2022 prevailing rate for attorneys and paralegals; Review loadstar calculation requirements, research prevailing atty
                        fee rates for Tampa; prepare memo to file, email to attys.



 2/16/2022    4:50 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00            0.5       $75.00 Paralegal                                      0.15

                        draft and file w/ COV Public Record Request for correspondence and communications including but not limited to legal fees for COV in Webb v COV. discuss w JMM; review prior
                        PRRs for format;

 2/16/2022    5:33 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00          0.05         $7.50 Paralegal                                      0.05

                        Review of Public Records Request - Chapter 119 - 11754.docx.


 2/16/2022    5:33 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00          0.25      $100.00 Fee/J. Mack                                     0.25
                                                                    Majka
                        Review of Public Records Request - Chapter 119 - 11754.docx.


 2/16/2022    5:47 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00          0.05         $7.50 Paralegal                                      0.05

                        email re PRR for legal fees in Webb actions w COV


 2/21/2022   12:39 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00          2.25      $900.00 Fee/J. Mack                                     2.25
                                                                    Majka
                        review billing and expenses for all files


 2/21/2022    5:04 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00          0.89      $133.50 Paralegal                                       0.89

                        Research process for entry of Judment: who prepares it? how do legal fees get taxed to loosing party; check court docket for entry of judgment, court forms for Judgment and Bill of
                        Costs; discussion with JMM and KEM; email staff ; tele Sonya Chambers left V/M.

 2/22/2022   12:11 PM Webb, Kenite vs. EEOC - VPD 19                Kerry E. Mack          $450.00          1.15      $517.50 Fee/K.Mack                                      1.15

                        review and discuss research results with JS and give instruction


                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000051
Monday, March 7, 2022                                                                                TrialWorks                                                                                       Page 35 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 54 of 223 PageID 5150
                    Case Name                                                               Hourly                                                                         Hours Billable       Billed
     Date      Time Explanation                                    User                       Rate       Hours Amount Task Code                       Activity Code        Worked Time Billed    Date
 2/23/2022    4:29 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             2.5     $375.00 Paralegal                                       2.5

                        Re: costs and fees, tele w MD clerk; review KEM notes; create time sheet for motion for fees; review file notes and update JS time records;


 2/28/2022    4:05 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            3.69     $553.50 Paralegal                                      3.69

                        review time records for costs + fees application for Title VII in emails; trialworks; file notes; time records ; discussion JMM; discussion KEM;


  3/1/2022   11:17 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00            2.75    $1,100.00 Fee/J. Mack                                   2.75
                                                                   Majka
                        research and prepare Affidavit of Fees by Partner, Affidavit of Costs by paralegal.


  3/5/2022   10:17 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             2.5    $1,125.00 Fee/K.Mack                                     2.5

                        REview time entries for accuracy and assit with preparing fee motion and bill of costs


  3/7/2022    9:47 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00               8    $3,200.00 Fee/J. Mack                                    10
                                                                   Majka
                        Finalize Bill of Costs and exhibits, prepare AFfidavits of JMM and HH


  3/7/2022   10:47 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00            0.15      $60.00 Fee/J. Mack                                    0.15
                                                                   Majka
                        email to from OC re depo scheduling



                     Total Hours Worked:                  1,280.88             Total Billable Hours:                 1,241.31           Total Billable Amount:               $296,011.50




                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000052
Monday, March 7, 2022                                                                                TrialWorks                                                                             Page 36 of 36
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 55 of 223 PageID 5151
TimeKeeper Manager Report
                   Case Name                                                                 Hourly                                                                     Hours Billable        Billed
     Date     Time Explanation                                      User                       Rate       Hours Amount Task Code                        Activity Code   Worked Time Billed     Date
12/13/2019   1:43 PM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00           0.05       $22.50 Fee/K.Mack                                 0.05

                        Review of Summons - 9254.docx.


 5/18/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00            2.5   $1,125.00 Fee/K.Mack                                   2.5

                        conf w John Majka regarding witness testimony and observations


 3/14/2021   9:36 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              2     $900.00 Fee/K.Mack                                    2

                        Review Plaintiff’s Response to Defendant’s First Set of Interrogatories to Plaintiff; Initial Disclosures by Plaintiff and Defendant


  4/2/2021   5:11 PM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00           0.25     $112.50 Fee/K.Mack                                  0.25

                        Preparation of HIPPA


 7/16/2021   9:37 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              1     $450.00 Fee/K.Mack                                    1

                        Review Plaintiff’s First Request for Admissions and Defendant’s Reply


 7/20/2021   9:38 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00            2.5   $1,125.00 Fee/K.Mack                                   2.5

                        Trial Preparation: Review Motion and Response re: Def. Motion for Summary Judgment


 7/21/2021   9:39 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              1     $450.00 Fee/K.Mack                                    1

                        Conference w KW Trial Prep; timeline review. Testimony review


 10/4/2021   9:40 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              1     $450.00 Fee/K.Mack                                    1

                        Conference w K/W Trial Prep


 10/4/2021   9:41 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00            2.5   $1,125.00 Fee/K.Mack                                   2.5

                        Trial Preparation: Review Motion and Response re: Def. Motion for Summary Judgment; Order of Court


10/13/2021   4:30 PM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              1     $450.00 Fee/K.Mack                                    1

                        prep and attend phone conference with Dr. McAllister


11/18/2021   9:42 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              4   $1,800.00 Fee/K.Mack                                    4

                        Travel to and from Englewood/Tampa for final PreTrial Conference

                                                                                                Exhibits to Plaintiff's First Amended Bill of Costs 000053
Monday, March 7, 2022                                                                                 TrialWorks                                                                             Page 1 of 3
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 56 of 223 PageID 5152
                    Case Name                                                               Hourly                                                           Hours Billable        Billed
     Date      Time Explanation                                    User                       Rate        Hours Amount Task Code             Activity Code   Worked Time Billed     Date
11/18/2021    9:45 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             2     $900.00 Fee/K.Mack                           2

                        Attend and participate in PreTrial Conference with adversary and Judge T.Barber


  1/5/2022    4:00 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             1     $450.00 Fee/K.Mack                           1

                        Discuss exhibits with JMM and JS in prepartion for teleconf with OC and attend


 1/12/2022    7:47 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00           2.75   $1,237.50 Fee/K.Mack                        2.75

                        Review witness and exhibit list, exhibit books, prepare with JMM and JS for final pretrial in morning


 1/13/2022    7:46 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             6    $2,700.00 Fee/K.Mack                          6

                        roundtrip to/from Englewood /Tampa attend Final Pre-Trial Conference


 1/25/2022   10:21 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             1     $450.00 Fee/K.Mack                           1

                        prepare for and attend PreTRial conference with Court via phone informed trial delayed one week.


 1/25/2022    4:05 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            1.5    $675.00 Fee/K.Mack                          1.5

                        conference call with Dr. McAllister


 1/26/2022   10:20 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            2.5   $1,125.00 Fee/K.Mack                         2.5

                        trial prep one on one with KW; review incidents and documents, testimony


 1/27/2022   10:23 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             4    $1,800.00 Fee/K.Mack                          4

                        travel tie Englewood to Tampa for last final pre-trial conference in person.


 1/28/2022   10:18 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            5.5   $2,475.00 Fee/K.Mack                         5.5

                        Review case summaries, summaries of doc production in excess of 11,400 pages; timeline of case events and witness outlines.


  2/6/2022    9:47 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             2     $900.00 Fee/K.Mack                           2

                        Review deposition transcript of City Manager Edward Lavallee


  2/7/2022    7:15 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            8.5   $3,825.00 Fee/K.Mack                         8.5

                        travel to/from St. Pete to Tampa attend trial day#2


  2/8/2022    9:31 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00           10.5   $4,725.00 Fee/K.Mack                        10.5

                        review days 1 notes, prepare for day 2, travel to/from St. Petersburg to Federal Court Tampa

                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000054
Monday, March 7, 2022                                                                                  TrialWorks                                                                 Page 2 of 3
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 57 of 223 PageID 5153
                    Case Name                                                               Hourly                                                                     Hours Billable        Billed
     Date      Time Explanation                                    User                       Rate       Hours Amount Task Code                        Activity Code   Worked Time Billed     Date
  2/9/2022    7:18 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00          10.5    $4,725.00 Fee/K.Mack                                  10.5

                        travel to/from St. Pete /Tampa attend trial day 3
                        /pre-trial prep

 2/10/2022    7:31 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00          10.5    $4,725.00 Fee/K.Mack                                  10.5

                        prepare and attend day four of trial, prepare closing argument & review jury instructions and verdict; travel to/from St. pete /Tampa


 2/11/2022    7:32 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            8.5   $3,825.00 Fee/K.Mack                                   8.5

                        travel to/from St.Pete/Tampa await jury verdict discuss implications with client advise to be very aware at work post trial.


 2/22/2022   12:11 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00          1.15      $517.50 Fee/K.Mack                                  1.15

                        review and discuss research results with JS and give instruction


  3/5/2022   10:17 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            2.5   $1,125.00 Fee/K.Mack                                   2.5

                        REview time entries for accuracy and assit with preparing fee motion and bill of costs



                     Total Hours Worked:                     98.20             Total Billable Hours:                  98.20             Total Billable Amount:            $44,190.00




                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000055
Monday, March 7, 2022                                                                                TrialWorks                                                                             Page 3 of 3
                                Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 58 of 223 PageID 5154
TimeKeeper Manager Report
                   Case Name                                                            Hourly                                                              Hours Billable         Billed
     Date     Time Explanation                                   User                     Rate       Hours Amount Task Code                 Activity Code   Worked Time Billed      Date
 5/10/2018   8:05 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00            5    $2,000.00 Fee/J. Mack                            5
                                                                 Majka
                        prepare for and attend VPD IA interrogation with KW in Venice


 5/10/2018   8:05 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00           2.5   $1,000.00 Fee/J. Mack                           2.5
                                                                 Majka
                        Client meeting regarding Hoy IA and background


 5/21/2018   4:03 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         2.65    $1,060.00 Fee/J. Mack                            3
                                                                 Majka
                        MEet with Kenite at MLF review Hoy interrogation, Call hoy twice, discuss conversation with Hoy and steps forward


  6/5/2018   9:36 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00           0.5    $200.00 Fee/J. Mack                            0.5
                                                                 Majka
                        phone conference with KW re updates to Hoy IA


 6/19/2018   3:37 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         2.15     $860.00 Fee/J. Mack                            2.5
                                                                 Majka
                        meet with KW re continuing harrassement at work and prepare complaints to Chief and LaVallee


 6/19/2018   9:36 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         2.75    $1,100.00 Fee/J. Mack                            4
                                                                 Majka
                        In office meeting with KW re VPD and IA/SR cases. Discussed ongoing harassment and prepare for grievance process.


 7/11/2018   9:39 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         2.75    $1,100.00 Fee/J. Mack                            3
                                                                 Majka
                        meet in office with client reVPD IA /SR ongoing harrassment.


 7/31/2018   4:00 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00            2     $800.00 Fee/J. Mack                             2
                                                                 Majka
                        prep with KW & CL for 8/6/18 meeting at VPD


 8/16/2018   7:52 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         0.75     $300.00 Fee/J. Mack                           0.75
                                                                 Majka
                        Discussion with Carrington Lewis regarding the upcoming meeting with the Chief and FOP reps and prepareation for same.



                                                                                           Exhibits to Plaintiff's First Amended Bill of Costs 000056
Monday, March 7, 2022                                                                             TrialWorks                                                                     Page 1 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 59 of 223 PageID 5155
                   Case Name                                                             Hourly                                                           Hours Billable         Billed
     Date     Time Explanation                                    User                     Rate       Hours Amount Task Code              Activity Code   Worked Time Billed      Date
 10/9/2018   8:06 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            2.5   $1,000.00 Fee/J. Mack                       2.5
                                                                  Majka
                        Client meeting to explain upcoming Inquiry process


10/15/2018   7:58 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            4.5   $1,800.00 Fee/J. Mack                       4.5
                                                                  Majka
                        travel to/from Englewood/Tampa to attend EEOC Inquiry with client.


10/15/2018   8:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            1.5    $600.00 Fee/J. Mack                        1.5
                                                                  Majka
                        Review draft charge, discuss with KW and respond to EEO investigator Scott Kelley


10/31/2018   8:01 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            0.5    $200.00 Fee/J. Mack                        0.5
                                                                  Majka
                        REvised draft Charge rec'd from client, reviewed and sent to Kelley


  2/7/2019   9:21 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00         2.75     $1,100.00 Fee/J. Mack                      2.75
                                                                  Majka
                        REview COV position statement, research claims, discuss with client


 2/14/2019   8:08 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00         1.25      $500.00 Fee/J. Mack                       1.25
                                                                  Majka
                        client meeting re Ch 119 records re Creasy and comprison difference in treatment.


 3/11/2019   9:22 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00         1.25      $500.00 Fee/J. Mack                       1.25
                                                                  Majka
                        Review Ch 119 response from COV re Officer Bill Long


 3/14/2019   8:10 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00         0.25      $100.00 Fee/J. Mack                       0.25
                                                                  Majka
                        Obain short extension from EEOC


 3/18/2019   8:13 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00         0.75      $300.00 Fee/J. Mack                       0.75
                                                                  Majka
                        Review Creasy personnel and disciplinary file from Ch 119 response.


 3/25/2019   8:15 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            4.5   $1,800.00 Fee/J. Mack                       4.5
                                                                  Majka
                        resarch and prearpe response to City of Venice Position Statement



                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000057
Monday, March 7, 2022                                                                              TrialWorks                                                                  Page 2 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 60 of 223 PageID 5156
                    Case Name                                                              Hourly                                                                         Hours Billable         Billed
     Date      Time Explanation                                    User                      Rate      Hours Amount Task Code                       Activity Code         Worked Time Billed      Date
 4/25/2019   12:09 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.15       $60.00 Fee/J. Mack                                        0.15
                                                                   Majka
                        email client to check EEOc portal


  6/4/2019    8:02 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          1.25      $500.00 Fee/J. Mack                                        1.25
                                                                   Majka
                        REview add'l Ch 119 response from City re Creasy and defendant Waters and send to Kelley at EEOC


 9/13/2019    8:03 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          2.25      $900.00 Fee/J. Mack                                        2.25
                                                                   Majka
                        REview Right to Sue letter from EEOC, research and review statutory administrative timelines for filing lawsuit and hold conference call with client.


11/19/2019    8:16 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.75      $300.00 Fee/J. Mack                                        0.75
                                                                   Majka
                        Telconfernce ith Dan Tucci ACFSME local rep COV


 12/4/2019    1:28 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          2.34      $936.00 Fee/J. Mack                                        2.34
                                                                   Majka
                        research & prepare draft complaint


12/11/2019    8:18 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          5.75    $2,300.00 Fee/J. Mack                                        5.75
                                                                   Majka
                        Research/Prep/Finalize Complaint and exhibits; file on PACER


12/12/2019   11:15 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $450.00          0.25      $112.50 Fee/J. Mack                                        0.25
                                                                   Majka
                        Preparation of Summons


12/12/2019   11:20 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.25      $100.00 Fee/J. Mack                                        6.35
                                                                   Majka
                        Preparation of Summons


12/30/2019    9:23 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            0.3     $120.00 Fee/J. Mack                                        0.25
                                                                   Majka
                        Email to MArk LEvitt about his issues raised


  2/4/2020    3:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          1.75      $700.00 Fee/J. Mack                                        1.75
                                                                   Majka
                        attend in person case MGt meeting with Levitt at WaWA, Jacaranda Blvd., Venice.



                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000058
Monday, March 7, 2022                                                                               TrialWorks                                                                                 Page 3 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 61 of 223 PageID 5157
                    Case Name                                                             Hourly                                                          Hours Billable         Billed
     Date      Time Explanation                                    User                     Rate       Hours Amount Task Code             Activity Code   Worked Time Billed      Date
 2/10/2020    9:27 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.75    $300.00 Fee/J. Mack                       0.75
                                                                   Majka
                        email and follow up discussion with client about Interesteed Persons Certificate


 2/11/2020    5:36 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00           3.3   $1,320.00 Fee/J. Mack                       3.3
                                                                   Majka
                        research and prepare amended complaint including client meetings


 2/11/2020    5:37 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.25    $100.00 Fee/J. Mack                       0.25
                                                                   Majka
                        Review of Webb-filed complaint-9403.pdf.


 2/12/2020   11:55 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00           0.5    $200.00 Fee/J. Mack                        0.5
                                                                   Majka
                        preapre email to OC re review of draft CMR and position on motion to amend.


 2/28/2020    2:21 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            1     $400.00 Fee/J. Mack                         1
                                                                   Majka
                        review Rule 26 disclosure
                        and certificate of intereested parties

  3/6/2020   11:14 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            9    $3,600.00 Fee/J. Mack                        9
                                                                   Majka
                        research and prepae FAC Motion to Amend and Plaintiff's Initial Disclosures.


  3/9/2020    6:46 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.15     $60.00 Fee/J. Mack                       0.15
                                                                   Majka
                        prepare email to client along with the FAC and Rule 26


 3/16/2020    4:22 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00          0.15     $60.00 Fee/J. Mack                       0.15
                                                                   Majka
                        review email from mediator confirming same sendto client with advice


 3/24/2020    4:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00            2     $800.00 Fee/J. Mack                         2
                                                                   Majka
                        phone conference with KW re: upcoming deadline for disclosures.


  4/1/2020   12:56 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00           1.5    $600.00 Fee/J. Mack                        1.5
                                                                   Majka
                        Review of VPD Records - Bill Long-8570.pdf.


                                                                                             Exhibits to Plaintiff's First Amended Bill of Costs 000059
Monday, March 7, 2022                                                                               TrialWorks                                                                 Page 4 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 62 of 223 PageID 5158
                    Case Name                                                            Hourly                                                                     Hours Billable                  Billed
     Date      Time Explanation                                   User                     Rate       Hours Amount Task Code                   Activity Code        Worked Time Billed               Date
  4/1/2020   12:56 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         1.43    $572.00 Fee/J. Mack                                     2.43
                                                                  Majka
                        research and prepare letter to chief Mattmuller re IA 2020-001


 4/27/2020    9:02 AM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00           7    $2,800.00 Fee/J. Mack                                       7
                                                                  Majka
                        April 28, 2020: Remote work on all-encompassing time line of events relative to case. In office to continue same. Review Creasy’s responsive records from KW’s public record request


  6/2/2020    9:45 AM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00          2.5   $1,000.00 Fee/J. Mack                                       3
                                                                  Majka
                        prep and attend ZOOM confernce with KW re finishing up ROGS and RTP and RFA, inform him of results of informal Pre-D hrg and demanding a Formal Hearing


  6/2/2020   10:36 AM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         0.75    $300.00 Fee/J. Mack                                     0.75
                                                                  Majka
                        prepare Motion for EOT to respond to MTD


  6/8/2020    5:41 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         2.34    $936.00 Fee/J. Mack                                     2.34
                                                                  Majka
                        prepare response to MTD FAC with reated research


  6/9/2020    3:42 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         0.15     $60.00 Fee/J. Mack                                     0.15
                                                                  Majka
                        emal to OC request 2d EOT


 6/12/2020    1:58 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         0.15     $60.00 Fee/J. Mack                                     0.15
                                                                  Majka
                        E-Mail OC re discovery extension due to medical issues


 6/15/2020    6:40 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00         2.54   $1,016.00 Fee/J. Mack                                    2.54
                                                                  Majka
                        research and prep for response to MTD 1983 claim


 6/22/2020   10:38 AM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00          1.2    $480.00 Fee/J. Mack                                     1.25
                                                                  Majka
                        review RFA answers and serve on OC




                                                                                           Exhibits to Plaintiff's First Amended Bill of Costs 000060
Monday, March 7, 2022                                                                              TrialWorks                                                                                    Page 5 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 63 of 223 PageID 5159
                    Case Name                                                              Hourly                                                                    Hours Billable                   Billed
     Date      Time Explanation                                   User                       Rate     Hours Amount Task Code                    Activity Code        Worked Time Billed                Date
 6/24/2020    4:09 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00           2.5   $1,000.00 Fee/J. Mack                                      2.5
                                                                  Majka
                        Tele conference with Mark Levitt, attorney for COV re: dates in Preliminary Conf. Order; initial disclosures; insurance agreement; Covid-19 extension, July 16 evidentiary hearing;
                        continue preparation of document production; tele w Kenite re docs needed for responses; emails w/ outstanding tasks including outstanding interrogatories for review and
                        supplementation; Whittaker contact next week; Matrix Consulting 124 pg. report; Travis Miller VP lead investigator commissioned by City Counsel after Marty Black took office because
                        police complained when to spoke to them after taking office about problems morale, etc.; not following through w/ complaints and investigations of officers; not following consistent
                        polices so KW problems have long history without being corrected; COV policy of deliberate indifference confirmed in Matrix study; obtaining treatment records from Lisa Jennay;
                        School resourse position and email from Babette 3-21-18; MM invite to schedule meeting to discuss position SRO and selection; draft email to Louis Whitsett, EEOC re KW status;
                        email KW w P's Response to 1st Rogs for comment; JMM email; client's timeline.
                        Task Code: Paralegal
                        Billable Hours: 2.50

 6/24/2020    3:24 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00          0.75     $300.00 Fee/J. Mack                                     0.75
                                                                  Majka
                        phone conference with AUSA Whitsett of USDOJ re COV and follow up email to him with attachments.


 6/24/2020    5:26 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00          0.15         $60.00 Fee/J. Mack                                  0.15
                                                                  Majka
                        email client re discovery resposne


 6/26/2020    2:10 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00          0.25     $100.00 Fee/J. Mack                                     0.25
                                                                  Majka
                        email Levitt re issuance of SUB DT for Formal hearing on 7-16-20


 6/30/2020    9:50 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00          1.75     $700.00 Fee/J. Mack                                     1.75
                                                                  Majka
                        phone conference with KW to prep for upcoming Formal evidentary hearing


  7/6/2020    7:33 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00          0.25     $100.00 Fee/J. Mack                                     0.25
                                                                  Majka
                        email client need rx and psych records nad bills, cardiac procedures in 2017 and related Rx.


  7/6/2020   10:44 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00           2.5   $1,000.00 Fee/J. Mack                                      2.5
                                                                  Majka
                        REview all BATES stamped documents to be produced to COV re RTP response and draft of response.


  7/8/2020    5:27 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00          4.76   $1,904.00 Fee/J. Mack                                     4.76
                                                                  Majka
                        finalize review of ROG and RFP responses and document.


  7/9/2020    4:54 PM Webb, Kenite vs. EEOC - VPD 19              Jacqulyn Mack-         $400.00          1.75     $700.00 Fee/J. Mack                                     4.67
                                                                  Majka
                        continued review and edit of draft of response to RFP -upload responsive documents to dropbox, email to/from OC re same
                                                                                            Exhibits to Plaintiff's First Amended Bill of Costs 000061
Monday, March 7, 2022                                                                              TrialWorks                                                                                      Page 6 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 64 of 223 PageID 5160
                    Case Name                                                              Hourly                                                                          Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                 Date
 7/16/2020    9:24 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             8    $3,200.00 Fee/J. Mack                                           8
                                                                   Majka
                        prepare for and attend Formal Evidentiary HEAring at CIty Hall for Snford IA


 7/18/2020    4:02 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           1.5         $600.00 Fee/J. Mack                                      1.5
                                                                   Majka
                        review order on MTD and discuss with client


 7/24/2020    3:19 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             1         $400.00 Fee/J. Mack                                        1
                                                                   Majka
                        review and email final discovery resonses to Defendant


 7/29/2020   10:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             2         $800.00 Fee/J. Mack                                        2
                                                                   Majka
                        prep and attend MTD hearing with Judge TB via ZOOM


  8/5/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           7.5    $3,000.00 Fee/J. Mack                                           8
                                                                   Majka
                        Review COV’s response to public record request and summarize pertinent documents; revise interrogatories; discussion with JS; review summary of damage awards/settlements in
                        discrimination cases; emails re public record requests; drop box for COV response;

  8/7/2020    1:06 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          5.75    $2,300.00 Fee/J. Mack                                        5.75
                                                                   Majka
                        meet with client to finalize RFA and later on a phonce conf with client re: trailing requests.


 8/12/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $100.00          5.75         $575.00 Fee/J. Mack                                        8
                                                                   Majka
                        Continue review of documents received pursuant to Public Doc Rqst, including Webb’s training file, redacted personnel file , disciplinary file, review history of outside investigations
                        conducted of COV departments including VPD by Avery and Associates; and Matrix Consulting; create index to records produced by COV

 8/17/2020    3:46 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.75         $300.00 Fee/J. Mack                                     0.75
                                                                   Majka
                        review Montanez file from 119 request


  9/9/2020    4:29 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.25         $100.00 Fee/J. Mack                                      0.1
                                                                   Majka
                        Preparation of Client - court date time/ phone conf with KW re depos and disciplinary proceedings


 9/10/2020    4:48 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.15          $60.00 Fee/J. Mack                                     0.15
                                                                   Majka
                        review emails re reschedule mediation and respond to OC with request to confirm date.

                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000062
Monday, March 7, 2022                                                                                TrialWorks                                                                                           Page 7 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 65 of 223 PageID 5161
                    Case Name                                                               Hourly                                                                   Hours Billable                    Billed
     Date      Time Explanation                                    User                       Rate       Hours Amount Task Code                 Activity Code        Worked Time Billed                 Date
 9/15/2020    1:33 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           0.15        $60.00 Fee/J. Mack                                0.15
                                                                   Majka
                        review email from mediator Brown and respond with COVID 19 Order


 9/16/2020    9:02 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00               2.5   $1,000.00 Fee/J. Mack                                2.5
                                                                   Majka
                        continue preparation of Mediatioin summary; incorporate information from responses to Interrogatories; review deposition arrangements; pursue client's medical records and
                        outstanding items including possible settlement position.

 9/24/2020    9:51 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           2.75      $1,100.00 Fee/J. Mack                                  3
                                                                   Majka
                        KW at office to prep for upcoming deposition on 10/8/20


 10/8/2020    9:53 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00                8    $3,200.00 Fee/J. Mack                                  8
                                                                   Majka
                        prep for travel to/from and attend Kenite deposition at City Hall on Island Venice


10/28/2020    9:54 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00                9    $3,600.00 Fee/J. Mack                                  9
                                                                   Majka
                        prepar for, travel to/from City Hal, Venice Island for deposition of City Manager Lavallee


 11/3/2020   10:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00                9    $3,600.00 Fee/J. Mack                                  9
                                                                   Majka
                        prepare for, travel to/from City Hall Island of Venice for Chief Mattmuller Deposition


11/12/2020    6:05 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           0.75       $300.00 Fee/J. Mack                                0.75
                                                                   Majka
                        research & draft scope for B6 depo send to OC


11/16/2020    9:57 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00                7    $2,800.00 Fee/J. Mack                                  7
                                                                   Majka
                        prepare for, travel to/from City Hall Island of Venice HR Director Alan Bullock deposition #1


11/18/2020   10:02 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00                6    $2,400.00 Fee/J. Mack                                  6
                                                                   Majka
                        meet with client prepare for medication and attend via Zoom with Deborah Brown.


12/15/2020    4:20 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00                2     $800.00 Fee/J. Mack                                   2
                                                                   Majka
                        continued mediation with Deborah Brown. Unsuccessful disposition


                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000063
Monday, March 7, 2022                                                                                TrialWorks                                                                                      Page 8 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 66 of 223 PageID 5162
                    Case Name                                                              Hourly                                                                     Hours Billable                   Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                   Activity Code        Worked Time Billed                Date
12/21/2020    4:28 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.05        $20.00 Fee/J. Mack                                 0.05
                                                                   Majka
                        Review of Notice of Taking Deposition - 1474.docx.


12/23/2020    3:37 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             4      $1,600.00 Fee/J. Mack                                   4
                                                                   Majka
                        Tele conference w. client about updating damages, recent incidents, EEOC, remote work, banana/cheese thrown at the car.; Chappa covid exposure last Friday and email for tele work
                        home assignment which KW never got; Use of FMLA time instead of work time; Never got raise to $70K; filling Rx . Discussed medical issues as it relates to damages.
                        Mayor received threats via text or email and once reported, it was investigated immediately but KW’s threat was disregarded and no action was taken on his behalf.
                        update case status, review records for updating; outstanding depositions and status. review outstanding items for case to do.

 1/19/2021   10:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             9      $3,600.00 Fee/J. Mack                                   9
                                                                   Majka
                        prepare for, travel to/from City Hall Island of Venice for Alan Bulock deposition #2 (30B6)


 1/29/2021    3:30 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           1.5       $600.00 Fee/J. Mack                                   1.5
                                                                   Majka
                        KW to meet with JMM and KEM via Zoom case strategy session.


  2/8/2021    1:03 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           0.5       $200.00 Fee/J. Mack                                   0.5
                                                                   Majka
                        phone conference with Mark Levitt


  5/5/2021    9:11 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          3.05      $1,220.00 Fee/J. Mack                                3.05
                                                                   Majka
                        T/C w client re not given time to complete THI reports. First day back, light duty. He's not given admin. time to complete THI reports and wants to make a complaint against Chappa
                        and Quick. Short is now on the squad and in the station, Chappa gave him time off the road to complete his THI reports. Chappa told him not to log in. They are paid separately for
                        THI and report prep time. KW is denied time to do his. His reports came out in Feb and he still hasn't finished them because not given time. Also he asked for training class for
                        advanced THI. July class is booked and he asked for June class. He's waiting to see what Chappa says. Discussion regarding Chappa changing KW's time sheet and reworking
                        what was already done. Discuss with JMM and prepare draft email to Mattmuller, Chappa and legal counsel.

 5/25/2021    2:05 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00             1       $400.00 Fee/J. Mack                                    1
                                                                   Majka
                        prepare for and attend Pre Trial conference meeting with Mark Sugerman via Zoom


  6/9/2021    9:03 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00           0.5       $200.00 Fee/J. Mack                                   0.5
                                                                   Majka
                        Review of notice of service of expert ROGS - 4282.docx.


 6/14/2021   10:38 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          0.27       $108.00 Fee/J. Mack                                 0.27
                                                                   Majka
                        T/C Lisa Jannay re KW; trial prep; witness; records.

                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000064
Monday, March 7, 2022                                                                                TrialWorks                                                                                     Page 9 of 13
                                  Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 67 of 223 PageID 5163
                    Case Name                                                               Hourly                                                           Hours Billable                 Billed
     Date      Time Explanation                                        User                   Rate       Hours Amount Task Code            Activity Code     Worked Time Billed              Date
  9/9/2021    2:00 PM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00           1     $400.00 Fee/J. Mack                              1
                                                                       Majka
                        Mark Sugarman to call JMM re trial deadlines for lists etc.


  9/9/2021   11:06 PM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00          4.6   $1,840.00 Fee/J. Mack                            4.6
                                                                       Majka
                        prepare initial exhibibt list


 9/28/2021    6:15 PM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00         6.45   $2,580.00 Fee/J. Mack                          6.45
                                                                       Majka
                        TRial prep, JPS prep, exhibit list revisions


 10/6/2021   10:44 AM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00          0.5    $200.00 Fee/J. Mack                             0.5
                                                                       Majka
                        instruct staff to pre trial prep outstanding


10/11/2021    5:31 PM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00         1.25    $500.00 Fee/J. Mack                           1.25
                                                                       Majka
                        instruct staff as to revision to exhibit list and ensure understanding


10/18/2021   12:54 PM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00         2.25    $900.00 Fee/J. Mack                           2.25
                                                                       Majka
                        Notes Added re pretrial -confidential trial prep


11/22/2021   11:47 AM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00         0.75    $300.00 Fee/J. Mack                           0.75
                                                                       Majka
                        Docket added.
                        May 4, 2020: IAI 2020-001 against KW, w/ recent developments re discipline imposed; Notice of hearing; review SOP 170; SOP 109; SOP 107. Conference with JMM. KW and Ruth;
                        review VPD docs re; 2020-001 Notice of Predetermination Hearing and Statement of Charges; attached investigation documents.

  1/5/2022    4:10 PM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00         1.75    $700.00 Fee/J. Mack                           1.75
                                                                       Majka
                        prepare for and attend tele conf with KEM, Mark L and MArc S re trial exhibits


  1/5/2022   11:54 AM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00         0.15     $60.00 Fee/J. Mack                           0.15
                                                                       Majka
                        E-Mail client followup on pre trial tasks


 1/12/2022    7:48 PM Webb, Kenite vs. EEOC - VPD 19                   Jacqulyn Mack-       $400.00         2.75   $1,100.00 Fee/J. Mack                          2.75
                                                                       Majka
                        meet KEM prepare for Final PTC tommorrow. review of Lists, returns of service, speak with witnesses.

                                                                                                 Exhibits to Plaintiff's First Amended Bill of Costs 000065
Monday, March 7, 2022                                                                                 TrialWorks                                                                         Page 10 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 68 of 223 PageID 5164
                    Case Name                                                               Hourly                                                                         Hours Billable                     Billed
     Date      Time Explanation                                    User                       Rate       Hours Amount Task Code                      Activity Code         Worked Time Billed                  Date
 1/13/2022    7:45 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00              6   $2,400.00 Fee/J. Mack                                           6
                                                                   Majka
                        roundtrip travel to Tampa from Englwood to atttend Final PTC


 1/24/2022    5:03 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          7.69    $3,076.00 Fee/J. Mack                                        7.69
                                                                   Majka
                        continue trial preparation including witness summaries for KEM, review incidents with client plaintiff's trial evidence, Kuchar and Brett at Jetty saw graffitti, review conversation and
                        events w/ client; confirm pix sent to Chappa on her phone for support for trial exhibit coming in; closed out event w/ CAD note cant find it; discuss Leisnring fight in training KW declined
                        to fight Gregoire because of animosity but all supervisors were there to watch

 1/25/2022   10:25 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $450.00            1.5     $675.00 Fee/J. Mack                                         1.5
                                                                   Majka
                        attend final pre trial conference in person in Tampa


 1/27/2022   10:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00            1.5     $600.00 Fee/J. Mack                                         1.5
                                                                   Majka
                        attend in person final pretrial conference n Tampa


 1/27/2022   10:22 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00              4   $1,600.00 Fee/J. Mack                                           4
                                                                   Majka
                        travel time from Englewood to TAmpa to attend FInal Final PTC in person.


 1/29/2022   11:30 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00              1     $400.00 Fee/J. Mack                                           1
                                                                   Majka
                        prepare for and attend phone conference with OC re witnesss lineup trial prep etc


  2/1/2022    5:15 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00          3.75    $1,500.00 Fee/J. Mack                                        3.75
                                                                   Majka
                        prepare and serve deposition desigations for Matttmuller, 30(b)(6) and Lavallee transcripts


  2/5/2022   12:52 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00            6.5   $2,600.00 Fee/J. Mack                                        0.05
                                                                   Majka
                        final trial prep, including confirmating staff assembled correct file documents and reviewing each exhibit folder.


  2/6/2022    4:13 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00            1.5     $600.00 Fee/J. Mack                                         1.5
                                                                   Majka
                        Travel to St. Pete night before trial


  2/6/2022    4:13 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-          $400.00            1.5     $600.00 Fee/J. Mack                                         1.5
                                                                   Majka
                        travel to St. Pete day before trial

                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000066
Monday, March 7, 2022                                                                                TrialWorks                                                                                          Page 11 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 69 of 223 PageID 5165
                    Case Name                                                              Hourly                                                                       Hours Billable                    Billed
     Date      Time Explanation                                     User                     Rate       Hours Amount Task Code                     Activity Code        Worked Time Billed                 Date
  2/6/2022    7:26 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00          3.75   $1,500.00 Fee/J. Mack                                      3.75
                                                                    Majka
                        review all depositions and pleadings, order, bench memo exhibit books for trial prep


  2/7/2022    9:29 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00          10.5   $4,200.00 Fee/J. Mack                                      10.5
                                                                    Majka
                        attend jury trial, travel to/from St. Petersburg to Tampa FEderal Courthouse.


  2/8/2022    9:30 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00          10.5   $4,200.00 Fee/J. Mack                                      10.5
                                                                    Majka
                        review Monday's notes, prepare for day 2, travel to/from St.Petersburg to Tampa.


  2/9/2022    9:32 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00          10.5   $4,200.00 Fee/J. Mack                                      10.5
                                                                    Majka
                        review notes days 1-2, prepare for day 3, travel to/from St. Petersburg to Tampa.


 2/10/2022    4:29 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00             4   $1,600.00 Fee/K.Mack                                          4
                                                                    Majka
                        prep for day four (early a.m.) prepare for DV motion and closing


 2/11/2022    7:28 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00           8.5   $3,400.00 Fee/J. Mack                                       8.5
                                                                    Majka
                        attend trial day 5 await jury verdict


 2/16/2022   11:36 AM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00           6.3   $2,520.00 Fee/J. Mack                                       6.3
                                                                    Majka
                        Legal Research on award of attorney fees and costs to prevailing party in employment action under Title VII; Review rule 54, FRCP, Judgment and Costs, Summary of time records
                        spent on KW case. discussion w JMM re award of legal fees; prepare summary ; pull form AO 133 Bill of Costs, review Rule 54 F.R. Civ Pro. ; Review Adjusted Laffey Matrix for rates;
                        Review Fitzpatrick Matrix in cases from DC Cir. for rates; research 2022 prevailing rate for attorneys and paralegals; Review loadstar calculation requirements, research prevailing atty
                        fee rates for Tampa; prepare memo to file, email to attys.



 2/16/2022    5:33 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00          0.25    $100.00 Fee/J. Mack                                       0.25
                                                                    Majka
                        Review of Public Records Request - Chapter 119 - 11754.docx.


 2/21/2022   12:39 PM Webb, Kenite vs. EEOC - VPD 19                Jacqulyn Mack-         $400.00          2.25    $900.00 Fee/J. Mack                                       2.25
                                                                    Majka
                        review billing and expenses for all files




                                                                                             Exhibits to Plaintiff's First Amended Bill of Costs 000067
Monday, March 7, 2022                                                                                TrialWorks                                                                                       Page 12 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 70 of 223 PageID 5166
                    Case Name                                                              Hourly                                                              Hours Billable       Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                 Activity Code   Worked Time Billed    Date
  3/1/2022   11:17 AM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00             2.75   $1,100.00 Fee/J. Mack                        2.75
                                                                   Majka
                        research and prepare Affidavit of Fees by Partner, Affidavit of Costs by paralegal.


  3/7/2022    9:47 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00               8    $3,200.00 Fee/J. Mack                         10
                                                                   Majka
                        Finalize Bill of Costs and exhibits, prepare AFfidavits of JMM and HH


  3/7/2022   10:47 PM Webb, Kenite vs. EEOC - VPD 19               Jacqulyn Mack-         $400.00             0.15     $60.00 Fee/J. Mack                         0.15
                                                                   Majka
                        email to from OC re depo scheduling



                     Total Hours Worked:                   341.79             Total Billable Hours:                  330.67          Total Billable Amount:      $130,630.50




                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000068
Monday, March 7, 2022                                                                               TrialWorks                                                                  Page 13 of 13
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 71 of 223 PageID 5167
TimeKeeper Manager Report
                   Case Name                                                               Hourly                                                                         Hours Billable              Billed
     Date     Time Explanation                                     User                      Rate      Hours Amount Task Code                       Activity Code         Worked Time Billed           Date
 4/27/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00             7    $1,050.00 Paralegal                                             8

                        Remote work on all-encompassing time line of events relative to case. In office to continue same. Review Creasy’s responsive records from KW’s public record request.


 4/28/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00             8    $1,200.00 Paralegal                                             8

                        Remote work on all-encompassing time line of events relative to case. In office to continue same. continue review of documents produced in response to public record request from
                        Venice. Commence draft discovery requests for defendant

 4/30/2020   9:00 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00             8    $1,200.00 Paralegal                                             8

                         Continue work on Webb v Venice in office. Research Archives, Venice Library, Keywords: Caucasian, African American, segregation, blacks, race, racial. Continue compilation of list
                        of questions to discuss with KW; continue timeline of events; continue draft P’s Demand for Document Production.

  5/4/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00             8    $1,200.00 Paralegal                                             8

                        review docs re: IAI 2020-001 against KW, w/ recent developments re discipline imposed; review Notice of hearing; review SOP 170; SOP 109; SOP 107. attend conference with JMM.
                        KW and Ruth Terry; review VPD docs re; IA 2020-001 Notice of Predetermination Hearing and Statement of Charges; attached investigation documents.

  5/6/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00           7.5    $1,125.00 Paralegal                                             8

                        Westlaw search for City of Venice/discrimination cases; review Hodgetts v City of Venice 794 F. Supp 2d 1265 (2011), legal research on hostile work environment, retaliation,
                        comparitors, pretext; criteria for acts to be included in litigation regarding ongoing discriminatory conduct, or separate distinct acts requiring new administrative filings and
                        commencement of new action; termination from employment generally requires commencement of a new action. Review Creasy Motel 8 records. View Gregoire video cam; Karl
                        Stebbins v City of Venice (wrongful death, wife suicidal and taken into custody by Crepeau. 2006 WL 10-47864 (M.D.Fla.); Serianni v Venice; review EEOC Enforcement Guidance on
                        Retaliation.

 5/11/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $100.00             8      $800.00 Paralegal                                             8

                        Legal research: US v City of Jacksonville 3:12-cv-451 (not reported June 2015); EEOC website; search “Discrimination + municipality” for cases with precidential value; commence
                        EEOC email subscription; review Ethics, Moments in Gvmt.; review cases against city of Venice (ADA) Hodgetts, Continue timeline with training denials; continue interrogatories to
                        defendant with training prerequisites

 5/11/2020   3:37 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00          7.15    $1,072.50 Paralegal                                         7.15

                        Legal research US v City of Jacksonville 3:12-cv-451 not reported June 2015; EEOC website; search discrim + municipality for cases; commence EEOC mail


 5/18/2020   3:48 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00          6.95    $1,042.50 Paralegal                                         6.95

                        Review office emails on KW case; continue draft of response to Defendant's First Set of Interrogatories; conf. John Majka re KW; witnesses; initial disclosure list


 5/20/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik           $150.00             8    $1,200.00 Paralegal                                             8

                        Review Defendant’s motion to dismiss count I of Amended Complaint. Review Answer to Amended Complaint and Affirmative Defenses. Conf with JMM; tele Kenite Webb; continue
                        preparation of draft response to Defendant’s Request for Interrogatories

                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000069
Monday, March 7, 2022                                                                               TrialWorks                                                                                     Page 1 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 72 of 223 PageID 5168
                    Case Name                                                              Hourly                                                                         Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                      Activity Code         Worked Time Billed                 Date
 5/21/2020    9:28 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.8   $1,170.00 Paralegal                                          7.75

                        drafted response to Def RTP; drafted Pltf demand fro RTPm continue review of case file pre-dateing employment.


 5/22/2020   10:30 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             7   $1,050.00 Paralegal                                             7

                        continued prepration of draft responses to D ROGS, RFAs, RTP; draft P's ROGS, RTP and RFA to D; review pattern Jury Intructions 11th circuit for Title Vii and Retaliation; review
                        EEOC v Jacksonville Firefighters

 5/27/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                             8

                        5-27-20: review VPD Incident reports: weapons violation against Maxim and Syrisko by Montanez; Citizen Complaint against Montanez by Porter and Aldama.
                        Continue response to Defendant’s Interrogatories

  6/1/2020    3:51 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                           8.5

                        continue response to Defendant's Interrogatories, Demand to Produce, Request for Admissions, send emails to client for review and comment


  6/3/2020    5:08 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                           7.1

                        Draft Interrogatories to Defendant ; Draft P's Response to D's Interrogatories; review historic documents relating to race in COV from archives: a history of African Americans in Law
                        Enforcement; African American as protected class; research cases on retaliation; hostile work env.; review Rodriguez v Citu of Clarmont, MDFl.8-cv-204; discovery demands add
                        rquests for retirement under heart and lung bill; African American as protected class; add requests for retirement/ app. under heart/lung; retaliation; hostile work env., civil rights,
                        Rodrigo Morales; MD Fla Rodriguez v City of Clarmont 5:08 CV 204

  6/8/2020    3:55 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                             8

                        continue revisions to outstanding discovery responses including demand to produce, admissions, rogs; email drafts to client


 6/10/2020    3:58 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                             8

                        conference with client re updates including R Terry incident on hospital car break-in; review outstanding discovery requests and responses to date; assess Montanez as comparitor for
                        crash while reading computer May 21, 2020; case No 20-000797, report can't be located. no discipline; car fixed, revisions; review Fernandez v Trees Acquisition, Inc. 11th Cir;
                        discussion of issues for Tucci (ASMI union rep for COV) to cover in tele conf re KW case and status in COV of emp. discrim cases he handles/involved in; discussion re 2 letters sent
                        my DOJ to COV for other violations in 2009, 2010; inability to locate discipline for city employees involved in noose incident; Union rep Tucci ASME info on black public works emp.
                        target of noose Alton King; discussion re Williamson violations; PIP violations; discrepency re punishment of 4 days recommented by chief but its more than 1 yr for prior so shouldn't
                        count. disparate treatment possible; requirement that all complaints be investigated, but Quick failed to investigate KW complaint; reports rejected for 2 months as harassment;
                        someone cleared out mailbox and lost reports; Quick said he's getting written up again re girl who said she was being followed; set up? B.Long baby momma is Jamie Hoy's
                        supervisor? Bill fo rights not followed. Discovery on sources for pay for SRO: is it split between school Bd and City; discussion re Eleftherios ins. complaint; KW's family disturbed at
                        home by banging on door when KW not there, car not there; re exposure to COVID his child was extremely upset thinking Daddy was in trouble, why are they looking for him? banging
                        on door aggressively, upsetting family; Silva sent home because he was sneezed on. KW w heart problems not Covid 19; not awarded DOT acknowledgement for click it or ticket
                        highest performer because they're dissing KW; black public works guy getting dissed; MM comment re banana: "throw it away" discussions on EEOC posters in workplace; videos of
                        Hoy's signature never producted in IA, Bill fo Rights not followed, pay sources for SRO? . Tucci ASME rep; Noose incident; discipline; skinny blk guy in truck hit line: blk guy at water
                        treatment, cops all over him;




                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000070
Monday, March 7, 2022                                                                                TrialWorks                                                                                          Page 2 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 73 of 223 PageID 5169
                    Case Name                                                              Hourly                                                                         Hours Billable                     Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                       Activity Code        Worked Time Billed                  Date
 6/15/2020    4:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.6   $1,140.00 Paralegal                                            7.6

                        email draft MTD response re Ct 1; Prepare issues for Tucci teleconference on discriminaiton in COV; Webb; other employees with claims past and pending. Continue response to
                        Defendant's Interrogatories and Demand to produce; stebbins v COV: suicide case alleging deliberate indifference: Troy Crepeau 8:04-cv-1988 (2006); Springman v COV, false arrest
                        10-15102 not reported. 1983 action against Crepeau SJ granted; Hodgetts v COV involving disabled employee claims under ADA; KB v COV: victim of sex abuse i.d. not redacted
                        1983 claims against City Clerk Rushing; Leisenring Kuchar: BLM signs come down, who only BLM? because I said so; other COV cases found in research inc Stebbins v COV suicide
                        case, Troy Crepeau 2006; Springman v COV false arrest; Hodgetts v COV, disabled employee ADA violations; 1983 action against Cty Clerk Rushing, not redacted KB v COV 2019
                        WL 707065. Leisenrign Kuchar said take down black lives matter meeting signs; KW asked why only those? polictical signs up too, Because I said so; email from JMM re Buxton v
                        Plant City; Holloman v Harland - Policy Maker, city as discriminator no Monell issue.

 6/17/2020    9:02 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8   $1,200.00 Paralegal                                             8

                        Review P's draft Responset o Def. MTD 1983 claim; provide comments and legal research; suggestions sent to JMM; Teleconf w Dan Tucci, AFSCME; re discriminaiotn cases and
                        EEOC w COV; update and comments to JMM; conduct legal research for emp. discrim; hostile work env., disparate treatment; comparitors;

 6/22/2020    4:07 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           9.5   $1,425.00 Paralegal                                            9.5

                        T/C w client re discussion with union rep Dan Tucci re COV discrimination based complaints. Continue response to Defendant’s Interrogatories, Demand to Produce, Request for
                        Admissions, with client input (via T/C). discuss black employees, Whittaker, Cox looked black; ; issue of COV receipt of federal funding; Lavallee city workers at his house? Client
                        counseling sessions; costs; records; tax returns, HIPPA releasse for records; lost organiers w personal notes of events; emails w union rep; msg from RT w Nolan pix; Remote work
                        including draft email to DOJ attorney regarding expansion of discrimination claims beyond Police Dpt.; Ordinance # 204 and City Attorney opinion as to status despite never having
                        been repealed; Lisa Jennay therapist : request for records of treatment, and update contact info.; HIPPA release; email JMM status on Jennay; email client for documents responsive
                        to defendant's discovery requests; email union rep regarding IA's and Hoy Affidavit; email KMM with comments for final response to Def. 1st. Request for Admission;email JMM draft P
                        Response to RFA for her review; review JMM email to Marc and Mark; issue of federal funding received by COV tied to compliance with fed anti-discrim mandates;
                        Task Code: Paralegal
                        Billable Hours: 9.50

 6/23/2020    4:08 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           9.5   $1,425.00 Paralegal                                            9.5

                        Work remotely to review final Plaintiff’s response to Defendant’s Request for Admissions. Continue Response to Defendant’s Document Production Demands; email w client ; issue of
                        Dan Whitaker w VPD; news re Perishio investigation; emails re schedule w JMM/ Mark and Marc
                        Task Code: Paralegal
                        Billable Hours: 9.50

 6/26/2020   10:22 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.05        $7.50 Paralegal                                         0.05

                        email KW re mayor on police activity in COV; race concerns expressed on recent incident of BLM protest


 6/29/2020    4:11 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           6.8   $1,020.00 Paralegal                                            6.8

                        Continue preparation of document production response; interrogatories; incl. Whittaker; taxes, Steve Young; IA's, damages; photos fo banana in trunk. Email client w outstanidng items
                        to complete re discovery;
                        Task Code: Paralegal
                        Billable Hours: 6.80

  7/1/2020    4:12 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          7.29   $1,093.50 Paralegal                                          7.29

                        Conference with client to review outstanding discovery. Review recordings and documents with client; Document Production and Interrogatories. New material from client. Gregoire
                        allegations of racial profiling and retaliation against Adams for starting inquiry; Ben Adams; Julie Williams; other claims of hostile work environment; COV historical context of ongoing
                        racial hostility;
                        Task Code: Paralegal
                        Billable Hours: 7.29
                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000071
Monday, March 7, 2022                                                                                TrialWorks                                                                                           Page 3 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 74 of 223 PageID 5170
                    Case Name                                                               Hourly                                                                           Hours Billable                     Billed
     Date      Time Explanation                                     User                      Rate       Hours Amount Task Code                        Activity Code         Worked Time Billed                  Date
  7/2/2020    4:13 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            5.5     $825.00 Paralegal                                             5.5

                        Continue preparation of response to Def. 1st Set of Interrogatories, review client’s additional documents, review emails from client; inquire to EEOC re tele conf. email JMM with draft;
                        email re conflict bcs Levitt gets msg from City Mgr. responding to your concerns of retaliation; time off for medical apts.; email draft Plaintiff's response to 1st Interrogatories from Def.
                        Task Code: Paralegal
                        Billable Hours: 5.50

  7/3/2020   11:30 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00              8   $1,200.00 Paralegal                                               8

                        Re Document Production, develop suggested category of documents to be produced; pdf's of case items incl. EEOC binder, COV docs; PD org charg, Webb personnel files, etc.
                        Investigations and Discipline: IAI, SR, SI Jamie Hoy docs Sanford Docs ;Comparitors’ info./ Disparate treatment Creasy Montanez Long Other people’s complaints/problems
                        with VPD Perisho memo
                         Audio recordings (Not sure how these are going to be marked)Damages Tax returns, medicals,
                        email JMM

  7/6/2020    1:18 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          7.22    $1,083.00 Paralegal                                           7.22

                        Continue preparation of document production response and P responsonse to Def. 1st Set of interrogatories; email KW, JMM for review and comment; JMM email pay disparity for KW
                        re TTD after heart attack and catheter; use of sick time to see comp Drs for KW but others use work time to attend appoiontments; email Geoff Vichlere re comp time, 1st responders;
                        emails reL KW hearing, subpoenas; Email interrogatores to KW updated for comments and finalization; email re KW formal evidentiary hearing 7-16-2020; email P's response to Def.
                        1st Rogs;
                        Task Code: Paralegal
                        Billable Hours: 7.22

  7/8/2020    4:19 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00              8   $1,200.00 Paralegal                                               8

                        Continue preparation of response to document production and interrogatories from client comments for additions, email additional findings to JMM for designations of activities engaged
                        in by Perisho, Leisenring; Mattmuller, Gregoire; Hill saying KW would never be 1st Af. Am Chief in COV: Adams comment dating white woman; hostile work env. instances; with review
                        of production folders, review of client’s documents; responses to document demands. emails w Geoff Bichler, JMM re wkrs comp for heart; Webb email out time JMM:
                        Task Code: Paralegal
                        Billable Hours: 8.00

  7/9/2020    2:39 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.17       $25.50 Paralegal                                           0.17

                        emails re final interrotory responses served JMM; perdiem w fees and travel; record retention requirements for LEO agency an medical examiner's office; emails re HH for Leisenrign
                        summons; tax collector for hearing;

 7/15/2020    4:20 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00              8   $1,200.00 Paralegal                                               8

                        Continue preparation of index to document production. Tele Dan Whittaker, prepare notes of conversation. Work on Interrogatories and Document production requests to Defendant;
                        docs provided in IA 2020: SOP protocols; MTC Ct.1: 42 USC 1983: discriminatory custom claim; deliberate indifference includes tacitly authorizing discrimination by sutom, policy or
                        practice; Lavallee failed to investigate, prevent acknowledge, discipline Mattmuller: inadequate police training: Hardy v Hayneville: Short v Immokalee Water & Sewer Dst. .
                        Task Code: Paralegal
                        Billable Hours: 8.00

 7/20/2020    4:21 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.05         $7.50 Paralegal                                          0.05

                        Continue preparation of Plaintiff’s Interrogatories and Document Production requests to Defendant. MTD Ct 1; 42 USC 1983: Discrim. Custom Claim; custom or usage w force & effect
                        of law; deliberate indifference tacitly authoirzing discrim; failure of Lavallee to investigate, prevent acknowledge discipline... short v immokalee Water & Sewer Dst.
                        Task Code: Paralegal
                        Billable Hours: 8.00

                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000072
Monday, March 7, 2022                                                                                 TrialWorks                                                                                             Page 4 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 75 of 223 PageID 5171
                   Case Name                                                              Hourly                                                                        Hours Billable                    Billed
     Date     Time Explanation                                    User                      Rate       Hours Amount Task Code                      Activity Code        Worked Time Billed                 Date
 7/22/2020   3:22 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          7.82   $1,173.00 Paralegal                                         7.82

                        Complete draft of Plaintiff’s Document Production requests to Defendant. Email to JMM, for review and editing comments; review Def MTD 1st Am. Complaint; case law for 1981; 1983
                        actions; complete draft of P Doc Prod requests to date
                        Task Code: Paralegal
                        Billable Hours: 7.82

 7/27/2020   4:24 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            8    $1,200.00 Paralegal                                            8

                        Continue preparation of Plaintiff’s Request for Admissions to Defendant.
                        Task Code: Paralegal
                        Billable Hours: 8.00

 7/29/2020   4:25 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.5   $1,125.00 Paralegal                                          7.5

                        Prepare JMM to attend zoom conference with Middle District Judge Thomas Barber on Plaintiff’s Motion to Dismiss Count 1 of First Amended Complaint; continue preparation of
                        Plaintiff’s First Request for Admissions and Document Production; tele conference with client; Verdict/settlement search for racial discrimination cases to update.
                        Task Code: Paralegal
                        Billable Hours: 7.50

 7/30/2020   4:43 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          6.05     $907.50 Paralegal                                         6.05

                        Draft and Email to JMM draft of Plaintiff's 1st Request For Production from Def.


  8/3/2020   4:25 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          7.86   $1,179.00 Paralegal                                         7.86

                        continue prep of draft Interrogatories to Defendant. Review files and summaries for any missed requests. Prepare email to JMM. Email KW re damages; and demand for settlement;
                        discuss with JMM re possible position w COV outside VPD;JMM email re Ceus v Tampa Title VII firefighter; 11th Cir; Johnson v Mimi Dde: blk officer retaliation So. Dist. proof of racial
                        discrim: model discovery handbook for Title VII; JS to JMM draft rogs to D.
                        Task Code: Paralegal
                        Billable Hours: 7.86

 8/10/2020   5:14 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            8    $1,200.00 Associate                                            8

                        research damages for categories for recovery and information for calculation of damages; review information received in response to Art 119 request for records from COV, review
                        client emails, update additional discovery requests to cover information in public record request. Review Creasy’s responsive records from KW’s public record request; email JMM KW
                        re Leisenring and Quick

 8/17/2020   5:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            8    $1,200.00 Paralegal                                            8

                        Final review COV response to public record request for Montanez. Commence preparation of draft findings of fact and conclusions of law for Formal Evidentiary Hearing re IA 2020-
                        001(Sanford) . Review transcript of July 16, 2020 hearing. PUblic records request for Hissl Cty Sheriff and Fla Highway Patrol for Montanez.

 8/19/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            8    $1,200.00 Paralegal                                            8

                        Continue preparation of draft findings of fact and conclusions of law regarding the July 16, 2020 Appeal Hearing in IA 2020-001. Review Respondent’s exhibits. review order denying
                        defendant's Motion to dismiss.




                                                                                             Exhibits to Plaintiff's First Amended Bill of Costs 000073
Monday, March 7, 2022                                                                               TrialWorks                                                                                         Page 5 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 76 of 223 PageID 5172
                    Case Name                                                              Hourly                                                                          Hours Billable                     Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                        Activity Code        Worked Time Billed                  Date
 8/24/2020    4:27 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8    $1,200.00 Paralegal                                             8

                        Review respondent’s evidence for suspension hearing; continue preparation of final draft of findings of fact and conclusions of law for evidentiary hearing officer with citations to record;
                        request KW personnel records from Sarasota County Sheriff; emails JMM, MNL, MS re: dep schedules; service of P's discovery requests to D, rogs; doc prod, request for admissions.
                        Task Code: Paralegal
                        Billable Hours: 8.00

 8/26/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8    $1,200.00 Paralegal                                             8

                        Contact mediator’s office Deborah Brown and request availability for late Nov. Prepare draft Order; follow up on request for insurance info: Laurel Romero, JD Western World Ins.
                        Group; investigate and summarize status of outstanding public records requests; review local rules re: mediation; review insurance agreement for COV; review City of Venice proposed
                        Findings of Fact and Conclusions of Law to Hearing Officer; privilege log for withheld items in litigation; organize tasks to be completed: mediation summary; deps we need; mediation
                        dates late Nov., circulate suggestions; discussion with client re: Covid 19 leave granted Halpin, Dinka and Sgt. White, but not KW.

 8/31/2020   11:42 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          7.25    $1,087.50 Paralegal                                             8

                        Review SRQ records for KW from FOIA request; review Middle District of Fl Mediation Rules; begin draft mediation summary: factual allegations; scheduling emails for deps


  9/2/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             8    $1,200.00 Paralegal                                             8

                        Continue preparation of Mediation Summary for KW; prepare damages/paralegal time summary for damages; tele Deborah Brown re Court Ordered Mediation dates; tele Tracy Suarez
                        re dates; t/c Kenite Webb re status, dates, etc. update trialworks

  9/9/2020    9:32 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            7.5   $1,125.00 Paralegal                                             8

                        continue scheduling tasks for depositions of Mattmuller, Lavallee and Bullock, Chappa; and mediation, email Defense counsel with dates for Webb dep.; Continue preparation of
                        Mediation report- Plaintiff's position, integrate interrogatores into mediation report; index to document production; review SOPs and Venice Procedures and Rules for applicable
                        standards; email KW re dates; status of discrim claim by other Venice employee; to do: request Williamson and Al King records from COV; Need treatment records from Calderon;
                        Lakewood Cardiovascular; Steven Class MD Heart specialist; add documetns on post-filing incidents to discovery.

 9/14/2020    8:59 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          8.15    $1,222.50 Paralegal                                             8

                        Review findings of fact in appeal hearing of IA 2020-001 by Albert Galloway, Hearing officer. Review emails regarding future recourse. Review emails regarding scheduling of Webb
                        deposition and mediation. Continue preparation of Mediation Summary.

 9/16/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          7.75    $1,162.50 Paralegal                                             8

                        Review emails re: Webb v COV mediation: scheduling and format; Court's scheduling Order and Covid-19 extension; review USA v COV, 8:20-cv-02161- (discrimination action filed on
                        behalf of COV Public Works employee James Williamson) filed 9-15-2020; review Williamson Settlement agreement, research media reports of settlement by DOJ. draft and send
                        email client regarding Williamson including copy of Settlement Agreement by Venice with DOJ; email strategy to JMM; continue preparation of Mediation summary for KW, discuss
                        filing "notice of related case"

 9/21/2020    9:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          7.75    $1,162.50 Paralegal                                             8

                        Review emails regarding depositions; review Notice of Related Case filed 9-18-20; continue preparation of Mediation summary draft including summarizing items giving rise to action
                        and chronology. Review The Scoop articles regarding settlement of James Williamson case against Venice and criticism for failing to add sum into Venice budget comments leaving
                        Commissioners in the dark about pendency of suit and looming settlement and "other one in the wings".




                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000074
Monday, March 7, 2022                                                                                TrialWorks                                                                                            Page 6 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 77 of 223 PageID 5173
                   Case Name                                                               Hourly                                                                          Hours Billable                    Billed
     Date     Time Explanation                                     User                      Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                 Date
 9/23/2020   9:03 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00             6     $900.00 Paralegal                                              8

                        continue legal research re Rule 407: Subsequent Remedial Measures for preclusive effect on admitting at trial evidence of settlement terms of discrimination case brought by James
                        Wiliamson - marked as related case. Issue of admisibility of proof of settlement of another action and its settlement terms to establish lack of protocol and procedures for
                        discrimination claims to establish element of ongoing policy and practice of deliberate indifference to racial discrimination and failure to prevent and properly train employees allowing
                        practice of discrimination to continue; review reporting, investigation, prevention and education of discrimination claims; review emails w client re: demand; filing Notice of Related case
                        for Williamson action; continue preparation of mediation summary. Review FOP/COV Agreement for terms relating to process and procedures of grievence, complaints and
                        investigation process for racial discrimination, hostile work environment, disparate treatment based on race.

 9/24/2020   4:30 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           2.5     $375.00 Paralegal                                            2.5

                        Tele conference with Mark Levitt, attorney for COV re: dates in Preliminary Conf. Order; Covid-19 extension, July 16 evidentiary hearing; continue preparation of document production;
                        tele w Kenite re docs needed for responses; emails w/ outstanding tasks including outstanding interrogatories for review and supplementation; Whittaker contact next week; obtaining
                        treatment records from Lisa Jennay
                        Task Code: Paralegal
                        Billable Hours: 2.50

 9/28/2020   9:11 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           6.5     $975.00 Paralegal                                              8

                        Tele call with client regarding possible settlement position; discuss categories of damages; possibility that settlement contain component creating new employment position at COV for
                        KW - suggested EEOC compliance officer; oversight; compensatory damages; health issues; stress; continuing w/ IA against him; research damages, caps, discuss unavailability of
                        punitive damages against governmental entity; prepare memo to file re client discussion; review Drop Box documents; organize file; review recent emails;

 9/30/2020   5:04 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00             6     $900.00 Paralegal                                              8

                        Continue preparation of draft Mediation summary; pick up with emails re: scheduling Plaintiffs depositions; review case settlement research for comparative purposes. discussion w/
                        JMM re client's settlement position; email client for follow up on position. Continue attempt to organize files.

 10/5/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           6.5     $975.00 Paralegal                                              8

                        Prepare for client's deposition; prepare email to client w/ enc. to review prior to dep; discussion w JMM re damages, discuss recent event at Splash wherein KW accused by boyfriend
                        of hitting on white store employee while arrest of motorist who parked at Splash; complaint made including violence against KW; investigation; compile draft outline for deps w
                        proposed exhibits/ review case materials and organize for dep outlines. Update and revise draft email to Whitsett. review/send emails to client re meeting.

 10/7/2020   5:30 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           8.5    $1,275.00 Paralegal                                           8.5

                        Conf. JMM re damage cap. under statute, review statute and case law regarding damage limitations. Conference with client in preparation of deposition. Review file documents (FAC,
                        P's Response to Interrogatories, EEOC charge) with client. Review damage awards and developments for comparison purposes and further discuss client's settlement positions in
                        anticipation of mediation conference.

10/12/2020   5:00 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00             7    $1,050.00 Paralegal                                             8

                        Prepare draft outline for Tom Mattmuller's deposition and incorporate references to Drop Box docs: check Sunbiz for entities TM is affiliated with, review Scty of State docs filed for
                        entity named "Do The Right Thing of Sarasota, Inc." which TM was a Director of; review accreditation history for Venice and loss of accreditation; review TM's profile on Venice
                        Website, conuct internet search of TM; review Commission for Florida Law Enforcement Accreditation, Inc.; review TM comments on COV PD accreditation and goals of attaining
                        status.

10/14/2020   5:03 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00             1     $150.00 Paralegal                                              8

                        email defense counsel to confirm defendant's depositions; discussion with JMM re status; review Jax email ; review Bostock v Clayton County Georgia, USSCt. June 15, 2020; discuss
                        contacting Dr. McAllister, send email regarding records and tele conf.

                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000075
Monday, March 7, 2022                                                                                TrialWorks                                                                                           Page 7 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 78 of 223 PageID 5174
                    Case Name                                                               Hourly                                                                          Hours Billable                     Billed
     Date      Time Explanation                                    User                       Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                  Date
10/19/2020    5:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00           7.2   $1,080.00 Paralegal                                              8

                        Email client re HIPPA form; review emails requesting form re Dr. McAllister's office; continue preparation of deposition outline for Mattmuller; review Plaintiff's record production for
                        cross reference in Dep. outline, confirm court reporter for upcoming dep. discussion w/ JMM

10/21/2020    5:12 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.25       $37.50 Paralegal                                          0.25

                        emails to/from client re IA, Chappa, reports re Splash. client zone changed, mental health declaration to Chappa; complaint Frangione received.


10/25/2020    9:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00             4     $600.00 Paralegal                                              4

                        Re: Kenite Webb: Review Defendant’s document production pgs 1-2022; compile summary with reference to doc. Prod. Email to JMM


10/26/2020    8:22 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00            10   $1,500.00 Paralegal                                             10

                        Webb: Continue review of Defendant’s document production and summary w/ references. Compile outline for Lavallee deposition on Thursday; continue Matmuller deposition outline,
                        email Webb regarding outstanding HIPPA authorizations for defendant. Discussion with JMM. Email Webb outline for MM deposition. @remote: Continue review of defendant’s
                        document production, summarize and analyze.

10/27/2020    2:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00             2     $300.00 Paralegal                                              2

                         Remote: continue review, analysis and summary of defendant’s document production. Review client email. Prepare attachment of interests to public record request; Email JMM
                        summary, review & reply to client email regarding medical procedure w Erick Calderon, for heart monitor inplant.

10/28/2020    9:24 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00          6.05     $907.50 Paralegal                                              8

                        Webb: REview email from JMM. Review nad send email to DOJ senior attorney Louis Whitsett re status of Webb litiagation in light of Williamson's case disposition. Import all case
                        related emails to Trialworks. Continue preparation of Plaintiff’s mediation summary including update of incidents, comparitors, Williamson settlement and ongoing instances of
                        disparate treatment and retaliation as well as health ramifications and economic damages.

 11/2/2020   10:06 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00           6.5     $975.00 Paralegal                                            6.5

                        Preparation for Mattmuller dep: prepare exhibits, tele w client re depositions and Splash incident follow up regarding directive to make complaint and inaction by VPD to ensure safety
                        of officer in light of threat to his life and racial slur, conf. w JMM, prepare emails re: dep questions client suggested, review Lavalle dep. Highlights with JMM, to do: obtain Mattmuller
                        performance evaluations, IT director personnel file, Chris St. Luz (sp?);
                        Time: 6.5

 11/4/2020    5:03 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00             8   $1,200.00 Paralegal                                           8.25

                        Webb: confirm COV employee name, Christ St. Luz? As Christopher St. Luce, Director of Information Technology (941) 882-7425; prepare deposition outline for City Manager Lavallee,
                        review COV emails for his deposition, review training record summaries from Schuler; tele w client re Matmuller deposition; review medical records Sheri Sanders & Steven Class; conf.
                        w JMM re Mattmuller dep. ; discuss status of Splash incident and threats. to do: supplement doc prod w/ medicals; authorizations for counselors; complain to D's attys re missing doc
                        prod and document dump unacceptable without index to what is being responded to; check mediation requrirements for brief and rules.

 11/9/2020    5:01 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00           7.5   $1,125.00 Paralegal                                              8

                        Review emails from JMM, Levitt, Tracy Suarez, Re: Dep Notice for Alan Bullock, Rule 30(b)(6) deposition of party representative to bind corporation; review guidelines and draft scope
                        of inquiry for corp. representative of City of Venice as requested by defense counsel. Prepare corrections to record request for Mattmuller performance evaluations and email archives
                        for City Manager; review 2020 FOP contract w COV. fowarded by officer VPD. Reminder to client re: authorizations from def for medical records. Review defendant’s subpoenaes to
                        Webb's healthcare providers. Review case Liles v Weitzman re: discovery production; review article Taking a Rule 30(b)(6) Deposition. Tele Deborah Brown, mediator re: schedule
                        and party's confidential position statement, due date.
                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000076
Monday, March 7, 2022                                                                                 TrialWorks                                                                                            Page 8 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 79 of 223 PageID 5175
                    Case Name                                                              Hourly                                                                          Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                 Date
11/11/2020    5:05 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.5    $1,125.00 Paralegal                                             8

                        clarify public record request to City of Venice for Lavallee emails and Matmuller personnel and disciplinary files in response to COV email indicating size of prospective production.
                        Continue preparation of draft Scope of Inquiry for City of Venice representative depositions to be provided to defendant; Review F R. C P 30 (b)(6); draft dep. notice for Bullock.
                        Review Document Production for Bullock documents to use in deposition. Continue preparation of Bullock dep. Outline and review of defendant's document production for documents
                        involving Bullock and emails.

11/16/2020    5:18 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           3.5      $525.00 Paralegal                                            35

                        Review KW treatment notes of Bennett McAllister, MD. Review docs for Bullock deposition and discussion with JMM re status of Personnel Director Bullock at dep today is still
                        uncertain. Review Resolution No. 2020-42, City of Venice regarding discrimination and harassment and requirements for reporting instances. Review City meeting adopting resolution
                        by 7-0 vote. Organize files

11/18/2020   12:15 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.55       $82.50 Paralegal                                          0.55

                        review email from JMM, reporting agency re transcript. Research costs to litigant under Title VII in light of invoice for Lavallee transcript received. Send email to JMM with findings that
                        costs are avail to successful litigant without regard to financial status of litigant.

11/18/2020    4:58 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             7    $1,050.00 Paralegal                                             8

                        Re: mediation; prepare with summary and update of issues for p and damages; confirm client position re possible settlement; discussion w JMM re demand/scope of acceptable
                        disposition; attend Mediation session w Deborah Brown, JMM, client; possible workers comp component of global settlement; discussion w client re options if separated from VPD;
                        career options beyond this case.

11/23/2020    4:25 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          3.02      $453.00 Paralegal                                          3.02

                        prepare Motion on consent for extension of time of remaining tasks in scheduling order. Review local rules, Covid-19 Order, Pretrial Scheduling Order. Review emails re: continuation
                        of mediation and motion on consent.; review defendant's revisions; file same



11/25/2020    4:35 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          0.25       $37.50 Paralegal                                          0.25

                        T/C Webb re mediation issues and damages


11/30/2020    5:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          4.55      $682.50 Paralegal                                             8

                        Review additional document production from defendant including personnel files of Bullock, Gregoire, Henderson, Hill, Joyce, Long Terry, Wentworth, Rose, (pgs 6022 – 7954) and
                        summarize notes. Review Lisa Jennay treatment notes for 12-2017 to 8-2018; prepare summary

 12/2/2020    5:12 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          5.05      $757.50 Paralegal                                             8

                        Continue review and analysis of defendant's 2d document production, including personnel folders for other employees and plaintiff. Summarize findings. Def. additional document
                        production Bates 11279-11411 : Webb Personnel from Tracy Suarez; emails to/from JMM re limiting scobe of Public Request R001006-110920 re: Lavallee: including key search terms
                        suggested to limit return.

 12/7/2020    3:50 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             3      $450.00 Paralegal                                             3

                        Review additional medical record from Sarasota Memorial returned pursuant to authorization; prepare summary of medical records received and confirm all authorizations have been
                        processed by providers treating KW. Review Lavallee deposition transcript. Summarize highlights of dep. for potential SJ motion. review emails from Lori Seltzer re 40,812 emails
                        returned in response to R001006-110920 and specific key terms sought to narrow results. discussion w JMM re resolution of volume of return and costs.

                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000077
Monday, March 7, 2022                                                                                TrialWorks                                                                                           Page 9 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 80 of 223 PageID 5176
                    Case Name                                                               Hourly                                                                        Hours Billable                    Billed
     Date      Time Explanation                                    User                       Rate       Hours Amount Task Code                     Activity Code         Worked Time Billed                 Date
 12/9/2020    3:52 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00           2      $300.00 Paralegal                                             2

                        continue review and notations for Lavallee deposition transcript.


12/10/2020    4:10 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00          0.3      $45.00 Paralegal                                           0.3

                        Tele Lori Selzer re 119 Records Request for KW: including Hostile Work Env. ; email JMM re outcome of discussion and how to proceed with est. 40,000+ emails due to Outlook
                        redundency on outgoing msgs to entire emp. staff., etc. ; email JMM w status, and suggestions; Q of review of volume of return; fees to successful litigant; review statute for "inspection
                        " by remote electronic means in lieu of copying and paying for copies. Venice says no way to preliminarily review records without paying; JMM email to KW for input

12/14/2020    4:24 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00           3      $450.00 Paralegal                                             3

                        Discussion with JMM regarding production of Plaintiff's medical records; prepare Plaintiff's First Supplemental Document Production and Bates stamp treatment notes of McAllister and
                        Jannay. Served by JMM; sent to mediator Deborah Brown

12/16/2020    3:35 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00         5.25     $787.50 Paralegal                                             8

                        review medical records for client charges. Assess designation of Dr. McAllister as expert witness in addition to treating physician. Research damages, expert witness designation,
                        treating physician testimony, Rule 26 disclosure and Fed. R. Ev. 702; 703. Prepare memo to file. Email Jacqulyn and client.

12/21/2020    3:57 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00         1.95     $292.50 Paralegal                                         1.95

                        Review notes and emails and Compile a list of pertinent events which occurred since the filing of KW's federal action for inclusion as ongoing actionable events at trial herein including
                        Sanford 48 hr suspension; Hostile Work Environment by Gregoire for embellished emails to Chappa about tardiness for FOP detail Dec. 26, 2019 and reaction to case filing by Morales
                        "Subpoena for you..." ; Gregoire alleging KW didn't keep patrol vehicle clean ; IA 2020-006; threats against KW made but never reported until months later; Jax email 11-2-2010 re hate
                        crime against Webb ignored; sick time for Dr. appointments charged to KW but no one else; reduced perf. evals: "1" because Sanford sustained IA; seven 3's ; Williamson settlement
                        with DOJ; flyer in KW mailbox announcing Northport PD is hiring 12-29-19; post Covid exposure KW not given time off while white officers Dinin and Sgt. White were given admin
                        leave; failure to maintain Webb's training records causing him to repeat training in 2020; Paul Joyce not written up for drawing service revolver at Poppy's restaurant when he
                        responded to complaint of disturbance despite mandatory write up for LOR if gun is pulled; Gregoire ordered Joyce to do it but didn't write up Jpyce when he didn't. KW reported to us
                        11-2-2020; resolution 2020-42, Oct. 25, 2020 amending PPR 1.23 policy against harassment and discrim. and email to Jax regarding production and updating of discovery with
                        documents relating to same

12/28/2020    4:33 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00          0.5      $75.00 Paralegal                                           0.5

                        review emails from last week regarding filing charges on Splash and telecommuting.


  1/4/2021    4:16 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00         1.75     $262.50 Paralegal                                         1.75

                        prepare Notice of Corportate Deposition for City of Venice by Alan Bullock. review scope of inquiry from November and emails regarding scheduling of deposition, emails from and to
                        JMM.

  1/6/2021   11:00 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00         0.05       $7.50 Paralegal                                         0.05

                        Serve Notice of Deposition on defendant for Bullock's corporate rep. dep. on 1-19-21.


 1/18/2021    3:44 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik             $150.00         3.22     $483.00 Paralegal                                         3.22

                        review Webb: emails to/from Lori Seltzer, KW, JMM re status and volume for recent record request. Prepare deposition exhibits for corporate rep dep. Email Mark Sugerman for
                        confirmation of Bullock dep 1-19-21.


                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000078
Monday, March 7, 2022                                                                                 TrialWorks                                                                                        Page 10 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 81 of 223 PageID 5177
                   Case Name                                                               Hourly                                                                          Hours Billable                     Billed
     Date     Time Explanation                                     User                      Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                  Date
 1/22/2021   9:45 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           0.5       $75.00 Paralegal                                           0.5

                        review information on Covid orders. tele w Chambers on trial status due to restrictions via Covid 19; Order regarding juty trial suspensions, email from Ct. resetting trial date and final
                        PTC.

  2/3/2021   1:32 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          4.55      $682.50 Paralegal                                          4.55

                        Webb MSJ: attempt to continue downloading documents from Def's Motion for Summary Judgment. Review Judge’s individual rules regarding consultation between parties to narrow
                        issues on Summary Judgment. Draft email for Mark Levitt regarding procedures not followed. Draft email to client w MJS. Draft notes on issues to respond to in reply to motion for
                        SJ.

  2/4/2021   1:46 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.35       $52.50 Paralegal                                          0.35

                        review 16 emails JMM/Marl Levitt; HH; review sample stmt of disputed facts;


  2/6/2021   1:36 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00             2      $300.00 Paralegal                                             2

                        work remotely Webb MSJ: Review MSJ disputed facts, summarize findings, draft response to Defendant’s undisputed facts


  2/7/2021   1:50 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.75      $112.50 Paralegal                                          0.75

                        summarize P's responses to Defendant's undisputed facts in opposition to D Motion SJ. sketch out legal argument; prima facie case of discrimination; complaints ignored, hostile work
                        environment; adverse emp action inherent in graduated punishment because for KW 1 more false move and he's out.

  2/8/2021   1:57 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           0.5       $75.00 Paralegal                                           0.5

                        review communications regarding Public Records Request R001006-110920 13K emails; keywords used as requested; review exhibits for bullock dep transcript emailed from reporters
                        w dep transcript; brief review of Bullock dep for motion sj opp.

 2/10/2021   3:38 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.35       $52.50 Paralegal                                          0.35

                        Email re costs for COV FOIR; email from Lori Stelzer, going back to Dec. request and fees to be charged, status.


 2/11/2021   3:33 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          1.85      $277.50 Paralegal                                          1.85

                        Webb MSJ: attempt to continue downloading documents from Motion. Review Judge’s individual rules regarding consultation between parties to narrow issues on Summary
                        Judgment. Draft email for Mark Levitt regarding procedures not followed. Draft email to client w MJS. Review Def. MSJ. Note issues to respond to.

 2/12/2021   2:03 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          4.05      $607.50 Paralegal                                          4.05

                        continue preparation of comments to d's stmt. of 52 undisputed facts (plus subsections) with draft responses; send to JMM for review and comment;


 2/17/2021   3:28 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.22       $33.00 Paralegal                                          0.22

                        conf w JMM re defendant’s statement of undisputed material facts and responses;


 2/22/2021   1:42 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00           1.5      $225.00 Paralegal                                           1.5

                        Webb: Draft Response to Defendant’s Statement of Undisputed Facts.

                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000079
Monday, March 7, 2022                                                                                TrialWorks                                                                                          Page 11 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 82 of 223 PageID 5178
                    Case Name                                                              Hourly                                                                         Hours Billable                     Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                       Activity Code        Worked Time Billed                  Date
 2/24/2021    5:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          3.65        $547.50 Paralegal                                       3.65

                        review defendant's Motion for Summary Judgment including statement of undisputed material facts. review cases saved in Westlaw on legal issues and continue research on summary
                        judgment in Title VII cases and FCRA. Review Judge's Individual Rules on motions for summary judgment and statement of facts. Commence draft of Plaintiff's statement of disputed
                        facts.

  3/1/2021    9:22 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           6.9   $1,035.00 Paralegal                                             0

                        prepare certification for Lisa Jennay treatment records. Continue response to MSJ: legal research; review Defendant's cited cases. Continue Plaintiff's Statement of Disputed Facts
                        with citations to the record.

  3/2/2021    9:50 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          6.25        $937.50 Paralegal                                          0

                        Continue preparation of response in opposition to Defendant's Motion for Summary Judgment including Plaintiff's statement of Disputed Facts. Review deposition notes and Matmuller
                        transcript. Provide status email to client.

  3/8/2021   10:57 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           6.1        $915.00 Paralegal                                         6.1

                        continue preparation of Plaintiff's opposition to Motion for Summary Judgment. Review exhibits and continue statement of disputed facts.


 3/10/2021    9:09 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          6.75   $1,012.50 Paralegal                                             0

                        Review email from defense counsel and refiled unopposed Motion for Extension of Time to Respond to Defendant's Motion for Summary Judgment. Continue preparation of Response
                        to Defendant's undisputed facts.

 3/15/2021    4:23 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.5         $75.00 Paralegal                                         0.5

                        continue preparation of Disputed Facts in opposition to MSJ


 3/22/2021   12:21 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00          8.95   $1,342.50 Paralegal                                          8.95

                        continue preparation of Plaintiff's Statement of Disputed Facts; review Defendant's exhibits.


 3/22/2021    4:53 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.5   $1,125.00 Paralegal                                            7.5

                        continue preparation of opp to MSJ. tele conf w client re: events and instances of recent times and additional opposition facts for motion. pinpoint citations to record including Bullock
                        and Lavalle transcripts.

 3/22/2021    7:26 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.3         $45.00 Paralegal                                         0.3

                        prepare draft Affidavit in Opposition for Kenite Webb regarding Chappa's allegations


 3/23/2021    6:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             6        $900.00 Paralegal                                          6

                        Complete 1st draft of Webb Affidavit and send to client and lead counsel for reveiw and comment. Continue preparation osf disputed facts. continue review of record.


 3/24/2021    9:04 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00             0          $0.00 Paralegal                                          0

                        Continue preparation of Memo of Law in Opposition to MSJ

                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000080
Monday, March 7, 2022                                                                                TrialWorks                                                                                          Page 12 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 83 of 223 PageID 5179
                    Case Name                                                              Hourly                                                                         Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                       Activity Code        Worked Time Billed                 Date
 3/25/2021    5:04 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.15       $22.50 Paralegal                                          0.15

                        review email from client; reply


 3/26/2021    3:13 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          5.66      $849.00 Paralegal                                          5.66

                        Fri in office. T/C Webb, continue stmt of facts. MOL, Affidavit in Opp. Problems with accessing record/pinpoint citations.


 3/26/2021   10:26 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.05        $7.50 Paralegal                                          0.05

                        T/C with Webb regarding Affidavit. Continue preparation of Mem of Law in Opposition.


 3/29/2021    4:45 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          7.75    $1,162.50 Paralegal                                          7.75

                        emails w client, 2d MET for response to MSJ; draft content; obtain consent of adversary to application, draft email to adversary, continue preparation of MOL in Opp to MSJ


 3/31/2021    8:53 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.05        $7.50 Paralegal                                          0.05

                        continue preparation of opposition motion papers. Conduct legal research. Pinpoint citations and record on motion.


 3/31/2021    5:52 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00              8   $1,200.00 Paralegal                                             8

                        Revisions to Statement of Facts, MOL, Citations to record,


  4/5/2021    4:02 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          7.65    $1,147.50 Paralegal                                          7.65

                        Webb,: continue opp to MSJ; draft email requesting 3rd Extension of time to respond to MSJ. Prepare draft proposed Motion to Court for 3d extension of time. Review Majka Affid.,
                        review Webb Affid, continue record compilation, continue preparation of opposition to def motion for summary judgment

  4/7/2021    1:07 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          1.75      $262.50 Paralegal                                          0.75

                        Webb motion; provide exhibit electroncially 3.07 (c0; Jamie Hoy video; youTube; favoritism in grooming employees for advancement on subjective assessment: Browning Per. Eval; D's
                        26-33; supervisor suggests Field Training Officer; "very bright future"; prepare citations from document production to add to motion opp: including categories in record to references to
                        biracial child, black suspects book, sick time for wkrs comp, damages, insubordination, rice crash report, complaints of hostile work environment ignored, motel 6 incident, banana in
                        trunk, summary of allegations in EEOC position stmt; smily face for Bill Long with bullet through the head; splash incident; rock jetty w n+word; adverse employment actions, Chappa
                        issues, custom, policy and practice; bad blood w Bill Long, "n=gger", being arrested for being black: racial profiling at COV; SRO 62-13: 5-8; Compliance w EEOC; SRO Mattmuller
                        deposition citations to include on issues including . 51-10; training; Hoy Gregoire, going to sue us too? comment, Hostile Work Emvironment KW email to MM; COV gene pool,
                        Smolenski; Matrix; Avery & Association; Mattmuller with EEOC; swoen statement not necessary to take complaint ; missing report; harassment SOR; Motel 6 burglary; comparitors;
                        mgmt being final arbitors; black suspects book, appeal of Ord. 204; add PPR to stmt of facts;

 4/12/2021    3:05 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.75      $112.50 Paralegal                                          0.75

                        Webb,: review final filings, email from Marc Sugarman re font, etc. Tele w Judge’s Clerk regarding issue with citations to Exhibits being thrown off due to the volume of exhibits. Draft
                        emails to JMM and Mark Sugerman. Review filings.

 4/14/2021    9:07 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00            0.6      $90.00 Paralegal                                           0.6

                        Review filed motin opposition papers


                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000081
Monday, March 7, 2022                                                                               TrialWorks                                                                                          Page 13 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 84 of 223 PageID 5180
                    Case Name                                                              Hourly                                                                        Hours Billable                   Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                     Activity Code         Worked Time Billed                Date
 4/19/2021    5:10 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00            4.7     $705.00 Paralegal                                         5.6

                        Index P's Motion Exhibits in accordance with #'s filing on Docket in preparation for amended motion papers reflecting pinpoint citations. Decipher problem with citations in legal papers
                        not matching filed documents' docket entry numbers. Emails to/from Lori Stelzer regarding last public record request, check status of payment request, review COV time frame to
                        respond to public record requests adn email JMM; confirm authority to proceed with project with JMM.

 4/21/2021    4:04 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          4.22      $633.00 Paralegal                                        4.22

                        revise Motion for Summary Judgment Oppostion papers to correct citations to the record as filed due to ECF jumping docket entry numbers because of file size limitations throwing off
                        the citations.

 4/24/2021   10:06 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00              4     $600.00 Paralegal                                           4

                        Continue amendment t MSJ opposition papers to include updated citations to the record as filed on ECF. Amend Statement of disputed facts.


 4/25/2021    8:24 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00            4.2     $630.00 Paralegal                                         4.2

                        Continue preparation of citations to the record in Amended Stmt of facts and MOL in opp to MSJ.


 4/26/2021    9:25 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00         10.05    $1,507.50 Paralegal                                        0.05

                        Continue preparation of final drafts of Plaintiff's Opposition to Def. Motion for Summary Judgment. Review and add pinpoint citations using amended index. Revise Stmt of disputed
                        facts. Hostile work envoronment Gregoire; motel 6 undue force; smiley fact bullett to head, criminal mischief;

 4/28/2021    4:39 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          6.75    $1,012.50 Paralegal                                        6.75

                        Review final amended Oposition to defendant's amended motion for summary judgment and statement of disputed facts. Review court docket sheet. Organize files for Motions,
                        Discovery; Notes; Depositions; Court Docket Entries; draft "to do" list, discussion with JMM for upcoming tasks.

  5/3/2021   11:05 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.15       $22.50 Paralegal                                        0.15

                        draft, review and mail Lisa Jannay ltr w certification and sase


  5/5/2021    1:15 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00            3.3     $495.00 Paralegal                                         3.3

                        T/C with Webb regarding THI reports: not being given time to prepare his required reports but Short was given time today to work on his THI reports by Chappa. Short was reassigned
                        to Webb's squad. Chappa denied KW request because of staffing issues but Short is pulled from working the road to do his reports. THI came out in Feb and Webb hasn't finished his
                        reqports. also asked for Advanced THI training . Denied 2 times. Also, Chappa reworked the wording on his time sheets. Draft email to MM Chappa and legal counsel, send to JMM.
                        Discussion w JMM; emails JMM/KW

 5/19/2021    9:59 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00            0.3      $45.00 Paralegal                                         0.3

                        Tele call with Kenite re status. Prepare email with Plaintiff's motion opposition and Defendant's further support.


 5/19/2021    4:21 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          1.27      $190.50 Paralegal                                        1.27

                        E-Mail client with initial opposition papers and amended opposition to defendant's motion for summary judgment. Tele w client w comments/ explanations; review docket for trial date,
                        and pretrial hearing. email Jax.


                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000082
Monday, March 7, 2022                                                                               TrialWorks                                                                                        Page 14 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 85 of 223 PageID 5181
                    Case Name                                                               Hourly                                                                            Hours Billable                     Billed
     Date      Time Explanation                                     User                      Rate        Hours Amount Task Code                       Activity Code          Worked Time Billed                  Date
 5/19/2021    4:59 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.75      $112.50 Paralegal                                           0.75

                        Local Rule 3.06: draft tasks for Pretrial Conf. Email Jaq. check July Trial term; calculate due date for joint pretrial stmt. draft email to adversary w dates for compliance with pretrial
                        tasks. review local rules for requirements for parties' joint pretrial statement.

 5/24/2021    1:02 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            3.8     $570.00 Paralegal                                             3.8

                        Review Defendant's Draft Pretrial Joint Statement. Draft Plaintiff's version of Joint Pretrial Statement. Review samples. Review Local Rule requirements. Review discovery items,
                        review motion for summary judgment. email Jacqulyn

 5/26/2021   11:54 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            5.1     $765.00 Paralegal                                             5.1

                        Review COV 119 production from 5-24-21 and compile notes/summary. Prepare draft summary of anticipated testimony for trial witnesses for JPT Stmt and make chart of witnesses,
                        issues and documents for trial prep.

  6/2/2021    9:31 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            6.4     $960.00 Paralegal                                             0.1

                        Review emails w defense counsel re Joint Pretrial Statement; review defendant's draft ; review adjournment of Pretrial conference from 6-9-21 to 7-21-21; trial reset for 7-26-21 term;
                        calendar dates; email client with updates; continue witnesses and exhibits; provide plaintiff's comments to defendant's draft, email Jacq.

  6/7/2021    9:48 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          1.75      $262.50 Paralegal                                           1.75

                        draft Request for Judicial Notice of USA v Venice (Williamson) with attachments; review Fed R Evid 201; review new medical records from Webb's April 2021 Sarasota Memorial
                        Hospital records;

  6/7/2021    2:32 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            0.1       $15.00 Paralegal                                            0.1

                        Review hospital records from Sarasota Memorial regarding infected heart device and admission April 1-6, 2021; scan, bates stamp


  6/7/2021    2:37 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            0.6       $90.00 Paralegal                                            0.6

                        Review of Medical Records Request - 10913.docx.


  6/9/2021   11:49 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.35        $52.50 Paralegal                                          0.35

                        draft email to Karen Downs re Dr. McAllister on KW; authorization provided; foward email sent earlier to Dr. re: trial;


  6/9/2021    9:12 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            5.2     $780.00 Paralegal                                             5.2

                        Follow up email to JMM on response to confirm status of latest public records request from Lori Stelzer. Review medical records; emails to Dr. McAllister; tele w office manager Karen;
                        compose email to Karen. review discovery for medical records exchanged. V/M Lisa Jennay; draft Plaintiff's Second Supplemental Response to defendant's first request for production
                        of documents; review Sarasota memorial Hospital records; organize and label files

 6/16/2021    1:40 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00            0.2       $30.00 Paralegal                                            0.2

                        review eservice email with new trial dates in KW v COV.


 6/21/2021   10:41 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          0.15        $22.50 Paralegal                                          0.15

                        email KW re: Lisa Jannay and expenses. preapproval for quick tele conf. requested
                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000083
Monday, March 7, 2022                                                                                 TrialWorks                                                                                            Page 15 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 86 of 223 PageID 5182
                    Case Name                                                             Hourly                                                                         Hours Billable                     Billed
     Date      Time Explanation                                   User                      Rate        Hours Amount Task Code                      Activity Code        Worked Time Billed                  Date
 6/21/2021   10:45 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          0.09        $13.50 Paralegal                                        0.09

                        Email client re Lisa Lannay expenses for conference re trial and treatment


 6/21/2021   11:33 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00           0.3        $45.00 Paralegal                                         0.3

                        t/c KW; re COV training video buffering; Hooters claim brought by black female terminated on basis of haristyle being blond; audience reaction is laughter and making light of
                        discriminaiton; client characterizes segment as inappropriate and laughable; s/w Chappa about audio problems, who confirmed it was by all viewers, email to JMM w summary

 7/12/2021    2:28 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          0.09        $13.50 Paralegal                                        0.09

                        email KW re training video info 2021


 7/14/2021    3:31 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          0.25        $37.50 Paralegal                                        0.25

                        Email to KW re training segment;


 7/19/2021    9:27 AM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00           0.5        $75.00 Paralegal                                         0.5

                        watch training segment by COV for 2021 training on emp. discrim. review JMM email to Louis Whitsett re harassment training segment taught by Mark Levitt


 7/21/2021    1:44 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00           1.7       $255.00 Paralegal                                         1.7

                        email to JMM; memo on ethical issues against COV for poorly performing training segment on employment discrimination; implications for violation of settlement terms of Williamson;
                        buffering, and content at issue. Mark involvment is potentially vio of ethics; outside counsel and discrim counselor; advocate in KW case

 7/26/2021    3:47 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          1.85       $277.50 Paralegal                                        1.85

                        Continue draft email to Mark Levitt regarding ethical considerations involving dual representation of insurer and insured; witness advocate rule, etc. Review ethics rules,


 8/23/2021   11:18 AM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          0.45        $67.50 Paralegal                                        0.25

                        Client exposed to COVID 19 during response to Marchman Act call on 8/21/21; report on condition, what was done. COV Return to Work plan, Phase 6 from Aug. 17, 2021; discuss w
                        JMM

  9/9/2021    2:16 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          0.05         $7.50 Paralegal                                        0.05

                        email re conference scheduling


 9/20/2021    9:03 AM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          0.15        $22.50 Paralegal                                        0.15

                        review email JMM 11th Cir prior notice that conduct is unconstitutional Hope v Pelzer; 2002


 9/22/2021    5:07 PM Webb, Kenite vs. EEOC - VPD 19              Jacky Skubik            $150.00          6.63       $994.50 Paralegal                                        6.63

                        send email w JS start of trial witness list in Webb w adddresses ; review prior list from JMM 9-2-21; review email from JMM re: Bullock note on Gregoire's promotion to Sgt." top
                        candidate by a clear margin" Def.6334; JS email re joint pretrial statement; get started on JPTS, review, drafting


                                                                                             Exhibits to Plaintiff's First Amended Bill of Costs 000084
Monday, March 7, 2022                                                                                TrialWorks                                                                                       Page 16 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 87 of 223 PageID 5183
                    Case Name                                                                Hourly                                                                            Hours Billable                     Billed
     Date      Time Explanation                                     User                       Rate       Hours Amount Task Code                         Activity Code         Worked Time Billed                  Date
 9/29/2021    4:05 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00          0.75      $112.50 Paralegal                                            0.75

                        review draft joint jury instructions and verdict form; and voir dire from defendants; review HH subpoenaes; .


 9/29/2021    5:13 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00          2.22      $333.00 Paralegal                                            2.22

                        emails by and between P and D re: final joint pretrial statement; justification for Plaitniff's modifications; request for admissions as basis for inserts; D's proposed changes 1-9 5:09
                        pm.; prepare preliminary outline of Motion In Limine and send to JMM.

 9/29/2021    5:59 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00          7.37    $1,105.50 Paralegal                                            7.37

                        work on Webb's Motion in Limine; zoom w KW; Faith Brown re Bill Long; Kruger ; SR 2021-006; reports KW wrote for others no a problem but if his name is on it, they aren't good
                        enough;joint pretrial statement; legal research on federal rule for hybrid treating physician/expert witness and requirments for trial : not Daubert witness requiring formal report and prior
                        testimony and disclosure as expert under FRCivPRo.

 10/4/2021    4:02 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00            3.2     $480.00 Paralegal                                             3.2

                        Review and prepare revisions to draft joint verdict form with comments; review case law for elements of proof for claims; send email to JMM w draft


 10/4/2021    4:51 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00          4.66      $699.00 Paralegal                                            4.66

                        prepare second draft updated/revised joint jury instructions; review previous version; conduct legal research on components of remaining charges after SJ. notations include citations
                        and reason for modifications; email to JMM for review and comment

 10/6/2021    5:45 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00          7.59    $1,138.50 Paralegal                                            7.59

                        Prepare update and additions to Plaintiff's trial exhibits: locate missing exhibits from HH draft; add to file of trial exhibits; cross reference location in files; review P and D's document
                        production and record for exhibits; review non- documentary evidence files ( body cam footage; audio recordsing in File 11)

10/11/2021    4:35 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00          7.55    $1,132.50 Paralegal                                            7.55

                        Trial Preparation. draft Plaintiff's Pretrial Memo of Law outline; Jury Trial instructions: review model instructions and defendant's draft; comparison and revisions, and notes from
                        witness and exhibit lists. prepare drafter's notes on proposed revisions; conduct legal research on hostile work environment

10/11/2021    4:17 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00          6.82    $1,023.00 Paralegal                                            6.82

                        Review email from JMM; review Court's decision and draft pretrial memorandum of law on issues of Defendant's Liability for Hostile Work Environment; vicarious liability, direct liability,
                        facts to support allegations, issue of Webb availing himself of anti-harassment policies and appliable complaint procedures;

10/13/2021   10:44 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00            6.5     $975.00 Paralegal                                             6.5

                        Revisions to Plaintiff's Exhibit list and drafting comments for atty review; review defendants' witness list, proposed jury instructions, voir dire, review submissions, conf. KEM, JMM,


10/18/2021   10:41 AM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik             $150.00            1.9     $285.00 Paralegal                                             1.9

                        Review final amended witness and exhibit lists. Review Affidavit of service of trial subpoena on Jamie Hoy. review case emails and update time records




                                                                                                Exhibits to Plaintiff's First Amended Bill of Costs 000085
Monday, March 7, 2022                                                                                  TrialWorks                                                                                             Page 17 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 88 of 223 PageID 5184
                    Case Name                                                              Hourly                                                                        Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate      Hours Amount Task Code                       Activity Code        Worked Time Billed                 Date
10/20/2021    3:39 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          7.05    $1,057.50 Paralegal                                         7.05

                        Locate missing exhibits for final trial exhibit books; compile witness list with contact information and update TrialWorks entries for witnesses; discussion w JMM; HH; review videos in
                        Binder 11;

 11/3/2021    9:32 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00           0.2       $30.00 Paralegal                                          0.2

                        Tele call w/ KW re accusation that KW won't be there long after trial. + Courtney Zach new hire (1 yr ago) complaing about VPD and atmosphere, and told KW about people talking
                        behind his back about him not . Thorpe, hands Leisenring paper while KW speaking with him and is interrupting, KW says "I guess your conversation is more important. "

11/15/2021   12:24 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.05        $7.50 Paralegal                                         0.05

                        Review of subpoena duces tecum for trial - 1626 - 1626.docx. Gregoire


11/15/2021    5:00 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.25       $37.50 Paralegal                                         0.25

                        email Owen Youngblood, JMM re Smolenski non-served subpoena. Update subpoena and email to Sox for service.


11/17/2021    4:14 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00           6.8    $1,020.00 Paralegal                                          6.8

                        Organize/prepare for trial. Breakdown tasks to do. review court decision for what's in and what's out; and organize accordingly. outlines.


11/22/2021    2:10 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.15       $22.50 Paralegal                                         0.15

                        Email witness list: draft w addresses to JMM.


11/22/2021   10:48 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00           6.3      $945.00 Paralegal                                          6.3

                        Discussion with KM. HH. T/C Amy Vicente re schedule. Review of Client - court date time - 11481.docx. draft updated trial schedule letter to witnesses. continue trial outline for
                        witnesses. Discussion with KEM.

11/22/2021   12:47 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.15       $22.50 Fee/paralegal                                     0.15

                        E-Mail Amy Vicente w update trial date ltr and court minutes


11/22/2021    1:34 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.15       $22.50 Paralegal                                         0.15

                        E-Mail Smolenski


11/22/2021    1:52 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.45       $67.50 Paralegal                                         0.05

                        E-Mail from 7-23-21; review issue of training video for 2021 being buffered during play in VPD; complaint to Chappa, officers laughing at example of black Hooters lady beinf fired for
                        blond dyed hair as example of race discrimination; Levitt appearing in video; discussion w/ JMM; chapp reports she was not hampered in comprehension of content and her email to
                        complainers. Offer to have people come and watch video again.

11/24/2021   10:18 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik           $150.00          0.05        $7.50 Paralegal                                         0.05

                        continue preparation of trial witness examination outlines

                                                                                             Exhibits to Plaintiff's First Amended Bill of Costs 000086
Monday, March 7, 2022                                                                               TrialWorks                                                                                         Page 18 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 89 of 223 PageID 5185
                    Case Name                                                               Hourly                                                                          Hours Billable                    Billed
     Date      Time Explanation                                    User                       Rate       Hours Amount Task Code                       Activity Code         Worked Time Billed                 Date
11/29/2021    9:47 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.65       $97.50 Paralegal                                         0.65

                        T/C w/ client re case status. discussion with JMM.


 12/6/2021   12:54 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            4.1     $615.00 Paralegal                                            4.1

                        Compare exhibit lists and identify duplictous exhibits listed by both parties. Edit Plaintiff's exhibit list in conformity with Judge's order to pare down exhibits. Cross reference lists to
                        show duplications by cross referencing each party's corresponding exhibit. Prepare draft mark up of Defendant's and Plaintiff's exhibit lists showing duplications of exhibits, discussion
                        w JMM, KEM. Email to JMM and KEM

12/20/2021    1:20 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            0.4       $60.00 Paralegal                                           0.4

                        Draft motion for KW to bring cell phone to court; review Defendant' s Motion


  1/3/2022    8:58 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.15       $22.50 Paralegal                                         0.15

                        Review of Client - court date time - 11479.docx. Check correspondence to subpoenaed witnesses confirming January trial date.


  1/5/2022    6:05 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            8.1   $1,215.00 Paralegal                                            8.1

                        Review of MLF Letterhead - 11630.docx. continue correspondence to trial witnesses advising of new court date for trial; email to COV witnesses w new court date; draft subpoenas for
                        additional witnesses Jack Chappa, Creasy, Long, Leinsering. email Marc and Mark re business record certification for McAllister and Jennay. Tele conf. 4:00 with Defense counsel.
                        Revise witness list. Additional supboenas for Morales and Browning, email to process server.

 1/10/2022    9:59 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.55   $1,132.50 Paralegal                                          7.55

                        E-Mail / tele w McAllister office; prepare fax, review file. prepare trial witnesss summary with records. review 2d Am. Exhibit list.


 1/12/2022   10:49 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            3.5     $525.00 Paralegal                                            3.5

                        meet with KEM and JMM for preparation to attend in person final pre trial conference in Tampa. Review timelines, pleadings, RFA , ROGS and deposition desginations with KEM.


 1/17/2022    5:57 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00              8   $1,200.00 Paralegal                                              8

                        Review recorded conversations w jamie Hoy + Jessica chappa. REview discovery materials and sort by witness for trial. create and populate folders and cross reference exhibits.


 1/19/2022    5:35 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            5.6     $840.00 Paralegal                                            5.6

                        Continue trial preparation including trial witness' direct examination outlines and trial exhibits; summaries of points needed to establish elements of claim;


 1/24/2022   11:15 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.15       $22.50 Paralegal                                         0.05

                        discussion with JMM ; email McAllister business records with certification to Marc and Mark,


 1/26/2022    9:58 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00            0.1       $15.00 Paralegal                                           0.1

                        Review emails regarding scheduling and trial tasks. Prepare correspondence for trial witnesses for new court date., draft supplemental response to request to produce with photos.


                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000087
Monday, March 7, 2022                                                                                TrialWorks                                                                                           Page 19 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 90 of 223 PageID 5186
                    Case Name                                                              Hourly                                                                         Hours Billable                    Billed
     Date      Time Explanation                                    User                      Rate       Hours Amount Task Code                       Activity Code        Worked Time Billed                 Date
 1/26/2022   10:33 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00         0.15       $22.50 Paralegal                                          0.15

                        E-Mail to JMM and KEM with summaries for todays trial prep


 1/26/2022   10:56 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00         9.65    $1,447.50 Paralegal                                          9.65

                        E-Mail Vicente, and city employees; snail mail Jannay as trial witnesses with new trial date and instructions. emails; prepare Plaintiff's third supplemental response to request for
                        production; revise trial exhibit list; continue trial preparation

 1/28/2022    9:58 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           7.5   $1,125.00 Fee/paralegal                                       7.5

                        assist with exhbit book preparation


 1/31/2022    9:06 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00         6.75    $1,012.50 Paralegal                                          6.75

                        review email from KEM; review Ct's PTO 1-28-21; prepare Webb's Rule 1006 Fed. R. Ev summary of Personnel File. Revise draft final witness list; revise draft final exhibit list; review
                        status of trial books. Conf w KEM re witnesses. Tele Witness Vicente

  2/2/2022   10:28 AM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00         0.25       $37.50 Paralegal                                          0.25

                        possible list of events to include in subsequent EEOC filing.


  2/2/2022    1:05 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00         7.42    $1,113.00 Paralegal                                          7.42

                        Trial preparation. REview transcript designations for Mattmuller, Lavallee and Bullock and comment regarding scope. summary for JMM. Review motion to strike plaintiff's
                        designations. client discussion. witness summaries; trial exhibits;

 2/16/2022    4:50 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           0.5      $75.00 Paralegal                                          0.15

                        draft and file w/ COV Public Record Request for correspondence and communications including but not limited to legal fees for COV in Webb v COV. discuss w JMM; review prior
                        PRRs for format;

 2/16/2022    5:33 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00         0.05         $7.50 Paralegal                                         0.05

                        Review of Public Records Request - Chapter 119 - 11754.docx.


 2/16/2022    5:47 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00         0.05         $7.50 Paralegal                                         0.05

                        email re PRR for legal fees in Webb actions w COV


 2/21/2022    5:04 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00         0.89      $133.50 Paralegal                                          0.89

                        Research process for entry of Judment: who prepares it? how do legal fees get taxed to loosing party; check court docket for entry of judgment, court forms for Judgment and Bill of
                        Costs; discussion with JMM and KEM; email staff ; tele Sonya Chambers left V/M.

 2/23/2022    4:29 PM Webb, Kenite vs. EEOC - VPD 19               Jacky Skubik            $150.00           2.5     $375.00 Paralegal                                           2.5

                        Re: costs and fees, tele w MD clerk; review KEM notes; create time sheet for motion for fees; review file notes and update JS time records;


                                                                                              Exhibits to Plaintiff's First Amended Bill of Costs 000088
Monday, March 7, 2022                                                                                TrialWorks                                                                                         Page 20 of 21
                                 Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 91 of 223 PageID 5187
                   Case Name                                                                Hourly                                                                         Hours Billable       Billed
     Date     Time Explanation                                     User                       Rate       Hours Amount Task Code                       Activity Code        Worked Time Billed    Date
 2/28/2022   4:05 PM Webb, Kenite vs. EEOC - VPD 19                Jacky Skubik            $150.00          3.69      $553.50 Paralegal                                       3.69

                        review time records for costs + fees application for Title VII in emails; trialworks; file notes; time records ; discussion JMM; discussion KEM;



                    Total Hours Worked:                     831.79             Total Billable Hours:                 805.84             Total Billable Amount:               $120,476.00




                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000089
Monday, March 7, 2022                                                                                TrialWorks                                                                             Page 21 of 21
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 92 of 223 PageID 5188




                   Exhibits to Plaintiff's First Amended Bill of Costs 000090
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 93 of 223 PageID 5189




                   Exhibits to Plaintiff's First Amended Bill of Costs 000091
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 94 of 223 PageID 5190




                   Exhibits to Plaintiff's First Amended Bill of Costs 000092
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 95 of 223 PageID 5191




                   Exhibits to Plaintiff's First Amended Bill of Costs 000093
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 96 of 223 PageID 5192




                   Exhibits to Plaintiff's First Amended Bill of Costs 000094
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 97 of 223 PageID 5193




                   Exhibits to Plaintiff's First Amended Bill of Costs 000095
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 98 of 223 PageID 5194




                   Exhibits to Plaintiff's First Amended Bill of Costs 000096
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 99 of 223 PageID 5195




                   Exhibits to Plaintiff's First Amended Bill of Costs 000097
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 100 of 223 PageID 5196




                   Exhibits to Plaintiff's First Amended Bill of Costs 000098
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 101 of 223 PageID 5197




                   Exhibits to Plaintiff's First Amended Bill of Costs 000099
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 102 of 223 PageID 5198




                   Exhibits to Plaintiff's First Amended Bill of Costs 000100
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 103 of 223 PageID 5199




                   Exhibits to Plaintiff's First Amended Bill of Costs 000101
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 104 of 223 PageID 5200




                   Exhibits to Plaintiff's First Amended Bill of Costs 000102
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 105 of 223 PageID 5201




                   Exhibits to Plaintiff's First Amended Bill of Costs 000103
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 106 of 223 PageID 5202




                   Exhibits to Plaintiff's First Amended Bill of Costs 000104
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 107 of 223 PageID 5203




                   Exhibits to Plaintiff's First Amended Bill of Costs 000105
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 108 of 223 PageID 5204




                   Exhibits to Plaintiff's First Amended Bill of Costs 000106
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 109 of 223 PageID 5205




                   Exhibits to Plaintiff's First Amended Bill of Costs 000107
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 110 of 223 PageID 5206




                   Exhibits to Plaintiff's First Amended Bill of Costs 000108
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 111 of 223 PageID 5207




                   Exhibits to Plaintiff's First Amended Bill of Costs 000109
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 112 of 223 PageID 5208




                   Exhibits to Plaintiff's First Amended Bill of Costs 000110
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 113 of 223 PageID 5209




                   Exhibits to Plaintiff's First Amended Bill of Costs 000111
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 114 of 223 PageID 5210




                   Exhibits to Plaintiff's First Amended Bill of Costs 000112
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 115 of 223 PageID 5211




                   Exhibits to Plaintiff's First Amended Bill of Costs 000113
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 116 of 223 PageID 5212




                   Exhibits to Plaintiff's First Amended Bill of Costs 000114
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 117 of 223 PageID 5213




                   Exhibits to Plaintiff's First Amended Bill of Costs 000115
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 118 of 223 PageID 5214




                   Exhibits to Plaintiff's First Amended Bill of Costs 000116
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 119 of 223 PageID 5215




                   Exhibits to Plaintiff's First Amended Bill of Costs 000117
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 120 of 223 PageID 5216




                   Exhibits to Plaintiff's First Amended Bill of Costs 000118
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 121 of 223 PageID 5217




                   Exhibits to Plaintiff's First Amended Bill of Costs 000119
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 122 of 223 PageID 5218




                   Exhibits to Plaintiff's First Amended Bill of Costs 000120
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 123 of 223 PageID 5219




                   Exhibits to Plaintiff's First Amended Bill of Costs 000121
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 124 of 223 PageID 5220




                   Exhibits to Plaintiff's First Amended Bill of Costs 000122
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 125 of 223 PageID 5221




                   Exhibits to Plaintiff's First Amended Bill of Costs 000123
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 126 of 223 PageID 5222




                   Exhibits to Plaintiff's First Amended Bill of Costs 000124
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 127 of 223 PageID 5223




                   Exhibits to Plaintiff's First Amended Bill of Costs 000125
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 128 of 223 PageID 5224




                   Exhibits to Plaintiff's First Amended Bill of Costs 000126
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 129 of 223 PageID 5225




                   Exhibits to Plaintiff's First Amended Bill of Costs 000127
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 130 of 223 PageID 5226




                   Exhibits to Plaintiff's First Amended Bill of Costs 000128
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 131 of 223 PageID 5227




                   Exhibits to Plaintiff's First Amended Bill of Costs 000129
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 132 of 223 PageID 5228




                   Exhibits to Plaintiff's First Amended Bill of Costs 000130
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 133 of 223 PageID 5229




                   Exhibits to Plaintiff's First Amended Bill of Costs 000131
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 134 of 223 PageID 5230




                   Exhibits to Plaintiff's First Amended Bill of Costs 000132
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 135 of 223 PageID 5231




                   Exhibits to Plaintiff's First Amended Bill of Costs 000133
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 136 of 223 PageID 5232




                   Exhibits to Plaintiff's First Amended Bill of Costs 000134
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 137 of 223 PageID 5233




                   Exhibits to Plaintiff's First Amended Bill of Costs 000135
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 138 of 223 PageID 5234




                   Exhibits to Plaintiff's First Amended Bill of Costs 000136
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 139 of 223 PageID 5235




                   Exhibits to Plaintiff's First Amended Bill of Costs 000137
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 140 of 223 PageID 5236




                   Exhibits to Plaintiff's First Amended Bill of Costs 000138
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 141 of 223 PageID 5237




                   Exhibits to Plaintiff's First Amended Bill of Costs 000139
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 142 of 223 PageID 5238




                   Exhibits to Plaintiff's First Amended Bill of Costs 000140
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 143 of 223 PageID 5239




                   Exhibits to Plaintiff's First Amended Bill of Costs 000141
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 144 of 223 PageID 5240




                   Exhibits to Plaintiff's First Amended Bill of Costs 000142
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 145 of 223 PageID 5241




                   Exhibits to Plaintiff's First Amended Bill of Costs 000143
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 146 of 223 PageID 5242




                   Exhibits to Plaintiff's First Amended Bill of Costs 000144
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 147 of 223 PageID 5243




                   Exhibits to Plaintiff's First Amended Bill of Costs 000145
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 148 of 223 PageID 5244




                   Exhibits to Plaintiff's First Amended Bill of Costs 000146
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 149 of 223 PageID 5245




                   Exhibits to Plaintiff's First Amended Bill of Costs 000147
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 150 of 223 PageID 5246




                   Exhibits to Plaintiff's First Amended Bill of Costs 000148
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 151 of 223 PageID 5247




                   Exhibits to Plaintiff's First Amended Bill of Costs 000149
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 152 of 223 PageID 5248




                   Exhibits to Plaintiff's First Amended Bill of Costs 000150
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 153 of 223 PageID 5249




                   Exhibits to Plaintiff's First Amended Bill of Costs 000151
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 154 of 223 PageID 5250




                   Exhibits to Plaintiff's First Amended Bill of Costs 000152
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 155 of 223 PageID 5251




                   Exhibits to Plaintiff's First Amended Bill of Costs 000153
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 156 of 223 PageID 5252




                   Exhibits to Plaintiff's First Amended Bill of Costs 000154
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 157 of 223 PageID 5253




                   Exhibits to Plaintiff's First Amended Bill of Costs 000155
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 158 of 223 PageID 5254




                   Exhibits to Plaintiff's First Amended Bill of Costs 000156
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 159 of 223 PageID 5255




                   Exhibits to Plaintiff's First Amended Bill of Costs 000157
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 160 of 223 PageID 5256




                   Exhibits to Plaintiff's First Amended Bill of Costs 000158
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 161 of 223 PageID 5257




                   Exhibits to Plaintiff's First Amended Bill of Costs 000159
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 162 of 223 PageID 5258




                   Exhibits to Plaintiff's First Amended Bill of Costs 000160
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 163 of 223 PageID 5259




                   Exhibits to Plaintiff's First Amended Bill of Costs 000161
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 164 of 223 PageID 5260




                   Exhibits to Plaintiff's First Amended Bill of Costs 000162
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 165 of 223 PageID 5261




                   Exhibits to Plaintiff's First Amended Bill of Costs 000163
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 166 of 223 PageID 5262




                   Exhibits to Plaintiff's First Amended Bill of Costs 000164
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 167 of 223 PageID 5263




                   Exhibits to Plaintiff's First Amended Bill of Costs 000165
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 168 of 223 PageID 5264




                   Exhibits to Plaintiff's First Amended Bill of Costs 000166
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 169 of 223 PageID 5265




                   Exhibits to Plaintiff's First Amended Bill of Costs 000167
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 170 of 223 PageID 5266




                   Exhibits to Plaintiff's First Amended Bill of Costs 000168
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 171 of 223 PageID 5267




                   Exhibits to Plaintiff's First Amended Bill of Costs 000169
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 172 of 223 PageID 5268




                   Exhibits to Plaintiff's First Amended Bill of Costs 000170
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 173 of 223 PageID 5269




                   Exhibits to Plaintiff's First Amended Bill of Costs 000171
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 174 of 223 PageID 5270




                   Exhibits to Plaintiff's First Amended Bill of Costs 000172
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 175 of 223 PageID 5271




                   Exhibits to Plaintiff's First Amended Bill of Costs 000173
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 176 of 223 PageID 5272




                   Exhibits to Plaintiff's First Amended Bill of Costs 000174
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 177 of 223 PageID 5273




    “OTHER COSTS”             Date incurred     Reason                      Cost
    Itemized
    SR 618 W-Mainline         1/13/22           Final pre-Trial             1.93
    West
    Toll SR 618 W-Mainline    1/13/22           Final Pre-Trial             1.93
    East
    KEM Skyway toll           2/6/22            Trial attendance            1.07
    JMM Skyway toll           2/6/22            Trial attendance            1.07
    Toll SR 618 Ext. Main-    2/7/22            Trial attendance            .95
    EB
    Toll SR 618 W-Mainline    2/7/22            Trial attendance            1.28
    East
    Toll SR 618 Ext. Main     2/10/22           Trial attendance            .95
    WB
    Toll SR 618 W-Mainline    2/10/22           Trial attendance            1.28
    West
    Toll SR 618 Ext. Main-    2/10/22           Trial attendance            .95
    EB
    Toll SR 618 W-Mainline    2/10/22           Trial Attendance            1.28
    East
    KEM Skyway toll           2/11/22           Travel home post trial      1.07
    JMM Skyway toll           2/11/22           Travel home post trial      1.07


    Parking Fees              10/7/21           Attend first Pre-Trial      7.85
                                                (JMM & KEM)
    Parkmobile                11/18/21          KEM attend 2d Pre-trial     5.35
    Parking (Webb & JMM)      2/7/21            First day of trial          56.82
    KW fuel receipt           2/17/21           Refill fuel after week of   34.56
                                                driving to/from
                                                Sarasota/Tampa
    INV21-R001006-3           3/18/21           City of Venice Clerk        1,010.79
    Alan Bullock emails                         labor cost
    INV20-R000815-1           8/6/20            City of Venice Clerk        23.92
                                                record gathering cost
    INV20-R000818             7/7/20            City of Venice Clerk        166.56
                                                record gathering cost
    INV20-R000815-2           7/10/20           City of Venice Clerk        24.90
                                                record gathering cost
    Copies of Plaintiff       4/27/21           Retrieval fee               29.75
    Sarasota Memorial
    medical records
    Treating doctor fee       9/28/21           Conference with             150.53
                                                plaintiff treating
                                                psychiatrist McAllister
    Total Other expenses                                                    $1,524.79



                           Exhibits to Plaintiff's First Amended Bill of Costs 000175
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 178 of 223 PageID 5274




                   Exhibits to Plaintiff's First Amended Bill of Costs 000176
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 179 of 223 PageID 5275




                   Exhibits to Plaintiff's First Amended Bill of Costs 000177
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 180 of 223 PageID 5276




                   Exhibits to Plaintiff's First Amended Bill of Costs 000178
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 181 of 223 PageID 5277




                   Exhibits to Plaintiff's First Amended Bill of Costs 000179
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 182 of 223 PageID 5278




                   Exhibits to Plaintiff's First Amended Bill of Costs 000180
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 183 of 223 PageID 5279




                   Exhibits to Plaintiff's First Amended Bill of Costs 000181
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 184 of 223 PageID 5280




                   Exhibits to Plaintiff's First Amended Bill of Costs 000182
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 185 of 223 PageID 5281




                   Exhibits to Plaintiff's First Amended Bill of Costs 000183
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 186 of 223 PageID 5282




                   Exhibits to Plaintiff's First Amended Bill of Costs 000184
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 187 of 223 PageID 5283




                   Exhibits to Plaintiff's First Amended Bill of Costs 000185
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 188 of 223 PageID 5284




                   Exhibits to Plaintiff's First Amended Bill of Costs 000186
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 189 of 223 PageID 5285




                   Exhibits to Plaintiff's First Amended Bill of Costs 000187
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 190 of 223 PageID 5286




                   Exhibits to Plaintiff's First Amended Bill of Costs 000188
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 191 of 223 PageID 5287




                   Exhibits to Plaintiff's First Amended Bill of Costs 000189
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 192 of 223 PageID 5288




                   Exhibits to Plaintiff's First Amended Bill of Costs 000190
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 193 of 223 PageID 5289




                   Exhibits to Plaintiff's First Amended Bill of Costs 000191
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 194 of 223 PageID 5290




                   Exhibits to Plaintiff's First Amended Bill of Costs 000192
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 195 of 223 PageID 5291




                   Exhibits to Plaintiff's First Amended Bill of Costs 000193
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 196 of 223 PageID 5292




                   Exhibits to Plaintiff's First Amended Bill of Costs 000194
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 197 of 223 PageID 5293




                   Exhibits to Plaintiff's First Amended Bill of Costs 000195
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 198 of 223 PageID 5294




                   Exhibits to Plaintiff's First Amended Bill of Costs 000196
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 199 of 223 PageID 5295




                   Exhibits to Plaintiff's First Amended Bill of Costs 000197
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 200 of 223 PageID 5296




                   Exhibits to Plaintiff's First Amended Bill of Costs 000198
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 201 of 223 PageID 5297




                   Exhibits to Plaintiff's First Amended Bill of Costs 000199
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 202 of 223 PageID 5298




                   Exhibits to Plaintiff's First Amended Bill of Costs 000200
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 203 of 223 PageID 5299




                   Exhibits to Plaintiff's First Amended Bill of Costs 000201
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 204 of 223 PageID 5300




                   Exhibits to Plaintiff's First Amended Bill of Costs 000202
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 205 of 223 PageID 5301




                   Exhibits to Plaintiff's First Amended Bill of Costs 000203
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 206 of 223 PageID 5302




                   Exhibits to Plaintiff's First Amended Bill of Costs 000204
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 207 of 223 PageID 5303




                   Exhibits to Plaintiff's First Amended Bill of Costs 000205
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 208 of 223 PageID 5304




                   Exhibits to Plaintiff's First Amended Bill of Costs 000206
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 209 of 223 PageID 5305




                   Exhibits to Plaintiff's First Amended Bill of Costs 000207
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 210 of 223 PageID 5306




                   Exhibits to Plaintiff's First Amended Bill of Costs 000208
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 211 of 223 PageID 5307




                   Exhibits to Plaintiff's First Amended Bill of Costs 000209
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 212 of 223 PageID 5308




                   Exhibits to Plaintiff's First Amended Bill of Costs 000210
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 213 of 223 PageID 5309




                   Exhibits to Plaintiff's First Amended Bill of Costs 000211
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 214 of 223 PageID 5310




                   Exhibits to Plaintiff's First Amended Bill of Costs 000212
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 215 of 223 PageID 5311




                   Exhibits to Plaintiff's First Amended Bill of Costs 000213
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 216 of 223 PageID 5312




                   Exhibits to Plaintiff's First Amended Bill of Costs 000214
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 217 of 223 PageID 5313




                   Exhibits to Plaintiff's First Amended Bill of Costs 000215
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 218 of 223 PageID 5314




                   Exhibits to Plaintiff's First Amended Bill of Costs 000216
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 219 of 223 PageID 5315




                   Exhibits to Plaintiff's First Amended Bill of Costs 000217
Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 220 of 223 PageID 5316




                   Exhibits to Plaintiff's First Amended Bill of Costs 000218
                                Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 221 of 223 PageID 5317
TimeKeeper Manager Report
                   Case Name                                                                 Hourly                                                                     Hours Billable        Billed
     Date     Time Explanation                                      User                       Rate       Hours Amount Task Code                        Activity Code   Worked Time Billed     Date
12/13/2019   1:43 PM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00           0.05       $22.50 Fee/K.Mack                                 0.05

                        Review of Summons - 9254.docx.


 5/18/2020   9:00 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00            2.5   $1,125.00 Fee/K.Mack                                   2.5

                        conf w John Majka regarding witness testimony and observations


 3/14/2021   9:36 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              2     $900.00 Fee/K.Mack                                    2

                        Review Plaintiff’s Response to Defendant’s First Set of Interrogatories to Plaintiff; Initial Disclosures by Plaintiff and Defendant


  4/2/2021   5:11 PM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00           0.25     $112.50 Fee/K.Mack                                  0.25

                        Preparation of HIPPA


 7/16/2021   9:37 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              1     $450.00 Fee/K.Mack                                    1

                        Review Plaintiff’s First Request for Admissions and Defendant’s Reply


 7/20/2021   9:38 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00            2.5   $1,125.00 Fee/K.Mack                                   2.5

                        Trial Preparation: Review Motion and Response re: Def. Motion for Summary Judgment


 7/21/2021   9:39 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              1     $450.00 Fee/K.Mack                                    1

                        Conference w KW Trial Prep; timeline review. Testimony review


 10/4/2021   9:40 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              1     $450.00 Fee/K.Mack                                    1

                        Conference w K/W Trial Prep


 10/4/2021   9:41 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00            2.5   $1,125.00 Fee/K.Mack                                   2.5

                        Trial Preparation: Review Motion and Response re: Def. Motion for Summary Judgment; Order of Court


10/13/2021   4:30 PM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              1     $450.00 Fee/K.Mack                                    1

                        prep and attend phone conference with Dr. McAllister


11/18/2021   9:42 AM Webb, Kenite vs. EEOC - VPD 19                 Kerry E. Mack           $450.00              4   $1,800.00 Fee/K.Mack                                    4

                        Travel to and from Englewood/Tampa for final PreTrial Conference

                                                                                                Exhibits to Plaintiff's First Amended Bill of Costs 000219
Monday, March 7, 2022                                                                                 TrialWorks                                                                             Page 1 of 3
                                Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 222 of 223 PageID 5318
                    Case Name                                                               Hourly                                                           Hours Billable        Billed
     Date      Time Explanation                                    User                       Rate        Hours Amount Task Code             Activity Code   Worked Time Billed     Date
11/18/2021    9:45 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             2     $900.00 Fee/K.Mack                           2

                        Attend and participate in PreTrial Conference with adversary and Judge T.Barber


  1/5/2022    4:00 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             1     $450.00 Fee/K.Mack                           1

                        Discuss exhibits with JMM and JS in prepartion for teleconf with OC and attend


 1/12/2022    7:47 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00           2.75   $1,237.50 Fee/K.Mack                        2.75

                        Review witness and exhibit list, exhibit books, prepare with JMM and JS for final pretrial in morning


 1/13/2022    7:46 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             6    $2,700.00 Fee/K.Mack                          6

                        roundtrip to/from Englewood /Tampa attend Final Pre-Trial Conference


 1/25/2022   10:21 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             1     $450.00 Fee/K.Mack                           1

                        prepare for and attend PreTRial conference with Court via phone informed trial delayed one week.


 1/25/2022    4:05 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            1.5    $675.00 Fee/K.Mack                          1.5

                        conference call with Dr. McAllister


 1/26/2022   10:20 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            2.5   $1,125.00 Fee/K.Mack                         2.5

                        trial prep one on one with KW; review incidents and documents, testimony


 1/27/2022   10:23 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             4    $1,800.00 Fee/K.Mack                          4

                        travel tie Englewood to Tampa for last final pre-trial conference in person.


 1/28/2022   10:18 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            5.5   $2,475.00 Fee/K.Mack                         5.5

                        Review case summaries, summaries of doc production in excess of 11,400 pages; timeline of case events and witness outlines.


  2/6/2022    9:47 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00             2     $900.00 Fee/K.Mack                           2

                        Review deposition transcript of City Manager Edward Lavallee


  2/7/2022    7:15 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            8.5   $3,825.00 Fee/K.Mack                         8.5

                        travel to/from St. Pete to Tampa attend trial day#2


  2/8/2022    9:31 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00           10.5   $4,725.00 Fee/K.Mack                        10.5

                        review days 1 notes, prepare for day 2, travel to/from St. Petersburg to Federal Court Tampa

                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000220
Monday, March 7, 2022                                                                                  TrialWorks                                                                 Page 2 of 3
                                Case 8:19-cv-03045-TPB-TGW Document 145 Filed 03/08/22 Page 223 of 223 PageID 5319
                    Case Name                                                               Hourly                                                                     Hours Billable        Billed
     Date      Time Explanation                                    User                       Rate       Hours Amount Task Code                        Activity Code   Worked Time Billed     Date
  2/9/2022    7:18 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00          10.5    $4,725.00 Fee/K.Mack                                  10.5

                        travel to/from St. Pete /Tampa attend trial day 3
                        /pre-trial prep

 2/10/2022    7:31 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00          10.5    $4,725.00 Fee/K.Mack                                  10.5

                        prepare and attend day four of trial, prepare closing argument & review jury instructions and verdict; travel to/from St. pete /Tampa


 2/11/2022    7:32 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            8.5   $3,825.00 Fee/K.Mack                                   8.5

                        travel to/from St.Pete/Tampa await jury verdict discuss implications with client advise to be very aware at work post trial.


 2/22/2022   12:11 PM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00          1.15      $517.50 Fee/K.Mack                                  1.15

                        review and discuss research results with JS and give instruction


  3/5/2022   10:17 AM Webb, Kenite vs. EEOC - VPD 19               Kerry E. Mack           $450.00            2.5   $1,125.00 Fee/K.Mack                                   2.5

                        REview time entries for accuracy and assit with preparing fee motion and bill of costs



                     Total Hours Worked:                     98.20             Total Billable Hours:                  98.20             Total Billable Amount:            $44,190.00




                                                                                               Exhibits to Plaintiff's First Amended Bill of Costs 000221
Monday, March 7, 2022                                                                                TrialWorks                                                                             Page 3 of 3
